Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53   Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 1 of 236



                                   Exhibit 1
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53   Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 2 of 236


                                                                  Page 1

1
2        IN THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF PUERTO RICO
3        Case No. 17-BK-3283-LTS
         ----------------------------------------x
4        In re:
5        THE FINANCIAL OVERSIGHT AND MANAGEMENT
         BOARD FOR PUERTO RICO,
6
         as representative of
7
         THE COMMONWEALTH OF PUERTO RICO, et al.,
8
                                 Debtors.
9        -----------------------------------------x
         Case No. 17-BK-4780-LTS
10       -----------------------------------------x
         In re:
11
         THE FINANCIAL OVERSIGHT AND MANAGEMENT
12       BOARD FOR PUERTO RICO,
13       as representative of
14       THE PUERTO RICO ELECTRIC POWER AUTHORITY,
15                              Debtor.
         ----------------------------------------x
16                         May 22, 2023
                           9:06 a.m.
17
18            VIDEOTAPED DEPOSITION of MARK
19      SHANKWEILER, held at the offices of
20      Proskauer Rose LLP, located at 11 Times
21      Square, New York, New York 10036, before
22      Anthony Giarro, a Registered Professional
23      Reporter, a Certified Realtime Reporter and
24      a Notary Public of the State of New York.
25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53   Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 3 of 236


                                                                   Page 2

1
2        A P P E A R A N C E S :
3
         KRAMER LEVIN NAFTALIS & FRANKEL LLP
4         Attorneys for the Ad Hoc Group of PREPA
          Bondholders
5         2000 K Street NW, 4th Floor
          Washington, D.C. 20006
6
         BY:        JANE TOMIC, ESQ.
7                   jtomic@kramerlevin.com
                    (via Zoom)
8
9        CADWALADER, WICKERSHAM & TAFT LLP
          Attorneys for Assured Guaranty Corp. and
10        Assured Guaranty Municipal Corp
          200 Liberty Street
11        New York, New York 10281
12       BY:  ZACK SCHREIBER, ESQ.
              zack.schreiber@cwt.com
13
14
         QUINN EMANUEL URQUHART & SULLIVAN, LLP
15        Attorneys for Syncora Guarantee, Inc.
          Pennzoli Place,
16        711 Louisiana Street, Suite 500
          Houston, Texas 77002
17
         BY:        CAMERON KELLY, ESQ.
18                  cameronkelly@quinnemanuel.com
19
         PAUL HASTINGS LLP
20        Attorneys for Official Committee of
          Unsecured Creditors
21        N.E. 100, 1170 Peachtree Street NE
          Atlanta, Georgia 30309
22
         BY:        WILLIAM WHITNER, ESQ.
23                  kwhitner@paulhastings.com
                    (via Zoom)
24
25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53   Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 4 of 236


                                                                   Page 3

1
2        A P P E A R A N C E S (Cont.)
3
         PAUL HASTINGS LLP
4         Attorneys for Official Committee of
          Unsecured Creditors
5         200 Park Avenue
          New York, New York 10166
6
         BY:        LUC DESPINS, ESQ.
7                   lucdespins@paulhastings.com
                    ALEX BONGARTZ, ESQ.
8                   alexbongartz@paulhastings.com
                    SHLOMO MAZA, ESQ.
9                   shlomomaza@paulhastings.com
                    (via Zoom)
10
11       O'MELVENY & MYERS LLP
          Attorneys for AAFAF
12        7 Times Square
          New York, New York 10036
13
         BY:        NICOLE MOLNER, ESQ.
14                  nmolner@omm.com
15
         PROSKAUER ROSE LLP
16        Attorneys for the Financial Oversight and
          Management Board as Representative for
17        PREPA
          70 West Madison Street, Suite 3800
18        Chicago, Illinois 60602
19       BY:  ASHLEY WERINGA, ESQ.
              aweringa@proskauer.com
20
21       PROSKAUER ROSE LLP
          Attorneys for Official Committee of
22        Unsecured Creditors
          1 International Place
23        Boston, Massachusetts 02110
24       BY:  LAURA STAFFORD, ESQ.
              lstafford@proskauer.com
25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53   Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 5 of 236


                                                                  Page 4

1
2        A P P E A R A N C E S (Cont.)
3
4        WEIL, GOTSHAL & MANGES LLP
          Attorneys for National Public Finance
5         Guarantee Corporation
          767 5th Avenue
6         New York, New York 10153
7        BY:  COREY BRADY, ESQ.
              corey.brady@weil.com
 8            (via Zoom)
 9
10       WACHTELL, LIPTON, ROSEN & KATZ
          Attorneys for Fuel Line Lenders
11        51 West 52nd Street
          New York, New York 10019
12
         BY:        ANGELA HERRING, ESQ.
13                  AKHerring@wlrk.com
                    (via Zoom)
14
15
16
17
18       ALSO PRESENT:
19         BOB RUDIS, Videographer
           BILL CRADDOCK, Concierge Tech (via Zoom)
20         ROCIO VALENTIN (via Zoom)
           SCOTT MARTINEZ (via Zoom)
21
22
23
24
25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53   Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 6 of 236


                                                                  Page 5

1
2                          THE VIDEOGRAPHER:               Good
3              morning.      We are going on the record
4              at 9:06 a.m. on May 22nd, 2023.
5              Please note that the microphones are
6              sensitive and may pick up whispering
7              and private conversations.                  Please
8              mute your cell phones at this time.
9              Audio and video recording will
10             continue to take place unless all
11             parties agree to go off the record.
12                         This is Media Unit 1 of the
13             video-recorded deposition of Mark
14             Shankweiler, taken by counsel for
15             the Official Committee of Unsecured
16             Creditors, in the matter, In Re:                     The
17             Financial Oversight and Management
18             Board for Puerto Rico, et al., filed
19             in the United States District Court
20             for the District of Puerto Rico, Case
21             No. 17-BK-3283-LTS.               The location of
22             this deposition is Proskauer Rose
23             LLP, 11 Times Square, New York, New
24             York.
25                         My name is Robert Rudis.                  I

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53   Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 7 of 236


                                                                   Page 6

1                                MARK SHANKWEILER
2              am the videographer.                The court
3              reporter is Anthony Giarro.                  And we
4              represent the firm Veritext Legal
5              Solutions.
6                          I'm not related to any party
7              in this action, nor am I financially
8              interested in the outcome.
9                          If there are any objections
10             to proceeding, please state them at
11             the time of your appearance.                  All
12             appearances will be noted in the
13             stenographic record.
14                         Will the court reporter
15             please swear in the witness?
16       M A R K        S H A N K W E I L E R, after
17      having first been duly sworn by a Notary
18      Public of the State of New York, was
19      examined and testified as follows:
20       EXAMINATION BY
21       MR. DESPINS:
22              Q          Good morning, Mr.
23      Shankweiler.
24              A          Good morning.
25              Q          We've met before.               My name

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53   Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 8 of 236


                                                                  Page 7

1                                MARK SHANKWEILER
2       is Luc Despins.          And I represent the
3       creditors' committee.
4                          Unfortunately, I have to
5       read this short statement.                     So if you can
6       bear with me, it's a confidentiality
7       requirement.
8                          MR. DESPINS:              So the speech
9              is, some of the exhibits and the
10             topics we cover today may involve
11             confidential information as defined
12             by the plan depository protective
13             order.    Under paragraph 19 of the
14             amended confirmation procedures
15             order, Docket No. 3305, discussion of
16             confidential information is subject
17             to the plan depository protective
18             order.    In accordance with
19             paragraph 19, all parties
20             participating in or attending this
21             deposition must sign the protective
22             order, available on the plan
23             depository protective order.                  If
24             anyone in attendance has not signed
25             that order, please do so, or you may

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 9 of 236


                                                                  Page 8

1                                MARK SHANKWEILER
2              be in violation of the protective
3              order.
4               Q          So let's begin.
5                          I assume you've been deposed
6       several times before today?
7               A          I have not.             This is my
8       first deposition.
9                          THE VIDEOGRAPHER:               I
10             apologize.       May I just move this
11             microphone?       I thought the taking
12             party would be on this side.                    Thank
13             you.     Pardon me for interrupting.
14              Q          So I asked you before, have
15      you ever been deposed?                 And the answer
16      was no?
17              A          Correct.
18              Q          So let me just go through
19      the very basic rules of the road
20      regarding depositions.                 There always has
21      to be a verbal response.                   So, for
22      example, nodding of the head is not going
23      to work, unless you actually verbally
24      respond.        If there are questions that are
25      not clear, please feel free to ask me to

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 10 of 236


                                                                   Page 9

1                                 MARK SHANKWEILER
2       clarify.      Unless the question or your
3       counsel opposes -- interposes an
4       objection based on privilege, she can
5       interpose the objection.                   But you still
6       must answer the question.
7                          In addition to that, here,
8       you're wearing two hats.                   So one is
9       you're a 30(b)(6) witness for the entire
10      board, for the board.                And I will also
11      ask you questions about your personal
12      knowledge.        So we need to probably
13      establish some kind of -- to make sure
14      there's no confusion.                So I will ask you
15      to your personal knowledge, did you look
16      at this, did you look at that.                     Then
17      you're talking for your personal
18      knowledge only, otherwise you're talking
19      about as a 30(b)(6) witness on behalf of
20      the board.        Is that clear?
21              A          Understood.
22                         MR. DESPINS:              If we can post
23             Exhibit 1 which is the deposition
24             notice.
25                         (The above-referred-to

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 11 of 236


                                                                  Page 10

1                                 MARK SHANKWEILER
2              document was marked as Exhibit 1 for
3              identification, as of this date.)
4                          MS. STAFFORD:               For purposes
5              of the Exhibit Share, it might need
6              to be in the Exhibit Share, Veritext
7              Exhibit Share folder.
8                          THE CONCIERGE TECH:
9                          Counsel, I'm working on
10             getting it up on the screen in
11             Exhibit Share.          Exhibit Share runs
12             particular documents.                 It's spinning.
13             It looks like it's now in that
14             folder.
15                         MR. BONGARTZ:               I selected
16             Exhibit 1, and I labeled it
17             Exhibit 1.       But when the stamp was
18             attached to it, it says Exhibit 2
19             now.   I'm not sure why that is.
20                         THE CONCIERGE TECH:                  I think
21             what was happening is we were both
22             trying to introduce it.                     Usually, I'm
23             introducing it as the attorneys were.
24             Did you want to do it by yourself?
25                         MR. BONGARTZ:               I was going

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 12 of 236


                                                                  Page 11

1                                 MARK SHANKWEILER
2              to do it myself.            But if you've done
3              it already, I just don't know how to
4              undo the exhibit number now.
5                          THE CONCIERGE TECH:                I'll
6              fix that.
7                          MR. BONGARTZ:               Thank you.
8               Q          So, Mr. Shankweiler, I'll
9       draw your attention to page 7 of Exhibit.
10      On top, there is Deposition Topic No. 1.
11                         Do you see that where it
12      says, "The estimated value range of
13      potential values in cap applicable to
14      general unsecured claims"?
15              A          Yes.
16              Q          And you see towards the
17      bottom of the response, it says, "Subject
18      to general objections, the oversight
19      board will designate Mark Shankweiler to
20      testify regarding this topic"?
21              A          I do.
22                         MS. STAFFORD:               I just want
23             to note for the record that it's
24             subject to both the general
25             objections and the specific

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 13 of 236


                                                                  Page 12

1                                 MARK SHANKWEILER
2              objections that were noted.
3                          MR. DESPINS:              Yes.    Okay.
4               Q          So that's the first one, the
5       30(b)(6).
6                          Then in addition to that,
7       you -- the board offered a preliminary
8       list of witnesses, dated March 11th,
9       2023.       We'll show that to you in a
10      second.
11                         MR. DESPINS:              And it's
12             Deposition Exhibit 2.
13                         (The above-referred-to
14             document was marked as Exhibit 2 for
15             identification, as of this date.)
16                         MS. STAFFORD:               Do you mind,
17             actually, if I just mark his too with
18             Exhibit 1, Exhibit 2?                 Just so that
19             he doesn't get confused.
20                         MR. DESPINS:              Sure.
21                         MR. BONGARTZ:               For the
22             technician, I would like to label
23             this next exhibit, Exhibit 2 when I'm
24             going to introduce it.                  I just want
25             to make sure it doesn't conflict --

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 14 of 236


                                                                     Page 13

1                                 MARK SHANKWEILER
2              now it says Exhibit 3 here.                     I don't
3              know if you can fix that on your end,
4              because otherwise --
5                          THE CONCIERGE TECH:                  As I
6              was trying to fix it, it's actually
7              not letting me doing it.                    We may be
8              doing it at the same time here.
9                          MR. BONGARTZ:               You want me
10             to stop?
11                         MR. DESPINS:              Yes, because
12             we don't want to be confused with
13             exhibit numbers.            That will be a
14             recipe for disaster.                So let's fix
15             that and give the technician control
16             over the exhibits.
17                         MS. STAFFORD:               I think
18             normally, people have been saying --
19             I have been asking the concierge, can
20             I bring up this exhibit?
21                         MR. BONGARTZ:               Okay.     So can
22             you bring up this exhibit, which is
23             Exhibit 2, in the folder?
24                         THE CONCIERGE TECH:                  It
25             looks like it's just hanging for me.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 15 of 236


                                                                  Page 14

1                                 MARK SHANKWEILER
2              If you have no issues introducing
3              them, then maybe I'll just let you do
4              it for now.
5                          MR. BONGARTZ:               The problems
6              my exhibit numbers start with 2
7              because for some reason, Exhibit 1
8              was taken.       I don't know why that is
9              the case.       It's probably because we
10             were trying to do it at the same
11             time.    So if I proceed, every exhibit
12             will be one exhibit number higher.
13                         THE CONCIERGE TECH:                When it
14             introduces and the shows the number,
15             you can edit that number.                   So you
16             could go back and --
17                         MR. BONGARTZ:               Now we have
18             two Exhibit 2s.           That's the problem
19             because the first exhibit, which I
20             labeled No. 1, showed up as No. 2 on
21             the screen.        So I was hoping you
22             could fix that on your end.                   So I
23             will proceed with Exhibit 2 now.
24              Q          So Exhibit 2, I draw your
25      attention to page 4, subparagraph 8.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 16 of 236


                                                                  Page 15

1                                 MARK SHANKWEILER
2                          And it says that
3       "Mr. Shankweiler may provide testimony
4       showing the reasonableness of the
5       assumptions made with respect to the
6       estimated total amount of allowed
7       unsecured creditors against the debtor."
8                          You see that?
9               A          I do.
10              Q          So I wanted you to have
11      this, so that we set the framework of
12      your testimony.
13              A          Understood.
14              Q          So let's go with a bit of
15      background first.
16                         What economic degrees do you
17      have?
18              A          I have a bachelor of science
19      in music education from West Chester
20      State College in Pennsylvania.                     I have a
21      postgraduate degree from Muhlenberg
22      College in Allentown, Pennsylvania.                        And
23      that would be the academic --
24              Q          Postgraduate degree in what?
25              A          That would be in business

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 17 of 236


                                                                  Page 16

1                                 MARK SHANKWEILER
2       administration and accounting.
3               Q          Do any of these degrees
4       relate to bankruptcy or restructuring
5       issues?
6               A          No.
7               Q          Do you have any legal
8       training?
9               A          No.
10              Q          Have you ever testified as
11      an expert?
12              A          No.
13              Q          Have you ever published any
14      article or treaties regarding bankruptcy
15      or restructuring?
16              A          No.
17              Q          We will use today during the
18      deposition, the terms estimation or
19      estimating allowable claims.
20                         Do you have an understanding
21      of what that means?
22              A          Yes.
23              Q          So could you describe for me
24      what you understand that to mean?
25              A          Well, my understanding of

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 18 of 236


                                                                  Page 17

1                                 MARK SHANKWEILER
2       that is that obviously, estimation is
3       coming up with an estimate.                        And
4       allowable claims would be those claims
5       that would be allowed pursuant to a plan
6       of reorganization.
7               Q          But who would make the
8       determination of which claim is allowed
9       and for what amount?
10                         MS. STAFFORD:               Objection,
11             legal conclusion.
12              A          Who would make that
13      determination?          I would imagine that's
14      based on the provisions of the plan of
15      reorganization.
16              Q          What I meant is, is the
17      court making that determination, what
18      claims get allowed or does somebody else
19      do that?
20              A          I think it would be the
21      court.      But I don't know.
22              Q          But when you're giving
23      testimony today as to an estimate of
24      allowed claims, do you understand that
25      you are attempting to predict what a

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 19 of 236


                                                                  Page 18

1                                 MARK SHANKWEILER
2       court or the bankruptcy court or the
3       district court in this case would allow
4       the claims at?
5               A          Yes.
6               Q          And what expertise do you
7       have on that topic of attempting to
8       determine what a court would allow claims
9       at?
10              A          So I've been in the
11      restructuring practice since the early
12      1990s.      Each one of the cases that we've
13      had, whether it be debtor or creditor,
14      involved claims estimation in order to
15      determine what value would be available
16      for creditors down the waterfall.
17                         And the number of cases that
18      I've been involved with, again, where
19      we've had to deal with the claims
20      estimation process is really what I
21      believe gives me the expertise to be able
22      to evaluate and estimate claims.
23              Q          I see.
24                         And how do you go about --
25      now I want to talk about you personally.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 20 of 236


                                                                  Page 19

1                                 MARK SHANKWEILER
2                          How do you go about
3       determining how a particular claim would
4       be -- should be estimated at, what the
5       court would ultimately allow that?                       How
6       do you go about doing that?
7               A          One of the first things you
8       would do is to evaluate a proof of claim,
9       review the proof of claim, determine
10      whether or not that proof of claim is
11      consistent with the books and records of
12      the company, reconcile the proof of claim
13      to the books and records, evaluate the
14      details that are included in a proof of
15      claim to determine if there's sufficient
16      support and then work through the
17      reconciliation process to determine
18      whether or not it's a valid claim.
19              Q          I understand.
20                         And how do you do that
21      process when the books and records don't
22      reflect an amount owed to the creditor?
23              A          So you would have to
24      evaluate -- again, going back to the
25      proof of claim -- understanding what kind

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 21 of 236


                                                                  Page 20

1                                 MARK SHANKWEILER
2       of supporting documents there are and
3       work with the company and/or the
4       company's advisors to establish whether
5       or not the claim is valid, Number One,
6       and then to establish what a range of
7       that claim might be.
8               Q          When you mentioned the
9       company's advisors, what type of advisors
10      are you referring to?
11              A          So PREPA has a number of
12      advisors, including outside counsel,
13      which is Diaz & Vazquez.                   They have
14      accountants.         They have other
15      professionals that while they may not be
16      PREPA's advisors, that have knowledge
17      about certain claims.                So it's that
18      family of advisors that we would work
19      with in order to evaluate a claim.
20              Q          I'm sorry.            I didn't hear
21      the -- you said outside counsel.
22                         Which outside counsel did
23      you mention?
24              A          Diaz & Vazquez, as well as
25      as Corretjer.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 22 of 236


                                                                  Page 21

1                                 MARK SHANKWEILER
2               Q          And did you didn't mention
3       Proskauer.
4               A          Oh.      I'm sorry.              Proskauer
5       as well.      Thank you.            That's evident
6       since they're here.
7                          MS. STAFFORD:                Just to be
8              here, we're not PREPA's counsel.
9              We're counsel to the board.
10              A          That's right.
11              Q          And what about O'Neill &
12      Borges?
13              A          I didn't really have any
14      real interaction with O'Neill.
15              Q          So these law firms you were
16      mentioning before are PREPA's lawyers as
17      opposed to the board's lawyers?
18              A          They are retained by PREPA
19      over the years to deal with the
20      litigation and normal course legal work
21      for PREPA, on behalf of PREPA.
22                         (The above-referred-to
23             document was marked as Exhibit 3 for
24             identification, as of this date.)
25              Q          I would direct you to

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 23 of 236


                                                                  Page 22

1                                 MARK SHANKWEILER
2       page 9, paragraph E and in particular,
3       the sentence that reads, "In connection
4       therewith, Mr. Shankweiler will discuss
5       the reasonableness of the assumptions
6       made with respect to the estimated total
7       amount of allowed general unsecured
8       claims asserted against PREPA which is
9       800 million."
10                         You see that sentence?
11              A          I do, yes.
12              Q          Are you the one, the person
13      who made the determination that the
14      amount was 800 million?
15              A          Can you rephrase that
16      question?
17              Q          Sure.
18                         You know that there is an
19      estimate of general unsecured claim of
20      800 million?
21              A          Correct.
22              Q          And the question is, what --
23      is this a number that you determined?
24              A          It's a number that based on
25      our review of all the claims in our

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 24 of 236


                                                                  Page 23

1                                 MARK SHANKWEILER
2       estimation of the value of the claims,
3       yeah, me and -- my team and I came up
4       with.
5               Q          Can you take me through the
6       process you and your team followed to
7       come up with that $800 million estimate?
8               A          Sure, absolutely.
9                          The process included, I mean
10      initially, what you receive as a claims
11      register.       We obtained all the proofs of
12      claim that were in the claims register.
13      We verified the categorization of the
14      proofs of claim.            We looked at the
15      categorization, reviewed the claims to
16      determine what categories and confirm the
17      validity of the categorization of the
18      claims.      We then looked at the support
19      for the claims.
20                         And based on the support
21      that was provided, conferred with,
22      oftentimes, Diaz & Vazquez in order to
23      help us adjust any of the asserted claims
24      to what a reasonable expectation of that
25      claim should be.            We objected to claims

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 25 of 236


                                                                  Page 24

1                                 MARK SHANKWEILER
2       which were invalid.              We transferred
3       claims to ADR which resulted in an
4       adjustment to the asserted claim amount,
5       based on what a settlement amount was
6       determined.        And that settlement amount
7       was done in conjunction with PREPA's
8       counsel, as well as the -- just review of
9       the actual detail of the claim in order
10      to come up with what a reasonable claim
11      is.
12                         But we looked through detail
13      to determine if that claim had already
14      been satisfied.           And that would be based
15      on payment history information that was
16      provided by PREPA and LUMA and through
17      conversations with PREPA's employees as
18      it relates to some of the relatively
19      large claims that were captured or
20      incorporated or included in the general
21      unsecured claims category.
22              Q          There's a lot of meat in
23      there.      Let me try to unpack some of
24      this.
25                         You mentioned categorization

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 26 of 236


                                                                  Page 25

1                                 MARK SHANKWEILER
2       of claims and whether sufficient
3       categorization was accurate?
4               A          Yes.
5               Q          What did you mean by that
6       categorization?
7               A          When a claim is filed, Kroll
8       will identify the category of claim --
9       we'll call that the initial
10      categorization -- will review the claim
11      to determine if there is a secondary or
12      tertiary category that we should
13      categorize it as in order to determine
14      whether or not it's a true -- that is
15      consistent, that the categories that
16      Kroll has defined it as -- is consistent
17      with the actual proof of claim.
18              Q          Such as unsecured versus
19      secured or something like that?
20              A          At a highest level, it would
21      be whether it's an unsecured claim versus
22      a secured claim, whether there's
23      priority.       At a secondary level, it would
24      be whether it's a bond claim, whether
25      it's a customer claim, whether it's a

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 27 of 236


                                                                  Page 26

1                                 MARK SHANKWEILER
2       union claim, whether --
3                          MS. STAFFORD:               Is someone
4              not muted?
5               A          Whether it is a litigation
6       claim as an example.               So those are like
7       the secondary sort of categorizations
8       that we would have -- that we would have
9       then gone down to.
10                         MR. DESPINS:              There's
11             somebody that should mute their
12             phone.     I don't know who that is.
13                         THE WITNESS:              The person
14             with the allergies.
15                         MR. DESPINS:              That's putting
16             it nicely.
17              Q          And you also mentioned that
18      you -- not you personally, but that
19      claims were objected to?
20              A          Yes.
21              Q          And so can you tell me about
22      that?       What I'm really interested in is,
23      have claims been objected to on the
24      merits of such claim in contrast with
25      duplicates or amends, superseded and all

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 28 of 236


                                                                  Page 27

1                                 MARK SHANKWEILER
2       that -- you understand those terms --
3       duplicate?
4               A          Understood, yes.                So the
5       claims oftentimes were objected to,
6       obviously, aside from the duplicates, the
7       amends.       I know that we looked at claims.
8       We objected to claims based on the
9       classification.           If they identify a claim
10      as a priority claim, we would object to
11      that.       To the extent that there were
12      claims that through our review of the
13      books and records, we identified amounts
14      which are actually paid.
15                         So we would object to a
16      claim as being partially paid, only to
17      the extent that we had records for
18      those -- that portion of the claim that
19      was paid.
20                         As it relates to claims,
21      which were not necessarily related for
22      which PREPA had no liability, we objected
23      to those claims.            Those are examples of
24      the types of claims that we objected to
25      or the reasons that we would have

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 29 of 236


                                                                  Page 28

1                                 MARK SHANKWEILER
2       objected to a particular claim based on
3       our review.
4               Q          So not you personally, but
5       the board has objected to claims based on
6       no liability.
7                          Can you give me more detail
8       on that?
9               A          So an example, if we are
10      reviewing a claim and identify that claim
11      as being related to, as an example, the
12      Commonwealth or to some other non-PREPA
13      entity, based on the detail of that,
14      that's a no liability claim.
15              Q          Understood.
16                         So you mentioned priority,
17      satisfied claims, claims based on no
18      liability because another entity is
19      liable, rather than PREPA.
20                         Any other objections on the
21      merits that you -- that hasn't been filed
22      yet?
23              A          I think those are the
24      general categories of the claims that
25      we've objected to so far.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 30 of 236


                                                                  Page 29

1                                 MARK SHANKWEILER
2               Q          On a scale of one to ten,
3       where would you say that you are on the
4       process of getting rid of claims that you
5       believe are overstated or that should be
6       disallowed with ten being completed and
7       one being no progress?
8               A          I know that we've filed
9       about 50 or so objections.                     I know that
10      we've objected to approximately half of
11      the claims that were asserted.                     I know
12      that there are still a number of large
13      claims that are in the process of -- that
14      we're in the process of evaluating and
15      objecting to.
16                         On a scale of one to ten,
17      you know, it all depends on what the
18      measurement is, whether it's number of
19      claims or just value of claims.
20              Q          But just to be clear, I was
21      asking you to focus on claims that are
22      overstated or should be disallowed.
23                         Claims probably asserted
24      against PREPA should be disallowed or
25      overstate where are you on that process

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 31 of 236


                                                                  Page 30

1                                 MARK SHANKWEILER
2       on a scale of one to ten?
3                          MS. STAFFORD:               Objection to
4              form.
5               A          I think from a dollar
6       perspective that are overstated, there's
7       going to be -- we were probably -- it's
8       hard for me to put an estimate on it.
9       But clearly, I would imagine we're at
10      least, you know, halfway, 60 percent
11      there.      But there are a number of large
12      claims.
13              Q          But have you objected to any
14      claims that were overstated?
15              A          Yes.      I believe we did, yes.
16      Those claims, yes, we have.
17              Q          And claims that should be
18      disallowed that are properly asserted
19      against PREPA but should be disallowed,
20      have you objected to those?
21              A          Sure.
22              Q          Can you give me an example?
23              A          Sure.       We received -- as an
24      example, one of the claims came in at
25      $1.1 million.          We were able to confirm

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 32 of 236


                                                                  Page 31

1                                 MARK SHANKWEILER
2       with PREPA that they only had outstanding
3       invoices for 100,000 or 120,000.                      So that
4       is an example of a type of claim which
5       was overstated.           And we objected to a
6       portion of that claim.
7               Q          And you obtained a ruling to
8       that effect from the court?
9               A          I would have to -- I don't
10      know if that was actually an order was --
11      I don't know if that objection actually
12      is still pending or whether it was
13      actually ruled on.
14              Q          But your testimony is that
15      an objection was filed on that ground?
16              A          Absolutely.
17              Q          The term PPOA, does that
18      ring a bell?         Do you understand those
19      acronyms?
20              A          I do.
21              Q          What do they stand for?
22              A          Power purchase operating, an
23      operating agreement.
24              Q          Have you objected to any of
25      those claims?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 33 of 236


                                                                  Page 32

1                                 MARK SHANKWEILER
2               A          I don't believe we have as
3       yet.
4               Q          By the way, when were you
5       retained?       When was BRG retained to
6       handle the claims process at PREPA?
7               A          We were retained, I believe
8       it was in June of 2019.
9               Q          What's the total amount of
10      asserted claims against PREPA as of now?
11              A          I believe it's -- total
12      amount is around 27 or $28 billion.
13              Q          I didn't ask the right
14      question.
15                         What is the total amount of
16      asserted claims in the general unsecured
17      class?      Ballpark.
18              A          Ballpark, okay, my God.
19      This is like -- I'm having a brain
20      freeze.      Sorry.       For general unsecured --
21              Q          Sorry to interrupt.
22                         But compared to the
23      800 million that you're estimating, that
24      is your estimate of a universe of claims,
25      what is that universe, ballpark, asserted

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 34 of 236


                                                                  Page 33

1                                 MARK SHANKWEILER
2       amount?
3               A          I know the page it's on.
4       I'm just having a problem just trying to
5       recollect what that is.                  But it's higher
6       than $800 million.
7               Q          Good.
8               A          Yeah.
9               Q          Does the figure of
10      5.9 billion ring a bell?
11              A          It could, yes.                  It sounds
12      reasonable.        But I just -- unfortunately,
13      I just can't remember.                 I know where I
14      can find it.
15              Q          Got it.
16                         In your 800 million
17      estimate, how did you handle claims that
18      were unliquidated?             Do you understand the
19      term unliquidated?
20              A          I do.
21              Q          So how did you handle those
22      claims?      So, for example, a litigation
23      claim that says you did all sorts of bad
24      things to me, an amount sought
25      unliquidated, how do you deal with that

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 35 of 236


                                                                  Page 34

1                                 MARK SHANKWEILER
2       proof of claim?
3                          MS. STAFFORD:               Objection,
4              form.
5               A          So specifically as it
6       relates to litigation claims, we worked
7       with Diaz & Vazquez who have experience
8       with the litigation actions that PREPA is
9       involved with or that were asserted
10      against PREPA.          They were able to
11      identify the nature -- first of all, they
12      had the case files.              All the case files
13      were provided to Diaz & Vazquez or at
14      least most of them.              When I say all, my
15      understanding is that Diaz & Vazquez had
16      obtained the case files.                   They would
17      evaluate the case files and come up with
18      a determination as to what in their legal
19      opinion the litigation claim would be
20      worth.      And so we relied on their
21      expertise, their legal expertise in order
22      to come up with a value for that
23      particular claim.
24              Q          So you get the input from
25      Diaz & Vazquez, put that in your model,

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 36 of 236


                                                                   Page 35

1                                 MARK SHANKWEILER
2       and that's part of the 800 million?
3               A          We incorporate Diaz &
4       Vazquez's estimates into our database,
5       our model.
6               Q          Which produces the
7       $800 million result?
8               A          Yes.
9               Q          And I asked you about
10      unliquidated claims.               And you pivoted to
11      litigation claims.
12                         So I want to make sure that
13      we were precise here in the sense there
14      are litigation claims where there's a set
15      amount asked -- PPOA claim -- saying I'm
16      owed 300 million for damages.                       That's a
17      litigation claim, I would think, because
18      you're not consenting to that.                       But
19      another one might say unliquidated.                        So I
20      want to go back to unliquidated claims.
21                         What did you do with
22      unliquidated claims, and where would I
23      find that in your estimates?                       So let's
24      ignore that last part of about where I
25      find it.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 37 of 236


                                                                  Page 36

1                                 MARK SHANKWEILER
2                          So let's start with, what
3       did you do with unliquidated claims?
4                          MS. STAFFORD:               Objection,
5              form.
6               A          Again, to the extent that a
7       claim was filed and it was unliquidated,
8       first of all, there were numerous
9       unliquidated claims because it's just
10      what oftentimes happens as you know.                        But
11      the more significant -- where we were
12      concerned with evaluating unliquidated
13      claims would be to the extent that there
14      might be a litigation claim that was
15      liquidated or was -- or which was
16      unliquidated, the process would be to the
17      extent that there was a case that was
18      identified with a proof of claim, we
19      would work with Diaz & Vazquez to make a
20      determination as to whether or not
21      there's a true claim.
22              Q          When you say a case, you
23      mean a case pending in Puerto Rico
24      somewhere?
25              A          In district court, the court

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 38 of 236


                                                                  Page 37

1                                 MARK SHANKWEILER
2       of first instance, things like that.
3               Q          Got it.         But let's assume
4       there's no case pending.
5                          So what was the process to
6       determine the estimate for that
7       particular claim that went into your
8       800 million estimate?
9                          MS. STAFFORD:               Objection,
10             form.
11              A          We would have evaluated
12      using the same process to determine --
13              Q          You mean Diaz & Vazquez?
14              A          Diaz & Vazquez and working
15      with, you know, our -- at the time, we
16      were still able to work with PREPA before
17      we switched to LUMA.               We did that but
18      principally working with Diaz and
19      Corretjer.
20              Q          We were still able to work
21      with PREPA before LUMA?                  I'm not sure I
22      understand.
23              A          Sorry.
24              Q          You need to unpack that for
25      me.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 39 of 236


                                                                  Page 38

1                                 MARK SHANKWEILER
2               A          Sorry.         Well, as you know,
3       that PREPA transferred its transmission
4       distribution to LUMA.                 And so we were
5       able to -- essentially pre-pandemic and
6       pre-transfer, we were able to work with
7       PREPA's employees, principally through
8       Diaz & Vazquez.           And once it was
9       transferred to LUMA, we were able to
10      speak with the LUMA employees, but it
11      just wasn't as frequent and as easy.                         But
12      that's what I meant.
13              Q          Understood.
14                         Going back to the
15      unliquidated claims, is it your testimony
16      that you or your team has reviewed each
17      and every unliquidated claims and
18      ascribed a value to it that is included
19      in your 800 million estimate?
20                         MS. STAFFORD:                Objection,
21             form.
22              A          No.      It's not my testimony
23      that we reviewed each and every
24      unliquidated claim and included a value.
25              Q          Well, let me backtrack now.

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 40 of 236


                                                                  Page 39

1                                 MARK SHANKWEILER
2                          Did your team review and
3       evaluate every claim that was filed,
4       unliquidated or not?
5               A          Our team went through and
6       confirmed the claims and types of claims
7       and evaluated the proof of claim for, I
8       would say, the vast majority, yes.                       To
9       the extent that claims were transferred
10      in, we would evaluate those.                       But, yes,
11      the majority of the claims, we would have
12      looked at a level to understand the
13      claim.
14              Q          So would it be fair to
15      say -- and please don't adopt my
16      characterization if you're not
17      comfortable with it -- but this was
18      mostly a top-down approach, meaning
19      starting with the largest claim, largest
20      categories of claim and going down,
21      rather than a bottoms-up where you review
22      each and every claim and ascribe the
23      value to those claims?
24                         MS. STAFFORD:               Objection,
25             form.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 41 of 236


                                                                  Page 40

1                                 MARK SHANKWEILER
2               A          So our process started with
3       a bottoms-up approach to understand the
4       types of claims that were included in
5       each category.          We evaluated the claims
6       based on when we were working with Diaz &
7       Vazquez, for example, on the larger
8       claims or for the litigation claims as an
9       example.      We would have asked them to
10      focus on the largest litigation claims.
11                         But that's not solely what
12      we looked at.          We looked at even those
13      claims, which were identified, at least
14      in the claims register, as being zero.
15      And so we've looked at --
16              Q          Apologize.
17              A          So we looked at each one of
18      the claims.
19              Q          I'm a little bit confused
20      now because before, you said we did not
21      look at every claim and ascribed a value.
22      Now you're saying you looked at each one
23      of the claims.
24              A          So I think what I was
25      answering prior to this was whether we

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 42 of 236


                                                                  Page 41

1                                 MARK SHANKWEILER
2       ascribed a value.            So we looked at each
3       one of the claims.             To the extent that we
4       felt that a claim had to be adjusted
5       based on a review, we adjusted it.                       But
6       we did look at each one of the claims to
7       understand the nature of the claim and
8       make sure that it was -- to make sure
9       that it was reflected accurately in the
10      claims register.
11              Q          The $800 million estimate
12      ascribes a value for each claim filed or
13      not?
14              A          The $800 million that's
15      included in the register includes values
16      for each claim filed, plus a cushion, an
17      estimate of -- a cushion to the extent
18      that we felt that the claim could be
19      potentially higher than the amount
20      asserted.
21                         As an example, in reviewing
22      one of the claims, I believe it was a
23      class action claim, it was initially
24      identified as zero.              And in review of
25      that claim, we identified that that

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 43 of 236


                                                                  Page 42

1                                 MARK SHANKWEILER
2       really should be $172 million asserted.
3       So that's an example of where we had
4       identified an unliquidated claim or a
5       zero dollar value claim, contacted Kroll,
6       had that modified, evaluated the claim
7       and have included in our
8       $800 million estimate, a value associated
9       with that claim.
10                         And so that's the type of
11      process that we went on to ensure that we
12      captured value for even unliquidated
13      amounts or what was initially viewed as a
14      zero-dollar or recorded as a zero-dollar
15      value in the claims register.
16              Q          A lot of moving pieces.                  We
17      have to be precise about this.
18                         The fact that Kroll may have
19      indicated the claim is zero or somebody
20      at PREPA or in your organization ascribed
21      a zero value, that doesn't make that
22      claim an unliquidated claim.
23              A          Understood.
24              Q          So if I had the backup for
25      your $800 million estimate, I would see

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 44 of 236


                                                                  Page 43

1                                 MARK SHANKWEILER
2       that every claim is spoken for with a
3       value ascribed so it?                That's my
4       question.       I want to be very precise
5       because to be candid, I think we've
6       gotten different answers to that
7       question.       This is very specific.
8                          MS. STAFFORD:               Objection,
9              form, and to the extent it
10             mischaracterizes his testimony.
11                         MR. DESPINS:              That's why
12             we're trying to clarify it.
13                         MS. STAFFORD:               Well, I think
14             you're mischaracterizing what he
15             previously testified to.
16                         MR. DESPINS:              That's why
17             he's going to clarify it.
18              Q          So can you help me
19      understand this?            Is there a line item
20      for every claim with a value ascribed to
21      that claim?
22              A          Is there a line item?
23              Q          In your analysis, it's not
24      only a one-pager; there must be some
25      backup?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 45 of 236


                                                                  Page 44

1                                 MARK SHANKWEILER
2               A          Yes.      There's a line item
3       for each one of the claims.
4               Q          And your team or you have
5       ascribed a value to each claim that has
6       been filed against PREPA?
7               A          Yes.
8               Q          And that would be reflected
9       in the backup to your analysis, your
10      $800 million estimate?
11              A          Yes.
12              Q          And going back to the issue
13      of unliquidated claims, for unliquidated
14      claims, those that have been filed as
15      unliquidated, your team has ascribed a
16      value for those claims in the
17      $800 million estimate?
18              A          There is value ascribed for
19      each claim.
20              Q          But you did that?               I'm
21      asking you and your team.
22                         MS. STAFFORD:               Objection,
23             form.
24              A          We would have reviewed that
25      and looked at that claim to determine

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 46 of 236


                                                                  Page 45

1                                 MARK SHANKWEILER
2       whether or not it was, you know, ascribed
3       a value, yes.
4               Q          Do you believe that you have
5       the expertise -- and now it's you
6       personally and your team -- to estimate
7       the allowed amount of what you referred
8       to as litigation claims?
9               A          So me personally and my team
10      personally as it relates to valuation of
11      litigation claims, the answer is no.                        But
12      we did not -- I mean we coordinated with
13      Diaz & Vazquez, who are experts in
14      evaluating litigation claims.                      And we
15      used their advice as it relates to the
16      litigation claims.
17              Q          And without that advice, you
18      could not have come up with your
19      estimation of 800 million?
20                         MS. STAFFORD:               Objection,
21             form.
22              A          The estimate of
23      $800 million includes a category for
24      litigation claims which was based upon
25      Diaz & Vazquez's input.                  So could you ask

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 47 of 236


                                                                  Page 46

1                                 MARK SHANKWEILER
2       the question again?              I'm sorry.
3               Q          Without the Diaz & Vazquez
4       advice, you could not have come up with
5       your estimation of 800 million; isn't
6       that so?
7                          MS. STAFFORD:               Objection,
8              form.
9               A          Correct.
10              Q          Let's talk about the PPOA
11      claims, again, same acronym.
12              A          Yup.
13              Q          The asserted amount for
14      those claims is approximately
15      2.8 billion.         I'm not going to hold you
16      to the -- it could be 2.7, 2.9, but that
17      general amount, does that sound right?
18              A          I know that there's an
19      exhibit, the disclosure statement.                       I
20      think it's Exhibit O.
21              Q          Yes.
22              A          And so rather than tax my
23      memory, could we maybe see that to see
24      what that is?
25              Q          Sure, absolutely.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 48 of 236


                                                                  Page 47

1                                 MARK SHANKWEILER
2               A          That's probably where I
3       should have looked.
4                          (The above-referred-to
5              document was marked as Exhibit 4 for
6              identification, as of this date.)
7               Q          So that's Exhibit 4.
8               A          Yes.      Exhibit O.            I'm sorry.
9               Q          Have you had a chance to
10      look at it briefly on the question I just
11      asked you?
12              A          Yes.
13              Q          So what's the amount of
14      asserted claims for PPOA?
15              A          The amount of the asserted
16      claims for PPOA is $2.779 billion.
17              Q          And you see there are three
18      columns, obviously.              One is called
19      estimated low value; the other one is
20      estimated high value; and then there's
21      one in the middle called adjusted
22      estimated value.
23              A          Yes.
24              Q          I understand -- well, first,
25      let me make sure we're clear on this.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 49 of 236


                                                                  Page 48

1                                 MARK SHANKWEILER
2                          The estimated value low and
3       estimated value high, does that come from
4       Vazquez and -- Diaz & Vazquez?
5               A          No.
6               Q          It comes from where?
7               A          So we -- I believe that
8       there is an -- in the disclosure
9       statement also, there's a discussion of
10      the components of the PPOA claims.                       And
11      so the -- and I believe that was on like
12      page 55 or so.           And so the estimation of
13      the PPOA claims, they were developed by
14      us based on our review of the claims, as
15      well as understanding of what's
16      permissible or -- when I say what's
17      permissible, it's really based on our
18      understanding of the components of the
19      claims and based on our review of the
20      PPOA contracts in consultation with both
21      Proskauer and Diaz & Vazquez as to what a
22      valid claim might be and so based on
23      inputs from -- as well as based on our
24      understanding of each one of the PPOA
25      circumstances, based on our conversations

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 50 of 236


                                                                  Page 49

1                                 MARK SHANKWEILER
2       with folks in the project management
3       office down at PREPA.                So there is a
4       combination of things that went into the
5       estimation of this range of claims.
6               Q          But you reviewed the PPOA
7       agreements?        Is that what your testimony
8       is?
9               A          We reviewed the proof of
10      claims that were filed, the claims which
11      were asserted by the claimant and
12      reviewed portions of the PPOA contracts.
13              Q          And do you believe that you
14      have the expertise to determine what
15      claims may be allowed based on your
16      review of contracts?
17                         MS. STAFFORD:               Objection,
18             form.
19              Q          You personally now.
20              A          I would not have.               Me
21      personally, I would not feel comfortable,
22      and I don't think I have the expertise to
23      analyze a legal document and determine,
24      you know, whether or not an asserted
25      claim is a valid claim pursuant to a

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 51 of 236


                                                                  Page 50

1                                 MARK SHANKWEILER
2       contract.
3               Q          And that's where you rely on
4       Proskauer or Diaz & Vazquez; correct?
5               A          Correct.
6               Q          Do you recall a reference --
7       you referenced the disclosure statement
8       where there's a discussion?
9               A          Yes.
10              Q          Do you recall there's a
11      reference at one point to the fact that
12      the majority of the PPOAs contain a
13      provision explicitly prohibiting any
14      claim on account of lost profits?                      Do you
15      remember that statement?
16              A          Yes.
17              Q          And did you verify that
18      yourself, whether that clause existed or
19      not, in the various contracts?
20              A          I reviewed -- I think it was
21      Clause 13.3.         And I did not verify in
22      each one of those personally, but I
23      understand that the team, either
24      Proskauer or my team did, yes.
25              Q          And do you know what

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 52 of 236


                                                                  Page 51

1                                 MARK SHANKWEILER
2       adjustment in the estimated amount for a
3       particular PPOA was made based on the
4       presence or absence of such clause?
5       Because it says the majority, meaning
6       it's not all.          It's a majority; right?
7       So there are some that didn't have that
8       language.
9                          So the question is, do you
10      recall what adjustment was made to the
11      estimated amount of the allowed claim of
12      that particular claimant based on the
13      presence or absence of such a provision
14      in the contract?
15                         MS. STAFFORD:               Objection,
16             form.
17              A          So what we had done, we had
18      provided a similar adjustment.                     Again,
19      there's three components.                    I think what
20      we looked at when we saw a PPOA claim, we
21      reviewed the claim.              They had oftentimes
22      development costs.             They had lost profit.
23      And to the extent we couldn't identify
24      whether it was either of the two, it was
25      a damages claim.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 53 of 236


                                                                   Page 52

1                                 MARK SHANKWEILER
2                          As it relates to the lost
3       profits, we had discussions with Diaz &
4       Vazquez as to whether or not the contract
5       permitted -- whether a valid claim could
6       be asserted for lost profits.                      As we
7       discussed, the PPOA contract did not
8       permit a claim related to lost profits.
9                          Further, we understand in
10      our conversations with Diaz & Vazquez
11      that Puerto Rico Law does not -- would
12      not recognize a valid claim for lost
13      profits.      And that's, again, based on our
14      discussions with Diaz & Vazquez.
15                         And so what we did is we
16      adjusted those claims -- claim amounts
17      for each one of the PPOAs that asserted a
18      lost profit component of the PPOA claim.
19      And so we provided -- we adjusted that.
20                         On the low side, we assumed
21      that it would be zero.                 But because a
22      number of these are in litigation, we
23      provided a high amount or a higher amount
24      of 30 percent, I believe it was.                      So the
25      level of cushion in there for, you know,

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 54 of 236


                                                                  Page 53

1                                 MARK SHANKWEILER
2       potential litigation, we wanted to make
3       sure that we would have something just to
4       make sure that there's sufficient
5       cushion.       But that's with regard solely
6       to the lost profit component.
7               Q          Understood.
8                          But you said that the
9       contracts did not allow for lost profit,
10      and I thought we talked about the fact
11      that the disclosure statement uses the
12      term majority.
13              A          Yes.
14              Q          Meaning some don't have that
15      clause; understood; correct?
16              A          I understand.
17              Q          So my question is, all
18      things being equal, two claimants, one
19      that has a contract with a prohibition on
20      lost profit, the other one silent on
21      that, what is the adjustment that was
22      made for that circumstance?
23                         MS. STAFFORD:               Objection,
24             form.
25              A          Again, the advice that was

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 55 of 236


                                                                  Page 54

1                                 MARK SHANKWEILER
2       provided by Diaz & Vazquez, regardless of
3       whether or not it contained a contractual
4       provision, putting that aside is that in
5       Puerto Rico, a lost profit claim would
6       not be considered a valid claim under
7       Puerto Rico Law.
8               Q          So, therefore, anyone
9       asserting a lost profit got a zero for
10      that?
11                         MS. STAFFORD:               Objection,
12             form.
13              Q          On the low side?
14              A          On the low side.
15              Q          Now, you mentioned that all
16      of these are in litigation or something
17      like that?
18                         MS. STAFFORD:               Objection,
19             form.
20              Q          What did you mean by -- you
21      referred to litigation.                  So you'll
22      correct me.        But I thought it was that
23      given that all of these are in
24      litigation.
25                         MS. STAFFORD:               Objection,

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 56 of 236


                                                                  Page 55

1                                 MARK SHANKWEILER
2              form.
3               Q          I may have misunderstood.
4       So please correct me.
5               A          So I think what I said is
6       that because certain of the PPOAs have
7       been in litigation, one of the reasons
8       that we provided a range or we adjusted
9       the lost profit components of that claim
10      between 0 and 30 was to provide a cushion
11      to the extent that any litigation that
12      might be being pursued would result in a
13      higher claim than what we would have
14      adjusted to on the low side for that
15      component.
16              Q          In what litigation were you
17      referring to there in your answer,
18      generally?
19                         MS. STAFFORD:               Objection,
20             form.    Sorry.       Go ahead.
21              A          Generally, I know that in
22      reading the proof of claims, oftentimes,
23      you can see that there is -- the detail
24      provides that there's an adversary,
25      whether I'm using the correct legal term,

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 57 of 236


                                                                  Page 56

1                                 MARK SHANKWEILER
2       but there was a dispute.
3               Q          A dispute.
4               A          A dispute.            Maybe dispute is
5       a better term than litigation.
6               Q          Okay.       Fair enough.
7                          Have you or -- I'm sorry.
8                          I should say, has the board
9       objected to any of these PPOA claims to
10      date?
11              A          I don't believe as -- to
12      date, I don't believe they have.
13              Q          The part that I didn't cover
14      in Exhibit O is the middle column,
15      adjusted estimated value.
16                         Could you try to define that
17      for me?      I see the words.                I see what low
18      is.     I see what high is.
19                         But adjusted estimated
20      value, can you in your own terms explain
21      that?
22              A          Sure.       So if you go back to
23      the disclosure statement that talks about
24      the PPOA claims and the estimation
25      process for that, there's essentially

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 58 of 236


                                                                  Page 57

1                                 MARK SHANKWEILER
2       three components.            Again, it would be the
3       development costs.             It would be the lost
4       profit and the damages.
5                          Based on our conversations
6       with and our understanding of the law and
7       based on a review of -- I think there was
8       one PPOA claim that was in arbitration.
9       We viewed the -- we did not adjust the
10      development costs.             So for the
11      development costs, we generally allowed
12      those development -- allowed is not a
13      good term.        We didn't adjust the
14      asserted -- the portion of the claim,
15      which asserted development cost claim, we
16      did not adjust those.                So we're generally
17      allowing that as -- at the full claimed
18      value.
19                         For the lost profit, we
20      essentially came up with a range from 0
21      to 30 percent.          And for the damages
22      portion of the claim, we looked at the
23      type of claim, looked at the basis for
24      the claim and came up with an adjustment.
25      The midpoint that we came to here is

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 59 of 236


                                                                  Page 58

1                                 MARK SHANKWEILER
2       essentially an amount that is based on
3       the -- just to provide sufficient
4       cushion, I think, in the estimation of
5       the PPOA claims.            So that's really how we
6       derived that.          It's really what our view
7       of the estimated value of that claim
8       would be based on the various inputs for
9       the 12 or 13 PPOA claims that we
10      reviewed.
11              Q          But you used the term
12      midpoint.
13                         These are not midpoints?
14              A          No.      This is not a midpoint.
15              Q          You say for lost profit, we
16      essentially came up with a range from 0
17      to 30 percent?
18              A          Right.
19              Q          0 in the low side, 30 on the
20      high.       Again, I'm confused as to --
21              A          Sorry.
22              Q          -- in the middle column,
23      where is that 0 to 30 percent analysis
24      coming in?        Is it in the middle of the
25      column, is it elsewhere?

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 60 of 236


                                                                  Page 59

1                                 MARK SHANKWEILER
2               A          So the 0 would be the low.
3       The estimated value would be the high.
4       And we -- the adjusted estimated value
5       here would be based on our adjustments of
6       the low and high to come up with what we
7       felt was, you know, an appropriate value
8       based on the particulars of each one of
9       the claims.
10              Q          But how did you do that?
11              A          It was based on judgment.
12      And in order to provide sufficient
13      cushion, to ensure that there's
14      sufficient cushion in these claims.
15              Q          You mean your judgment?
16              A          I would say it's a
17      combination of judgment, which was -- I
18      mean there's plenty of people, you know,
19      our views, which we are informed by our
20      discussions with both Diaz & Vazquez and
21      Proskauer.
22              Q          That column, adjusted
23      estimated value, exists throughout this.
24                         It doesn't apply only to
25      PPOA; correct?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53        Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 61 of 236


                                                                  Page 60

1                                 MARK SHANKWEILER
2               A          Yup.
3               Q          So let's talk about other
4       categories; for example, the UTICE
5       arbitration award.             In this case, there's
6       no adjustment at all?
7                          MS. STAFFORD:               Objection,
8              form.
9               Q          Or there doesn't seem to be
10      a difference between the three columns;
11      am I correct?
12                         MS. STAFFORD:               Sorry.    The
13             UTICE litigation column?
14                         MR. DESPINS:              No.   Sorry.          I
15             was referring to the UTICE
16             arbitration awards.               There are two
17             UTICE lines.         I apologize.
18              Q          Let's start with the UTICE
19      arbitration award.
20                         So that number is constant?
21              A          Yes.
22              Q          Is 5,000,673 the award that
23      was received?
24              A          Based on our review of the
25      proof of claim, yes, that was the amount

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 62 of 236


                                                                     Page 61

1                                 MARK SHANKWEILER
2       of the award.          And we -- again, yes,
3       correct.       That's based on our
4       understanding of the award that was
5       provided in the arbitration.
6               Q          And let's go to line --
7       there are actually numbers.                        So it's
8       easier if we refer to numbers.                        Let's go
9       to line 5, UTICE litigation.
10              A          Yes.
11              Q          Asserted amount,
12      224,900,000.         And there's no low amount.
13              A          Correct.          That would be
14      zero.       So we probably should put zero in
15      there as opposed to the dash.
16              Q          And there is a high, which
17      is the full amount.
18                         What was the -- was that an
19      asserted amount, the 224 million and
20      change?
21              A          Yes.      That was asserted by
22      UTICE there.
23              Q          And tell me the process to
24      get from a high of 224, a low of zero,
25      and then you get what is a result of

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 63 of 236


                                                                  Page 62

1                                 MARK SHANKWEILER
2       11,000,245?
3               A          So the high claim, the
4       asserted amount here, the $224.9 million,
5       we reviewed the proof of claim.                     We
6       evaluated the nature of the claim and
7       what their support was and determined
8       that there was no validity in that
9       particular claim because it was really
10      based, if you read the actual proof of
11      claim, on savings that were enjoyed by
12      PREPA related to the change in health
13      care plan during a period of time, 2008,
14      2009.       So it really reflected nothing
15      related to the actual claim that UTICE
16      asserted.
17                         We also worked with Diaz &
18      Vazquez to obtain information from PREPA
19      related to the nature of this claim.                        And
20      we were -- among other things, which
21      include comparisons of the health care
22      plans, which were changed, not only for
23      UTICE, but for the PREPA employees as a
24      whole.       We identified the number of UTICE
25      employees that would have been impacted,

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 64 of 236


                                                                  Page 63

1                                 MARK SHANKWEILER
2       understood the type of claim that they
3       were trying to assert here, understood --
4       we reviewed the -- I don't know if it was
5       an arbitration.           I think it may have been
6       an arbitration award that suggested that
7       PREPA was liable for any incremental
8       health care benefits that would have been
9       incurred by an UTICE member.                       And then we
10      attempted to reach out to UTICE to have
11      them provide any substance or any detail,
12      supporting the $224 million claim or any
13      claim for that matter.                 And we did not
14      hear anything back from them.
15                         And so at the end of the
16      day, based on our discussions with
17      PREPA's -- actually, with D&V and PREPA's
18      HR, focusing in looking at the comparison
19      of the plans and evaluating the number of
20      employees that could have been impacted
21      by this, we decided that we would, in
22      order to ensure that we would have
23      sufficient cushion to the extent that any
24      of these claims could be -- would be
25      valid claims against PREPA, we

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 65 of 236


                                                                  Page 64

1                                 MARK SHANKWEILER
2       provided -- I believe it was a 5 percent
3       cushion or a 5 percent estimate, just to
4       cover any potential claims that could
5       arise.
6                          And I think at the end of
7       the day, it was -- it amounted to about
8       $22,000 per UTICE employee which is the
9       basis for the adjusted estimated value.
10              Q          But given that the lack of
11      the supporting documentation that you
12      mentioned and the fact that they refused
13      or did not provide it, why didn't you
14      object to that claim to get it
15      disallowed?
16              A          That would be a question I
17      can't answer.
18              Q          And I want to go back to the
19      issue I asked.          Exhibit O, if I obtain
20      the backup from your firm on this, in
21      every category from 1 through 12, it
22      would show the value assessed by your
23      firm, by you or your firm, for every
24      claim that fits in one of these 12
25      categories; correct?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 66 of 236


                                                                  Page 65

1                                 MARK SHANKWEILER
2                          MS. STAFFORD:               Objection,
3              form.
4               A          Yes.      Just to be clear,
5       could you repeat the question?                     I just
6       want to make sure.
7               Q          Reviewing Exhibit O, if we
8       were to look at the backup that your firm
9       has for each of Categories 1 through 12,
10      would we find an assessed value by you or
11      your firm for every claim filed that fits
12      into one of these 12 categories?
13                         MS. STAFFORD:               Objection,
14             form.
15              A          The answer is we have a
16      value for each one of the claims in our
17      records.       So, yes, there is a value for
18      each one of the claims.                  To the extent,
19      however, that we felt that we -- there
20      were uncertainties as to what the
21      potential amount might -- to the extent
22      that we were concerned with -- when I say
23      concerned, to the extent that we wanted
24      to ensure that there was sufficient
25      cushion, we may have provided, just like

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 67 of 236


                                                                  Page 66

1                                 MARK SHANKWEILER
2       an estimate for, you know, a cushion,
3       like an increase in the claim value if we
4       wanted to ensure that we had sufficient
5       cushion based on where we were in the
6       review of the claims.
7               Q          We may be like ships passing
8       each other in the night here.
9               A          We may.
10              Q          You answered there is an
11      assessed value for every claim.                     I asked
12      you whether your firm determined an
13      assessed value for every claim.
14              A          Yes.      The answer is yes.               We
15      have an assessed value.
16              Q          So to be clear, this is not
17      just a proof of claim is filed, an X
18      amount, that's the file; in fact, each
19      claim has been reviewed and assessed a
20      value?
21                         MS. STAFFORD:               Objection,
22             form, asked and answered.
23              A          We have a value assessed for
24      each one of the claims, yes.
25              Q          Has each claim been

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 68 of 236


                                                                  Page 67

1                                 MARK SHANKWEILER
2       reviewed?
3                          MS. STAFFORD:               Objection,
4              asked and answered.
5               A          Yes.      Each claim has been
6       reviewed.
7               Q          And assessed a value for
8       each?
9                          MS. STAFFORD:               Objection,
10             asked and answered.
11              A          Yeah.       A value was assessed
12      for each one of the claims.
13              Q          By you or your firm?
14                         MS. STAFFORD:               Objection,
15             asked and answered.               You can answer
16             again.
17              A          The answer is that we
18      reviewed each claim.               And we have
19      assessed a value.            There's an assessed
20      value for each one of the claims.
21              Q          But you see the difference
22      between there's an assessed value, and we
23      have assessed a value?                 Do you see the
24      difference between those two points?
25                         MS. STAFFORD:               Objection,

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 69 of 236


                                                                  Page 68

1                                 MARK SHANKWEILER
2              asked and answered.               You can answer
3              it again.       But we're really getting
4              to the point of badgering him on a
5              question he's answered multiple
6              times.
7               A          There are a number of claims
8       which were immaterial that we may not
9       have gone through individually to assess
10      a value.        So to the extent that we would
11      have looked at the claim and determined
12      whether or not we had to specifically
13      assess a value, but we did look at the
14      values for all claims.                 And there is a
15      value that was assessed for each one of
16      the claims that we're comfortable with.
17              Q          How did you determine
18      whether something was immaterial or
19      not --
20                         MS. STAFFORD:               Objection,
21             form.
22              Q          -- based on the dollar
23      amount asserted?
24              A          Yes.
25                         MR. DESPINS:              Why don't we

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 70 of 236


                                                                  Page 69

1                                 MARK SHANKWEILER
2              take a short break at this point.
3                          THE VIDEOGRAPHER:               Off the
4              record at 10:31, marking the end of
5              Media Unit No. 1.
6                          (A short recess was taken.)
7                          THE VIDEOGRAPHER:               We are on
8              the record at 10:57.                This marks the
9              beginning of Media Unit No. 2.
10             Please proceed.
11              Q          Welcome back.
12              A          Thank you.
13              Q          So, Mr. Shankweiler, you
14      mentioned on several occasions before
15      that you received input from this firm
16      called Diaz & Vazquez?
17              A          Vazquez.
18              Q          Did you receive e-mails from
19      them --
20              A          Yes.
21              Q          -- containing their
22      recommendations?
23              A          We exchanged e-mails on the
24      claims that they were reviewing,
25      principally related to the litigation

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 71 of 236


                                                                  Page 70

1                                 MARK SHANKWEILER
2       claims.      And when they sent us e-mails --
3       and when they sent us e-mails on those
4       claims, they would include memos that
5       would discuss the litigation claims, the
6       merits, the background and what a
7       proposed settlement amount would be or
8       what a proposed value of that claim would
9       be.     We also received e-mails.                  We
10      receive e-mails from them as it relates
11      to the UTIER claims valuations for the
12      grievance claims.            We receive e-mails
13      from them with regard to their work in
14      evaluating the expropriation claims and
15      then sometimes just hey, how you doing
16      e-mails.
17              Q          What about the PPOA claims?
18      Did you consider those to be litigation
19      claims as well?
20              A          On the PPOA claims, we may
21      have received some e-mails from Diaz &
22      Vazquez on PPOA claims, but not that --
23      that was not necessarily related to the
24      estimation of the claims itself.                        It was
25      related to, oftentimes, the background

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 72 of 236


                                                                  Page 71

1                                 MARK SHANKWEILER
2       because they're down in San Juan, because
3       they are generally at PREPA's offices
4       several times a week.                They are able to
5       get questions answered that we have and
6       that we've asked them to look into
7       because of their access.
8                          So we have received -- we
9       have received e-mails on PPOAs from Diaz
10      & Vazquez, but not as it relates to these
11      ranges, the estimated low, the estimated
12      high and the adjusted estimated value.
13      So it's input that we considered and
14      provided insights into us.
15              Q          So not on the merits of
16      those claims from a legal point of view,
17      you don't receive memos from them?
18                         MS. STAFFORD:               Objection,
19             mischaracterizes testimony.
20              A          So on the merits of the
21      claim, we did receive e-mails from
22      Eduardo Corretjer as it relates to
23      certain of the PPOA claims that he was --
24      his firm was responsible for representing
25      PREPA on.       And I believe on two or three

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 73 of 236


                                                                   Page 72

1                                 MARK SHANKWEILER
2       of those claims, he discussed the merits
3       of those PPOA claims.
4               Q          Is he with the Diaz firm?
5               A          He's a separate -- he is
6       retained separately by PREPA.                      PREPA
7       retains a number of outside attorneys
8       like any big corporation.                    So part of his
9       work was done in evaluating some of the
10      more complex litigation claims.
11              Q          So he provided you with
12      advice on the merits of claims that he
13      had been handling in litigation, pending
14      litigation?        Again, I don't want to
15      mischaracterize it.              You tell me.
16              A          Whether it was -- wherever
17      there were disputes, my understanding is
18      wherever there were disputes that
19      required outside counsel, litigation
20      counsel, then several, at least two, is
21      my recollection.            Two other PPOA claims
22      were handled by Mr. Corretjer.
23              Q          So that's two.
24                         But then there's a whole
25      other universe of PPOA claims?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 74 of 236


                                                                  Page 73

1                                 MARK SHANKWEILER
2               A          Yes.
3               Q          And he didn't advise on the
4       merits of those, and neither did Vazquez?
5                          MS. STAFFORD:               Objection,
6              mischaracterizes testimony.
7               A          Again, as it relates to the
8       merits of certain components of the
9       claims, Diaz & Vazquez had a few based on
10      their understanding of the contracts,
11      based on their understanding of the
12      contract rejection provisions, based on
13      their understanding of Puerto Rican Law
14      as to whether or not a particular
15      component of a PPOA claim would be a
16      valid claim.
17                         And so those are the types
18      of -- those are the type of conversations
19      that we had and the kind of advice that
20      we were looking -- the insights that we
21      wanted from Diaz & Vazquez.
22              Q          So Diaz & Vazquez advised
23      regarding the merits of the PPOA claims?
24      It's a yes or no.
25              A          Components of it, yes.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 75 of 236


                                                                  Page 74

1                                 MARK SHANKWEILER
2                          MR. DESPINS:              For the
3              record, we're calling for the
4              production of those e-mails and
5              memos.
6                          MS. STAFFORD:               Those will
7              not be produced.            They're subject to
8              common interest privilege.                    We have a
9              common interest with PREPA in the
10             reconciliation of claims.
11                         MR. DESPINS:              Okay.     We'll
12             deal with that later.
13              Q          Moving on back to No.
14      Exhibit, I think, 4, well, you have it in
15      front of you, which is the Exhibit O to
16      the disclosure statement.
17                         There was a prior version of
18      this, was there not, that dates back to
19      December?       No.     Sorry.         February.        Sorry.
20      Let me clarify my question.
21                         The board filed a disclosure
22      statement prior to this version of the
23      disclosure statement; right?                       It filed
24      something in December of 2022?                       Does that
25      ring a bell?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 76 of 236


                                                                  Page 75

1                                 MARK SHANKWEILER
2               A          I think I remember that,
3       yes.
4               Q          Do you recall that that
5       version of the disclosure statement
6       announced that the estimation of the
7       unsecured claims was also $800 million?
8               A          I don't recall.
9                          MS. STAFFORD:               This is going
10             to be Exhibit 5?
11                         MR. DESPINS:              Can we make it
12             Exhibit 5?       It should be.
13                         MR. BONGARTZ:               Yes.   We can
14             make it Exhibit 5.
15                         (The above-referred-to
16             document was marked as Exhibit 5 for
17             identification, as of this date.)
18              Q          So do you see on page 26,
19      which is the second page of Exhibit 5 --
20              A          I do.
21              Q          -- a category called general
22      unsecured claims, Class 5?
23              A          I do.
24              Q          Estimated claim amount,
25      800 million?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 77 of 236


                                                                  Page 76

1                                 MARK SHANKWEILER
2               A          I do.
3               Q          So does that refresh your
4       recollection?
5               A          I mean, I guess, if -- it
6       looks like, you know, this was filed on
7       December 16th, '22.              And I will -- I
8       guess I can stipulate that I trust you
9       that you're not going to give me
10      something that's not correct.
11              Q          My question is, does this
12      refresh your recollection about an
13      $800 million estimate at that time?
14              A          Yes.
15              Q          And did you provide that
16      estimate at that time?
17              A          We had provided a range of
18      estimates over the course of, you know, I
19      would say two years, refining these
20      amounts.      And the estimates that were
21      provided here I think were generally
22      consistent with what our expectations
23      would be in looking at what the estimated
24      claim amounts would be for the general
25      unsecured claims.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 78 of 236


                                                                  Page 77

1                                 MARK SHANKWEILER
2               Q          So this is based on reports
3       you would have provided at that time?
4               A          We shared our reports with
5       Proskauer and had conversations on a
6       weekly basis.          So that's what this I
7       would presume be based on.
8                          MR. DESPINS:              So we call for
9              production of those reports as well.
10                         MS. STAFFORD:               Those are
11             also privileged.            And they won't be
12             produced.
13                         MR. DESPINS:              How are they
14             privileged again?
15                         MS. STAFFORD:               That's the
16             course of our ongoing work between
17             Shankweiler's firm and Proskauer in
18             relation to the development of an
19             estimate which is clearly work
20             product and clearly attorney-client
21             privilege.
22                         MR. DESPINS:              I hear you.
23                         Next exhibit.               6.
24                         (The above-referred-to
25             document was marked as Exhibit 6 for

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 79 of 236


                                                                  Page 78

1                                 MARK SHANKWEILER
2              identification, as of this date.)
3                          MR. DESPINS:              So that's
4              Exhibit 6.
5               Q          And I would ask you to look
6       at the last page of that, which is, I
7       guess, an earlier version of Exhibit O.
8       Does that ring a bell?
9               A          This is 6 over here.                 So
10      we're looking at a low value of
11      $245 million.          Yeah.       I mean our numbers
12      and values change as we continue to do
13      work.
14              Q          So why is there not a middle
15      column there?          Do you know what middle
16      column I'm referring to?
17              A          I do understand what middle
18      column you are referring to.                       I don't
19      know the answer to that.
20              Q          But you prepared that
21      Exhibit O that we're looking
22      at --right?-- which is Exhibit 6?
23                         MS. STAFFORD:               Objection,
24             foundation.
25              A          Yes.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 80 of 236


                                                                  Page 79

1                                 MARK SHANKWEILER
2               Q          Why did you decide that
3       there was a need to add a middle column
4       to Exhibit O?
5                          MS. STAFFORD:                And I'd just
6              caution you not to reveal any
7              privileged information.
8                          THE WITNESS:               Sure.
9               Q          You could say that Proskauer
10      told you to do it.              That's fine.
11              A          No.      In the estimation of
12      any -- in determining any sort of range
13      of claims, you know, we took care to, you
14      know, build up to what we believed a low
15      estimate would be, a high estimate would
16      be, to the extent was asserted.
17                         And then we would have
18      wanted to come up with what we would
19      believe an adjusted estimated value would
20      be in order to ensure that there would be
21      sufficient cushion, whether it's just to
22      come up with -- you know, if you're
23      concerned that the lower value may be too
24      low based on your belief.                     It's a
25      midpoint.       I think most ranges of claims

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 81 of 236


                                                                   Page 80

1                                 MARK SHANKWEILER
2       would have midpoints.                 They would have a
3       high, low and an estimated.                         So that's
4       why we did it this way.
5               Q          But it's not a midpoint, to
6       be clear; right?
7               A          This is not a midpoint.
8               Q          I'm talking about the column
9       that's missing from this document that's
10      in the later version of Exhibit O is not
11      a midpoint between low and high, just to
12      be clear; right?
13              A          No.
14              Q          But it's interesting.                   It
15      was not necessary for you to do that in
16      February, but it was necessary to do it
17      in March?
18                         MS. STAFFORD:                Objection,
19             foundation.
20              A          I don't recall specifically
21      why we didn't have a middle column, an
22      adjusted estimated value column.
23              Q          Let's talk about the UTIER.
24      We're going back to Exhibit 4.
25                         And we're going to use

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 82 of 236


                                                                  Page 81

1                                 MARK SHANKWEILER
2       numbers, so that there's no confusion
3       this time.        There's an Item Number 3,
4       master claim UTIER grievances.                     You see
5       that line?
6               A          I do.
7               Q          And how is it that the high
8       amount for that item was reduced from the
9       asserted amount to a different lower
10      amount, 264,000,379?               I'm asking you --
11      sorry for toggling between two exhibits.
12      So there are two Exhibit Os, not to be
13      confused.       One is dated March 1st, the
14      other one is dated February 9th.
15                         And so if you follow the
16      same line, UTIER grievances, on the high
17      amount, you see for February 9th was the
18      asserted amount.            And now the high is 264
19      which is much less than the asserted
20      amount.      So what happened there?
21              A          So I believe what we were
22      doing here, as it relates to these
23      particular grievance claims, I think it
24      was -- I think for most of these, in
25      fact, for all of these in the earlier

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 83 of 236


                                                                  Page 82

1                                 MARK SHANKWEILER
2       version, other than for the UTIER damages
3       claim, we asserted the -- or we included
4       the asserted amount as a high estimate,
5       only because we continued to evaluate the
6       claims.
7                          And so that's why when I
8       think on the most recent one, which is
9       filed on March 1st, Exhibit 4, it's just
10      reflecting what our estimate of the claim
11      would be versus the asserted amount.
12      And, again, I don't know the specific
13      reason why we were using the asserted
14      amount versus what our estimates were
15      between these two items.                    I don't recall.
16              Q          But it's not like UTIER
17      communicated to you that their maximum
18      amount would be 264379?
19              A          No.
20              Q          So you have your own
21      internal high exposure, regardless of
22      what the claimant is asserting?
23              A          Yes.       And that's
24      reflected -- that's reflected on
25      Exhibit 4, line 3.

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 84 of 236


                                                                  Page 83

1                                 MARK SHANKWEILER
2               Q          And then you proceed to
3       reduce those in your adjusted?
4               A          Yes.      In this instance, I
5       believe what we did is we took the
6       midpoint for that UTIER grievance claim
7       between the low and the high.
8               Q          Why take the midpoint?                  What
9       was the rationale for that?
10              A          Well, the rationale is that
11      we were comfortable with our low
12      estimate.       And we think -- if there's --
13      based on our judgment, if we were able to
14      justify a low and looked at estimating
15      what the high is, but because the
16      uncertainties, we would have adjusted
17      that, we would have taken the midpoint
18      there just based on -- just to provide a
19      value or based on our judgment because we
20      didn't think that necessarily -- there
21      were arguments for both the low and the
22      high.
23              Q          And, by the way, those
24      grievances are governed by Puerto Rico
25      Law; correct?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 85 of 236


                                                                  Page 84

1                                 MARK SHANKWEILER
2                          MS. STAFFORD:               Objection,
3              legal conclusion.
4               Q          Do you know?
5               A          I don't know the specific --
6       I don't know the answer to that.                      I would
7       imagine, yes.
8               Q          Did you receive advice
9       from --
10              A          It's called Diaz & Vazquez,
11      D&V.
12              Q          Those guys?
13              A          Yes.
14                         We -- yes.            We -- there was
15      a process.
16              Q          And Diaz & Vazquez provided
17      their input into the grievance claims,
18      input on the merits of those claims?
19              A          Yes, on the merits of the
20      claims.      But that was not only Diaz &
21      Vazquez, the process by which these
22      were -- just stepping back, UTIER
23      provided a proof of claim broken up
24      between No. 2, which was the UTIER
25      damages, and No. 3, the UTIER grievances.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 86 of 236


                                                                  Page 85

1                                 MARK SHANKWEILER
2       The UTIER grievances, they just had one
3       single claim amount with no supporting
4       values associated.             What they did have
5       and what Diaz & Vazquez was asked by
6       PREPA early -- in late 2019 to do was to
7       assist them in evaluating these claims.
8       The support that UTIER provided was
9       50,000 pages of stuff in 28 boxes.                       And
10      none of those documents had any values.
11                         So we coordinated with Diaz
12      & Vazquez to establish a process by which
13      we would be able to build up to what a
14      potential value was of these UTIER
15      claims, these grievance claims.
16              Q          Thank you.
17                         Still on UTIER, but moving
18      on now to the collective bargaining
19      agreement --
20              A          Okay.
21              Q          -- you know there's a
22      collective bargaining agreement with
23      UTIER; correct?
24              A          I do.
25              Q          And has that -- I'll refer

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 87 of 236


                                                                  Page 86

1                                 MARK SHANKWEILER
2       to it to the CBA.            Has that CBA been
3       rejected?
4               A          I don't know.               I don't know
5       if it's been rejected or not.                      I don't
6       believe so.
7               Q          If I look at your Exhibit O,
8       this one, Exhibit 4, but Exhibit O in
9       Exhibit 4, where would I find rejection
10      damage claims of UTIER arising out of a
11      potential rejection of the CBA?
12                         MS. STAFFORD:               Objection,
13             foundation.
14              A          The way we're approaching
15      the UTIER grievance claim damages is by
16      going through and looking at the
17      individual claims and valuing each,
18      whether the grievance claims that build
19      up to this number.             So we don't
20      specifically have contract rejection
21      damage claims incorporated in this
22      number.
23              Q          Is there any dollar amount,
24      estimated, at all on Exhibit O in any of
25      the Categories 1 through 12 for CBA

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 88 of 236


                                                                  Page 87

1                                 MARK SHANKWEILER
2       rejection claims?
3                          MS. STAFFORD:               Objection,
4              foundation.        I think he's already
5              testified there hasn't been a
6              rejection.
7                          MR. DESPINS:              Okay.      Now
8              you're testifying.              That's not cool.
9                          MS. STAFFORD:               I'm just
10             pointing out the foundation issue
11             that I see here.
12                         MR. DESPINS:              No.      You're
13             testifying again.
14              A          Could you repeat the
15      question?
16              Q          If I'm looking at Exhibit O,
17      which is a page of Exhibit 4 and for this
18      deposition, is there any dollar amount
19      reflected in any of the Categories 1
20      through 12 for damages arising out of a
21      potential rejection of the collective
22      bargaining agreement, the CBA?
23                         MS. STAFFORD:               Same
24             objection.
25              A          So when we developed the

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 89 of 236


                                                                  Page 88

1                                 MARK SHANKWEILER
2       claim amount that is included in here for
3       line 3, what we did is we came up with
4       average values for each one of the
5       claims.      And based on the number of
6       claims that were filed in PREPA's offices
7       by UTIER, we then applied a cushion to
8       that for unknown claims that could arise
9       or other issues that could arise.
10                         So that is part of thinking
11      about what could potentially arise under
12      any contract rejection issues or
13      whatever, any additional claims that
14      could arise.         The amounts here are higher
15      than the true extrapolated amount of the
16      claims.
17              Q          So therefore, there is a
18      dollar amount built in under line --
19              A          3.
20              Q          -- 3 for rejection damage
21      claims?
22                         MS. STAFFORD:               Objection,
23             foundation.
24              A          We've provided a cushion for
25      any additional claims that could arise

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 90 of 236


                                                                  Page 89

1                                 MARK SHANKWEILER
2       that weren't captured through our
3       analysis and just simply extrapolating
4       the average dollar value of the claims
5       that we have had come up with.                      So for
6       whatever those claims, whether it would
7       be a contract rejection, whether it would
8       be anything, there's cushion in there to
9       take that into account.
10              Q          What's that cushion,
11      ballpark again?           I'm not going to hold
12      you to a specific dollar.                    But give me an
13      order of magnitude of your cushion.
14                         MS. STAFFORD:               Objection.
15              A          So we came up with a range,
16      a low range and a high range.                      And then
17      we applied a 50 percent cushion on top of
18      that.       So it was -- it was, again, based
19      on where we are or where I should say
20      that Diaz & Vazquez and PREPA is in their
21      review of these claims because there are
22      well over 10,000 individual cases that
23      are being reviewed.              And based on where
24      we are in that review, we want to provide
25      enough of a cushion to the extent that

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 91 of 236


                                                                  Page 90

1                                 MARK SHANKWEILER
2       something will come up and we would need
3       to increase that amount.
4               Q          Switching gears to other
5       things, you're familiar with the term
6       current expenses?            Does that ring a bell?
7               A          Yes.
8               Q          And what's your
9       understanding of what that means in this
10      context?
11                         MS. STAFFORD:               Objection,
12             form, legal conclusion.
13              A          So my understanding -- my
14      understanding of the term current expense
15      is -- well, again, it's a legal term.
16      It's included in the -- I know it's
17      included in the 1974 indenture.                     And it
18      dictates what expenses should be paid
19      prior to the bonds getting payments is my
20      understanding.          But that's all I
21      really -- I don't know what it means from
22      a legal perspective, other than just
23      generally what it means.
24              Q          Understood.
25                         Have you and your team

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 92 of 236


                                                                  Page 91

1                                 MARK SHANKWEILER
2       performed any work with respect to
3       determining which expense would be
4       considered current expenses?
5               A          We have not done any work to
6       determine which expense would be
7       considered a current expense, no.
8               Q          Are you aware that PREPA has
9       paid, post-bankruptcy, millions of
10      dollars to pre-petition creditors of
11      PREPA?
12              A          I am.
13              Q          And do you know the
14      approximate amount involved in here,
15      ballpark again?
16              A          I believe currently, it's
17      above 500 million, $550 million, maybe a
18      little higher, maybe 600.                    I don't recall
19      specifically.
20              Q          And have you conducted any
21      work with respect to those payments?
22                         MS. STAFFORD:               And I just
23             want to object to the extent this is
24             outside the scope of his 30(b)(6)
25             testimony.       If he knows anything

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 93 of 236


                                                                  Page 92

1                                 MARK SHANKWEILER
2              personally, he can obviously answer.
3               Q          Go ahead.
4               A          Could you repeat the
5       question?
6               Q          And have you conducted any
7       work with respect to those payments?                        And
8       the payments I'm referring to are the
9       payments made by PREPA, post-bankruptcy,
10      on account of pre-bankruptcy claims.
11                         MS. STAFFORD:               Same
12             objection.
13              A          Yes.
14              Q          And tell me what -- in what
15      context.
16              A          In the context of reviewing
17      a proof of claim that was actually filed
18      when we got to -- when we were retained
19      by the FOMB to start the claims
20      reconciliation process, it was
21      approximately a year -- it was
22      approximately two years after the filing.
23      And it was approximately one year after
24      the bar date for filing proofs of claim.
25                         And when we understood that

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 94 of 236


                                                                  Page 93

1                                 MARK SHANKWEILER
2       there were payments that were made on
3       behalf of the pre-petition -- on account
4       of pre-petition invoices, we obtained
5       information from PREPA to determine
6       whether or not the proofs of claim
7       included invoices that might have been
8       paid.
9               Q          So if they're satisfied,
10      then you wouldn't pay twice?
11              A          That's the basis for some of
12      the objections that we had filed as
13      having been satisfied.
14                         MR. DESPINS:              Why don't we
15             take this time, like a five-minute
16             break, because I think we're probably
17             done.
18                         MS. STAFFORD:               Great.
19                         MR. DESPINS:              But I just
20             want to confirm that.                 So people can
21             stay put.       Really, it's going to be
22             no more than three or four minutes.
23                         THE VIDEOGRAPHER:               Off the
24             record at 11:31.
25                         (A short recess was taken.)

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 95 of 236


                                                                  Page 94

1                                 MARK SHANKWEILER
2                          THE VIDEOGRAPHER:               We are on
3              the record at 11:41.                Please proceed.
4                          MR. DESPINS:              We have no
5              further questions.              Thank you very
6              much for your time, Mr. Shankweiler.
7                          THE WITNESS:              Thank you.
8                          MS. STAFFORD:               Before we go
9              off the record, does anyone else have
10             questions on the phone or in the
11             room?
12                         MR. KELLY:            I'll be asking a
13             few questions.          And I think Jane
14             Tomic from Kramer Levin will have
15             some questions too.
16                         MS. TOMIC:            Yes.
17                         THE VIDEOGRAPHER:               Off the
18             record at 11:41.
19                         (A short recess was taken.)
20                         THE VIDEOGRAPHER:               We are on
21             the record at 11:42.                Please proceed.
22       EXAMINATION BY
23       MR. KELLY:
24              Q          Good morning, Mr.
25      Shankweiler.         My name is Cameron Kelly.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 96 of 236


                                                                  Page 95

1                                 MARK SHANKWEILER
2       I'm with Quinn Emanuel.                  We represent
3       Syncora Guarantee Incorporated.
4                          Do you know who Syncora is?
5               A          I do.
6               Q          They're, as you understand
7       it, a monoline insurer of PREPA bonds?
8               A          Correct.
9               Q          Now, I know Mr. Despins
10      talked a little bit about your
11      background.        But I just wanted to get a
12      little more clarity.
13                         So you've been in the
14      restructuring industry since the 1990s?
15              A          Since '92.
16              Q          How many formal bankruptcies
17      have you been involved in?
18              A          I don't know the exact
19      amount.      But over the 20 years, probably
20      more -- I can't -- 30, 40, not specific.
21              Q          Any as big as Puerto Rico?
22              A          Yes.
23              Q          And in those big
24      bankruptcies like Puerto Rico, what was
25      your role?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 97 of 236


                                                                  Page 96

1                                 MARK SHANKWEILER
2               A          It ranged from representing
3       creditors.        When I say -- let me rephrase
4       that.       As big as Puerto Rico with
5       $89 billion or $90 billion of claims.                         So
6       I was looking at it relative to PREPA
7       with, yeah.
8               Q          That's fine.
9               A          So our role -- yes.                And
10      that would have been -- as an example,
11      EFIH, Energy Futures, our role would have
12      been representing -- I think it was
13      noteholders of secured lenders there.                         So
14      it ranged from, you know, representing
15      banks to representing noteholders and
16      representing, in certain cases, debtors.
17              Q          And do you view your job
18      differently when you're representing a
19      debtor as opposed to a creditor
20      constituency or a bondholder
21      constituency?
22              A          I mean there's differences,
23      yes.
24              Q          Any that come to mind
25      immediately or an example, perhaps?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 98 of 236


                                                                  Page 97

1                                 MARK SHANKWEILER
2               A          Well, just as an example --
3       representing an unsecured creditors'
4       committee, as an example, you would be
5       challenging, you know, the analysis that
6       were prepared by the debtors.                      And so
7       when you're representing the debtors,
8       obviously, you would be an advocate for
9       the debtors' position and doing a lot of
10      the analysis that would be reviewed by
11      somebody on the other side of the table.
12              Q          So is it fair to say when
13      you're representing creditors, you look
14      at whatever the debtors' estimates of
15      claims are with some skepticism?
16              A          Yes.
17              Q          Do you take that into mind
18      when you represent the debtors, that
19      level of skepticism?
20                         MS. STAFFORD:               Objection,
21             form.
22              A          I think -- could you
23      rephrase that question again?
24              Q          Yes.
25                         So if you're retained by a

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
            Exhibit 1 - Shankweiler Deposition Transcript Page 99 of 236


                                                                  Page 98

1                                 MARK SHANKWEILER
2       debtor to evaluate claims against their
3       estate, do you take with you in that
4       evaluation, the same level of skepticism
5       of claims that you would when you're
6       representing creditors?
7               A          So it's -- it's a little bit
8       different because what you're trying to
9       do when we're representing the debtors,
10      we want to make sure that we can justify
11      the claims that have been asserted to
12      ensure that they're actually correctly
13      recorded and captured and to do that
14      reconciliation to ensure that ultimately,
15      the claims that have been asserted
16      against the debtors are valid claims.
17                         So that's a little bit
18      different because from the creditors'
19      side, you would say, well, what have you
20      done in order to evaluate, so that we're
21      comfortable with the work that you've
22      done.       And we would have access on --
23      when we're representing creditors, to
24      proofs of claim, et cetera, that would
25      have been filed in the case.                       So there's

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 100 of 236


                                                                  Page 99

1                                 MARK SHANKWEILER
2       a differentiation.
3               Q          Okay.       Fair enough.
4                          Now, Mr. Despins touched on
5       this a little bit.
6                          The total asserted value
7       currently of unsecured claims against
8       PREPA is about 6 billion, 5.9 billion.
9       Do you recall that?
10              A          The total value of the
11      general unsecured claims?
12              Q          Yes, of the general asserted
13      unsecured claims.
14              A          Yes.
15              Q          You mentioned earlier that
16      BRG had gotten through about 60 percent
17      of the claims asserted against PREPA or
18      evaluated about 60 percent of them?
19                         MS. STAFFORD:               Objection,
20             mischaracterizes testimony.
21              A          I don't believe that that
22      was my testimony.            I think what I had
23      said -- I may have said -- I think
24      that's -- you know, to the extent that
25      we've come to a conclusion on all of the

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 101 of 236


                                                                 Page 100

1                                 MARK SHANKWEILER
2       claims, that's probably what I alluded
3       to.
4               Q          So just to clarify, you've
5       come to a conclusion about -- on about
6       60 percent of the claims?
7                          MS. STAFFORD:               Same
8              objection.
9               A          I think that's what I said.
10      If I think about it a little bit more, I
11      might want to refine that to a higher
12      amount.
13              Q          That's fine.
14                         But you also mentioned that
15      BRG in conjunction with other advisors
16      and the debtor have looked at every
17      claim; right?
18              A          Yes.
19              Q          And at least assessed an
20      initial value?
21              A          Yes.
22              Q          Now, when we were talking
23      about the 60 percent number or higher, if
24      you want to revise it, you said that
25      there was still some big claims

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 102 of 236


                                                                 Page 101

1                                 MARK SHANKWEILER
2       outstanding?
3               A          Yes.
4               Q          Do you have any sense of
5       what those bigger claims that are
6       outstanding are?
7               A          Yes.
8               Q          What are they, by type of
9       claim and amount?
10              A          So if I could refer to an
11      exhibit.
12              Q          Yes, of course.
13                         MR. KELLY:            I'll just go
14             ahead and use the UCC's exhibit
15             because they're already there.
16              Q          I believe they're Exhibit --
17              A          4.
18              Q          -- 4.       That's right.
19      Exhibit 4.
20                         The table on page 3.
21              A          Yes.
22                         So could you repeat the
23      question so I'm answering correctly?
24              Q          Yes.
25                         You said that you hadn't

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 103 of 236


                                                                 Page 102

1                                 MARK SHANKWEILER
2       come to a final determination on some of
3       the larger claims.             And I asked if you
4       had any sense of what types of claims
5       those are and what their amounts were.
6                          MS. STAFFORD:               Objection,
7              mischaracterizes the testimony.
8               A          So the claims that I know
9       that are still in the process of being
10      resolved, they're either objection or
11      reconciliation, would be the PPOA claim
12      category, the UTIER grievance claim
13      category and the UTICE litigation and
14      some of the litigation claims as far as
15      the larger components.                 There's still
16      other -- the reconciliation process is
17      still ongoing with certain of the other
18      categories of claims which are not moving
19      the needle here with regard to the
20      adjusted estimated value.
21              Q          And by not moving the
22      needle, do you just mean they're smaller
23      in amount?
24              A          Smaller in amount, more
25      voluminous and smaller in amount.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 104 of 236


                                                                 Page 103

1                                 MARK SHANKWEILER
2               Q          If you could aggregate the
3       kind of -- if you had to aggregate the
4       value of those outstanding claims, what
5       would it be?
6               A          When you say outstanding
7       claims, what do you mean?
8               Q          The PPOA, the UTIER
9       grievance, the UTICE, the litigation
10      claims and those claims that aren't
11      moving the needle all together.
12                         MS. STAFFORD:               Objection,
13             form.
14              A          So the value, are we talking
15      about the asserted amount?
16              Q          The asserted value.
17              A          The asserted value would be,
18      you know, close to $5 billion, I would
19      imagine just scanning this.
20              Q          Now, earlier, Mr. Despins
21      and you talked a little about the
22      adjusted estimated value.                    That's the
23      middle column on Exhibit 4.
24              A          Yes.
25              Q          Now, at various points, you

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 105 of 236


                                                                 Page 104

1                                 MARK SHANKWEILER
2       referred to the adjusted estimated value
3       as a midpoint; is that fair?
4               A          That's fair.
5               Q          But it's not a midpoint; is
6       that right?
7               A          It is not.
8               Q          So could you define what it
9       is a little more precisely, maybe?                       I
10      know it has changed, or its effect has
11      changed in some of the categories.                       But
12      how would you define it?
13                         MS. STAFFORD:               Objection,
14             form.
15              A          How would I define what?
16              Q          The adjusted estimated
17      value.
18              A          So the adjusted estimated
19      value is our best view of what the claims
20      amount would ultimately be allowed or
21      ultimately, you know, be allowed in the
22      bankruptcy by the court to come up with
23      what the general pool of unsecured claims
24      would be based on our analysis of the
25      individual categories of claims.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 106 of 236


                                                                 Page 105

1                                 MARK SHANKWEILER
2               Q          And what goes into that
3       view, the view of what would be allowed?
4               A          It's a number of things.                   It
5       would be -- it would be -- it would
6       include our views as -- which are
7       informed by our discussions, our views,
8       which are informed by our analysis of the
9       proofs of claim, our views as it relates
10      to our analysis of the underlying
11      components of a lot of the claims that
12      were provided, our reconciliation of
13      claims, our objections to the claims that
14      were actually filed, our view of what
15      the -- or our understanding of what the
16      settlement amounts are -- have been
17      derived based on transferring certain
18      claims to ADR process as an example and
19      reviewing the litigation claims and
20      understanding what the risk assessed
21      value of those might be, to the extent
22      they might have been transferred to ADR.
23      So those types of things.
24              Q          So is it fair to say that it
25      changes, depending on the type of claim

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 107 of 236


                                                                 Page 106

1                                 MARK SHANKWEILER
2       you're looking at?
3               A          Yes.      I think that's fair,
4       depending on -- even within each
5       category; could be different.
6               Q          And just clarifying for the
7       record, it being the adjusted estimated
8       value or how the adjusted estimated value
9       is determined?
10              A          Yes.
11              Q          Now, how does the adjusted
12      estimated value differ from the estimated
13      low value?
14              A          So in certain circumstances,
15      it doesn't.        And the adjusted estimated
16      value -- as an example, if we're taking a
17      look at the PPOA claim, we go through and
18      build what our low value of the claim is
19      based on, reviewing each one of the PPOA
20      claims and coming up with a value and
21      then as far as coming up with an adjusted
22      estimate, we know what the high claim
23      would be, we've developed what the low
24      estimate of that particular claim would
25      be.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 108 of 236


                                                                 Page 107

1                                 MARK SHANKWEILER
2                          And in this particular case,
3       we took the midpoint to -- to take -- to
4       provide a cushion to allow for any
5       uncertainties or any additional claims
6       that could arise because there are
7       uncertainties with the result -- there
8       are uncertainties related to the ultimate
9       disposition of a particular claim.                       So
10      that's what we did in this particular
11      instance.       Does that make sense?
12              Q          Yes.
13              A          Okay.
14              Q          I just want to drill down a
15      little bit more on the specific
16      difference between what the low estimate
17      is and what the adjusted estimated value
18      is.
19                         So are you removing
20      uncertainties, the uncertainties that you
21      mentioned when you're figuring out what
22      the low estimate is?
23                         MS. STAFFORD:               Objection,
24             form.
25              A          So when we're coming up with

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 109 of 236


                                                                 Page 108

1                                 MARK SHANKWEILER
2       a low estimate, our estimates are based
3       on advice from discussions with either
4       PREPA, our review of the individual proof
5       of claim, the advice of Proskauer or from
6       Diaz & Vazquez as it relates to the legal
7       nature of the -- or the viability -- not
8       the viability, but the ability to assert
9       the claim.        So that's what we would look
10      at in coming up with a low estimate.
11                         So that's what we believe is
12      the appropriate value of a claim, taking
13      into account those things.                     But we know
14      that the asserted amount is oftentimes
15      much higher.         And to the extent that
16      there is uncertainties with regard to
17      what the ultimate outcome would be if
18      this were to move into -- or to be
19      resolved via litigation, that's the type
20      of modifications that we were made to
21      come up with an adjusted estimated value
22      is.     So it's really to provide some
23      cushion about what our low estimate would
24      be to ensure that there's sufficient
25      cushion in estimating what the general

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 110 of 236


                                                                 Page 109

1                                 MARK SHANKWEILER
2       unsecured claims would be.
3               Q          So would it be fair to say
4       that the low estimate reflects a value in
5       which there are no uncertainties about
6       the validity or invalidity of a claim
7       based on the assumptions that PREPA's
8       other advisors have given you?
9                          MS. STAFFORD:               Objection,
10             form.
11              A          I think it would reflect
12      what -- a collective view in the more
13      complex proofs of claims, what the
14      expected amount of a defensible low value
15      would be.
16              Q          And then on the other end of
17      the spectrum, the high estimated value --
18              A          Right.
19              Q          -- how does that differ from
20      the adjusted estimated value?
21              A          So the high estimated value,
22      certain -- would represent -- could
23      represent, to the extent that we have
24      received a proof of claim that asserts a
25      certain value, or if we would receive

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 111 of 236


                                                                 Page 110

1                                 MARK SHANKWEILER
2       information from PREPA that calculated a
3       particular claim or a group of claims
4       that upon our review, we felt was not
5       necessarily appropriate or we felt that
6       it was either duplicative or included
7       certain claims that based on our
8       discussions with counsel were not
9       necessarily valid.             So those would
10      include those types of claims.                     So we
11      would adjust down from the estimated high
12      value based on those types of carve-outs
13      that we would have.
14              Q          I want to talk about the
15      PPOA claims a little bit more.
16              A          Sure.
17              Q          Now, you and Mr. Despins
18      discussed that the claims kind of fall
19      into two categories:               Claims for lost
20      profits and claims for developmental
21      costs; is that fair?
22              A          There were three categories.
23      They also include claims for damages.
24              Q          Okay.
25                         Now, I think that you said

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 112 of 236


                                                                 Page 111

1                                 MARK SHANKWEILER
2       that you discussed whether claims for
3       lost profits would be valid under the
4       PPOAs with D&V?
5               A          As well as with Proskauer.
6               Q          Did you undertake a similar
7       assessment process with respect to the
8       developmental cost?
9               A          So for the developmental
10      costs, we looked at -- yes is the answer.
11      We underwent a similar process.
12              Q          And how did you assess the
13      validity of claims for developmental
14      costs?
15              A          So the first thing that we
16      did is -- well, one of the things that we
17      did, not the first thing, we reviewed the
18      proof of claim.           We identified what they
19      had asserted as development costs.                       We
20      had specific conversations with the
21      project management office, with folks,
22      with employees of PREPA and/or LUMA who
23      were actually involved in the process.
24      And we -- we tried to get -- we got a
25      sense for what the nature of the project

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 113 of 236


                                                                 Page 112

1                                 MARK SHANKWEILER
2       was, where it was in its development.
3                          But at the end of the day,
4       the development costs are not necessarily
5       something that PREPA would have a view on
6       because those development costs are
7       oftentimes captured in the revenues that
8       they would ultimately earn once they get
9       to a completed PPOA.
10              Q          What do you mean PREPA
11      wouldn't have a view on them?
12              A          Oftentimes, they don't --
13      well, they would have a view.                      They don't
14      have any support in their offices to
15      support the claims, the development
16      portion of their claim.
17              Q          PREPA wouldn't have
18      documents or --
19              A          PREPA has not invoiced for
20      these development costs.                   So that's --
21      that's part of the process.
22              Q          Would that mean that there's
23      not a basis to object to those claims,
24      the developmental cost claims?
25                         MS. STAFFORD:               Objection,

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 114 of 236


                                                                 Page 113

1                                 MARK SHANKWEILER
2              legal conclusion.
3               A          No.      That doesn't mean that
4       there is a basis not to object to certain
5       development cost claims.
6               Q          What does it mean if PREPA
7       doesn't -- isn't invoiced for these
8       developmental costs?                What does that mean
9       for the claim estimation process?
10              A          For the claim estimation
11      process,, it means that -- it means that
12      the -- what we're doing as it relates to
13      the development costs itself is we're not
14      adjusting those, at least initially, in
15      coming up with what our estimated value
16      would be based on -- based on the results
17      of an arbitration that we understand
18      relates to a PPOA where they had actually
19      allowed development costs or they had --
20      they hadn't adjusted -- the arbitration
21      panel hadn't adjusted down the
22      development costs.
23                         So when it comes to the
24      actual reconciliation of the development
25      costs, it still needs to be reconciled.

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 115 of 236


                                                                 Page 114

1                                 MARK SHANKWEILER
2       But for purposes of coming up with an
3       adjusted estimated value, the process
4       would have to be to essentially validate
5       and get additional information from those
6       claimants to substantiate.                     While they
7       include those in the proof of claim, they
8       haven't been necessarily validated by
9       PREPA.
10              Q          So are some of the
11      development costs -- let me rephrase
12      that.
13                         Is the value of some of the
14      development cost claims subject to
15      arbitrations that are ongoing?
16              A          Could you repeat that?
17              Q          Is the value of some of the
18      development cost claims subject to
19      arbitrations that are ongoing?
20              A          I'm not aware of any
21      arbitrations that are currently ongoing.
22              Q          Now, you said you needed
23      additional information for the estimation
24      process for these developmental costs.
25                         What type of additional

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 116 of 236


                                                                   Page 115

1                                 MARK SHANKWEILER
2       information?
3               A          The way we identified the
4       development costs are just based on lists
5       that they have in the proof of claim or
6       what they had designated which really
7       doesn't have any support.                    So the types
8       of support that you would expect to get
9       at that point would be invoices.                      It
10      would be hours worked.                 It would be
11      essentially the detail that supports
12      those development costs and whether or
13      not -- and we would have to -- we would
14      have to work with PREPA and/or LUMA's
15      office to make sure that those are in
16      line with what their understanding is.
17              Q          Now, just going to line 1 on
18      Depo Exhibit 4, the asserted PPOA claim
19      is -- it's about 2.8 billion; correct?
20              A          Yes.
21              Q          How much of that 2.8 billion
22      is attributable to development costs?
23              A          I'd have to review it.                   But
24      it's not substantial.                It could be -- it
25      could be maybe $100 million, is my

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 117 of 236


                                                                 Page 116

1                                 MARK SHANKWEILER
2       recollection if I go back.                     And there was
3       one -- there was one claim that asserted
4       close to -- I would say it's close to
5       $85 million in development costs.                      But
6       those were really development fee costs.
7       So that's -- that's probably around
8       between, you know, around, give or take,
9       10 million.        It's maybe $100 million.                   I
10      think so.
11              Q          So less than 10 percent?
12              A          I'd say that $100 million is
13      less.       But that's based on my
14      recollection.          I'm trying to remember
15      what it truly was.
16              Q          In terms of a percentage,
17      how far along in the process of
18      reconciling all the development cost
19      claims are you?
20              A          So because there are no
21      records at PREPA as it relates to these
22      costs, we can't reconcile those to the
23      company's books and records.
24              Q          Now, I want to talk about
25      the UTIER claim just a little bit more.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 118 of 236


                                                                 Page 117

1                                 MARK SHANKWEILER
2                          When you were first
3       assessing the claim, you determined that
4       there was insufficient documentation to
5       support the claim?
6               A          Yes.
7               Q          Was that a determination
8       that BRG made, that there was
9       insufficient documentation?
10              A          I think it was everyone's
11      assessment that there was insufficient
12      documentation.          So that was not solely
13      BRG.        That was Diaz & Vazquez, it was
14      Proskauer, it was PREPA.
15              Q          And we talked a little bit
16      about this earlier.
17                         But documentation was
18      eventually provided; right?
19              A          Documentation was provided.
20              Q          But that documentation
21      didn't provide much information in terms
22      of value of the claim; right?
23              A          Correct.          No value was
24      ascribed to any of the -- or to, you
25      know -- it may have it, but the vast

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 119 of 236


                                                                 Page 118

1                                 MARK SHANKWEILER
2       majority, 99 percent, my understanding is
3       zero value was ascribed to the support
4       that had been provided by UTIER.
5               Q          How did you go about putting
6       a value on these claims without that
7       support?
8               A          So, again, the process by
9       which a grievance claim is filed, my
10      understanding, based on discussions with
11      PREPA's labor relations and arbitration
12      office, is that UTIER claims that are
13      filed, grievance claims that are filed
14      never come with value, any value
15      ascribed.       It's the responsibility of
16      PREPA's arbitration office, essentially,
17      to review the claim and review their
18      records to come up with what the value of
19      that claim is, what the value of that
20      particular grievance claim would be.                        And
21      that could include looking at employee
22      records, you know, whatever the claim is.
23      It's looking at whatever records they
24      have in their systems to substantiate the
25      value of that grievance claim and come to

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 120 of 236


                                                                 Page 119

1                                 MARK SHANKWEILER
2       a settlement with regard to the value of
3       that claim with UTIER.
4                          So the value that we have
5       here represents a detailed analysis by
6       PREPA's employees who had been involved
7       with -- in the arbitration office for the
8       past two decades and going through that
9       process of assigning a specific value to
10      a claim that was provided to PREPA's
11      arbitration office and coming up with
12      that value based on the information that
13      was available to PREPA.
14              Q          Do you have an understanding
15      of how PREPA's labor relations office
16      came up with values for these claims
17      based on the documents that they had?
18              A          I have an overall
19      understanding.
20              Q          What is that understanding?
21              A          Again, to the extent that
22      they would have, as an example, a salary
23      or a vacation, a claim for lost vacation,
24      they would be able to go through and
25      determine what the hours or what the

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 121 of 236


                                                                 Page 120

1                                 MARK SHANKWEILER
2       salary level would be, determine whether
3       or not that employee took the vacations,
4       they would go through the HR records in
5       order to come up with a value of that.
6       And they would -- that's the way they
7       came up with the value for a particular
8       claim.
9                          To the extent that it was
10      for, you know, overtime work, it would be
11      a similar sort of -- a similar sort of
12      process.      The company would go out and
13      look at what the claim was, go into the
14      records and determine whether or not the
15      grievance claim was a valid grievance
16      claim and be able to answer UTIER with
17      regard to whether or not it was a valid
18      UTIER claim.         So that's an example.
19              Q          Now, some of these claims,
20      for instance, unpaid overtime or I think
21      there's mention in the disclosure
22      statement of unpaid Christmas bonuses,
23      calculating these claims sounds
24      mechanical; is that a fair term?
25              A          I think that's a fair term,

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 122 of 236


                                                                 Page 121

1                                 MARK SHANKWEILER
2       yes.
3               Q          Are any of the grievance
4       claims less mechanical to calculate?
5               A          Yes.
6               Q          Do you have any examples of
7       what those claims would be?
8               A          So yes.         It's oftentimes
9       what they call an outsourcing claim or a
10      proper unit invasion claim, whereby an
11      UTIER member might be able to assert a
12      claim because PREPA retained in an
13      emergency situation somebody to come in
14      and fix a transformer that blew up, or
15      they could have had somebody who didn't
16      have necessarily -- if they needed to
17      have services performed by an outside
18      third-party, if they didn't feel that
19      the -- or they didn't have the right
20      PREPA -- or UTIER employees to perform
21      that particular service.
22                         So in that instance, they
23      would have to determine whether or not
24      that service is actually performed and my
25      understanding is then go and look at the

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 123 of 236


                                                                 Page 122

1                                 MARK SHANKWEILER
2       associated records, what they were
3       actually paid to that third-party.                       And
4       that involved not -- it involved numerous
5       departments within PREPA to come up with
6       what estimate would be.                  So that's an
7       example of it's not just a mechanical,
8       this is what we paid you, this is what we
9       should have paid you pursuant to a
10      particular formula.
11              Q          So those claims would be
12      estimated by PREPA -- and I guess I'll
13      term it -- a collaborative process where
14      the labor relations office would talk to
15      different departments of PREPA to
16      determine how much one of the UTIER
17      employees would have been paid for doing
18      a job that was outsourced?                     Am I getting
19      that right?
20              A          So internally, it was a
21      collaborative process, oftentimes between
22      legal, between distribution, between the
23      finance department.
24                         And in order to come up with
25      what a potential value of what a

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 124 of 236


                                                                 Page 123

1                                 MARK SHANKWEILER
2       potential particular claim would be,
3       that's what the arbitration would have to
4       do, is they would have to go out and
5       gather the information to come up with
6       what an assessed value of what a
7       particular grievance claim would be.
8               Q          And now at BRG, you would
9       rely on that value in estimating a value
10      for the grievance claim; is that right?
11              A          So ultimately, yes.                That's
12      the ultimate answer.               We would have to
13      rely on the employees of PREPA who had
14      been involved in doing this over the past
15      two decades and had the experience of
16      that in coming up with a particular value
17      of what that grievance came would be,
18      yes.
19              Q          Would BRG or another PREPA
20      advisor perform any sort of independent
21      assessment of that value?
22              A          Yes.
23              Q          How would they perform an
24      independent assessment?
25              A          So Diaz & Vazquez was

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 125 of 236


                                                                 Page 124

1                                 MARK SHANKWEILER
2       intricately involved in the process.                        And
3       so they were assisting PREPA employees in
4       just not necessarily capturing the actual
5       dollar values of those large or more
6       complex ones, but they were on the ground
7       in San Juan in PREPA's offices a day or
8       two, a week, whatever, and they would
9       review the process by which PREPA went
10      through.      I'm not sure if it was
11      everyone, but they provided -- they
12      provided oversight because as I may have
13      mentioned earlier, PREPA did retain or as
14      part of the retention of Diaz & Vazquez,
15      that was part of their charge, to help
16      resolve the UTIER claims.
17                         So there was -- I know that
18      Diaz & Vazquez employees did go through,
19      evaluate the claims that were provided,
20      make sure that they agreed with the CBA
21      provisions, that they were valid claims
22      under the CBA provisions.                    So it was a
23      concern.      It was a collaborative approach
24      to come up with what these claims should
25      be and the value of these claims should

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 126 of 236


                                                                 Page 125

1                                 MARK SHANKWEILER
2       be.
3               Q          Just going back to
4       Exhibit 4, the estimate table, the
5       estimated high value there is about
6       264 million?
7               A          Yes.
8               Q          What sort of uncertainties
9       is I think the word you've been using,
10      went into the high value of the grievance
11      claim?
12              A          So the grievance claims,
13      this actually represents -- there's
14      various components of the UTIER grievance
15      claims.      And what I was talking about was
16      only one -- I guess one section or one
17      group of the claims that Diaz & Vazquez
18      and PREPA was involved in evaluating.
19      There's another group of claims for the
20      UTIER group, which were essentially
21      developed by third-parties or by PREPA's
22      financial group, more the -- more what
23      you call the mechanical sort of -- the
24      mechanical sort of calculation of A minus
25      B equals C.        So the high value here

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 127 of 236


                                                                 Page 126

1                                 MARK SHANKWEILER
2       includes certain claims or components of
3       claims that were -- well, let me step
4       back.
5                          So the third-party claims or
6       the claims that were developed by PREPA,
7       which were the less complex ones, include
8       vacation license claims.                   They include
9       reemployment claims.               They include what
10      we call the Christmas bonus claims and
11      what they call Hiato, those types of
12      claims.      And each one of those claims was
13      developed by either a third-party in the
14      case of the vacation license claims
15      and/or PREPA.          And the claims that they
16      developed were necessary for purposes of
17      disclosure purposes for the financial
18      reporting purposes in their audited
19      financial statements.                And so we -- part
20      of this $264 million represents the
21      analysis that were performed by the
22      non-arbitration portion of PREPA, as well
23      as third-parties who were involved in
24      estimating these claims for financial
25      reporting purposes.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 128 of 236


                                                                 Page 127

1                                 MARK SHANKWEILER
2               Q          When you say there were
3       third-parties involved, you gave the
4       example of the vacation license claims?
5               A          Yes.
6               Q          Are you referring to Diaz &
7       Vazquez?
8               A          No.
9               Q          Or some other third-party?
10              A          No.      It would be another
11      third-party.
12              Q          Could you give an example of
13      who that third-party would be?
14              A          I believe it was Ankura.                   I
15      think they're the ones who did the
16      vacation license analysis.
17              Q          So another PREPA advisor
18      professional?
19              A          I believe they were
20      retained, yes, by PREPA.
21              Q          I'd like to talk about the
22      UTICE litigation claim, if I could.
23              A          Sure.
24              Q          Now, that claim, there's an
25      asserted value of 225 million?

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 129 of 236


                                                                  Page 128

1                                 MARK SHANKWEILER
2               A          Yes.
3               Q          Now, UTICE has a judgment
4       against PREPA already; is that right?
5               A          I don't know how to legally
6       define it.        But my understanding is that
7       an arbitration -- whether it was an
8       arbitration panel or a court, had found
9       that PREPA should have instructed
10      UTICE -- the UTICE union that it was
11      changing their health plan and secured
12      their approval and that because they
13      didn't secure the approval, it resulted
14      in a foot fault on the CBA.                        And that's
15      what gave rise to the
16      $224.9 million claim.
17              Q          That 224.9 million dollars,
18      PREPA has not been ordered to pay that to
19      UTICE, have they?
20              A          No; in fact, my
21      understanding of the arbitration is that
22      PREPA was responsible for paying the
23      difference between what the UTICE member
24      otherwise would have paid under the old
25      plan and had to pay under the new manner.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 130 of 236


                                                                 Page 129

1                                 MARK SHANKWEILER
2               Q          I think the disclosure
3       statement refers to that as compensating
4       the employees for a loss of benefits.
5       Does that sound familiar?
6               A          Yes.
7               Q          PREPA's position is that
8       this claim should be worth zero.                      Does
9       that sound right?
10                         MS. STAFFORD:               Objection,
11             form.
12              A          I think that -- I don't know
13      the answer to when you say PREPA.
14              Q          If we could just go back to
15      Exhibit 4, the UTICE litigation is on
16      line 5, estimated low value is zero.
17              A          Yes.
18              Q          What went into that
19      estimation?
20                         (Zoom distraction).
21              Q          What went into that
22      estimation, that estimation referring to
23      Exhibit 4, line 5, estimated low value of
24      zero?
25              A          So it was really, again,

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 131 of 236


                                                                 Page 130

1                                 MARK SHANKWEILER
2       based on our review, what we had
3       attempted to do is we did reach out to
4       UTICE to say, hey, listen, you know,
5       there's no way that we can at PREPA
6       evaluate what the lost benefits or what
7       you might have paid related to the
8       certain health care benefits that you
9       otherwise would have received, without
10      having some sort of support from the
11      actual UTICE members.                And without that
12      support since nobody provided any
13      support, we ascribed a value of zero on
14      the low side.
15              Q          And then on the high side of
16      line 5, it's the full value of the
17      asserted claim, 224.9 million?
18              A          Yup.
19              Q          How do you get to that as
20      being the high value?
21              A          I think we just included as
22      an estimate of what the high value would
23      be because it was asserted.
24              Q          Do you have any sense of the
25      likelihood that that claim will

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 132 of 236


                                                                 Page 131

1                                 MARK SHANKWEILER
2       ultimately be allowed in that amount,
3       224.9 million?
4               A          Well, I'm not an attorney.
5       But if I had to put my money on it, I
6       would bet that it would not be ever
7       allowed, $225 million, because there's no
8       basis for that claim.                And at that value
9       was really essentially -- it was
10      essentially --
11                         (Zoom distraction)
12              A          Could you start back again?
13              Q          Yes.
14                         The last question was, do
15      you have any sense of the likelihood that
16      the claim will ultimately be allowed in
17      that amount, 224.$9 million?
18              A          Yeah.       And I think my answer
19      was that based on the support that they
20      provided for that claim, I think it would
21      be highly unlikely.              But I'm not an
22      attorney.       So I don't have a legal view
23      of that.
24                         And I think what I was
25      saying that if you go to the actual proof

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 133 of 236


                                                                 Page 132

1                                 MARK SHANKWEILER
2       of claim, this claim essentially
3       represents the savings that PREPA enjoyed
4       when they switched from one plan to
5       another plan.          So that's the -- my
6       personal opinion.
7               Q          And I think before the
8       distraction, you said that there's no
9       basis for that claim being 2 --
10      approximately $225 million?
11              A          Well, there is a basis.                  But
12      whether it's a valid basis or not, we
13      would argue that there is no -- that
14      amount is not -- it's not a valid basis
15      for a claim against PREPA.
16              Q          The adjusted estimated value
17      that you came up with is $11.2 million?
18              A          Yes.
19              Q          What went into that
20      $11.2 million estimation?
21              A          So what we did is we worked
22      with PREPA and their advisors to get
23      support, any support that might be
24      available to come up with what a
25      potential claim might be.                    One of

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 134 of 236


                                                                 Page 133

1                                 MARK SHANKWEILER
2       those -- one of the obvious questions,
3       well, how many UTICE employees were there
4       in the 2008, 2009 time frame?                      And the
5       answer was that there were about 500
6       employees.        And we then, based on the
7       information that had been provided to us,
8       evaluate the changes in the plan and
9       understand the potential magnitude.                        Just
10      based on without looking at numbers,
11      because we didn't have any numbers to
12      look at, but we did have a comparison of
13      the -- of the health benefit provisions
14      or components, we then decided to, well,
15      if there is -- if there are claims that
16      could potentially come in from all 500 of
17      these employees, what would that
18      amount -- what would be a reasonable
19      amount to include in the plan as a
20      potential cushion for these types of
21      claims.
22                         So we looked at I think the
23      $11 million here that's included is --
24      translates into about 22 or $23,000 per
25      employee or per UTICE member.                      And so we

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 135 of 236


                                                                 Page 134

1                                 MARK SHANKWEILER
2       felt that that was, you know, sufficient
3       cushion to provide for any claim amount
4       that might arise from any UTICE member
5       who would assert this.
6                          But, again, when we asked
7       for specifics and for support for the
8       $224.9 million claim or any claim, they
9       didn't provide any estimates.                      So that's
10      what we did to make sure that we had a
11      cushion.
12              Q          I want to talk about the
13      PREPA employee claims.
14              A          Yes.
15              Q          On Exhibit 4, that's line 6
16      with the asserted value of
17      14.834 million.
18              A          Yes.
19              Q          Now, what kind of claims are
20      these?
21              A          There's a bunch of different
22      categories of claims that are included in
23      this number.         Among other things, it
24      would be managerial sort of complaints.
25      It would include certain Christmas

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 136 of 236


                                                                  Page 135

1                                 MARK SHANKWEILER
2       bonuses.       It would include vacation
3       license type of claims.                  It would include
4       promotional sort of issues.                        Those are
5       the types of claims that are included.
6               Q          Are these claims duplicative
7       of the UTICE claims?
8               A          We did an analysis to see if
9       there were any duplicative claims.                        We
10      didn't identify any duplicative claims or
11      maybe 50, less than 50.                  And I think we
12      would have at least identified those for
13      objection, if we haven't objected to
14      them.       But, again, it's very few.
15              Q          What percentage of the total
16      amount of employee claims would that 50
17      be?
18              A          I think it would be less
19      than 1 percent.
20              Q          The adjusted estimated value
21      of these employee claims is, it's about
22      $9 million, a little less than
23      $9 million; is that right?
24              A          Yes.
25              Q          How did you get to

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 137 of 236


                                                                 Page 136

1                                 MARK SHANKWEILER
2       estimating these claims at $9 million?
3               A          In this instance, it looks
4       as though due to uncertainties with
5       ultimately how some of these claims might
6       be resolved, we -- looks like we took a
7       midpoint between the low and the high
8       estimates.
9               Q          What went into ascribing
10      value to these claims?
11                         MS. STAFFORD:               Objection,
12             form.
13              A          So on the low end of the --
14      on the low end of the -- on the estimated
15      low value, we would have included what
16      the asserted amount of particular claims
17      are for a small subset of the total -- of
18      all the employee categories that are up
19      at the 14.8 million.               And the analysis --
20      those claims are really based on what
21      their -- for any claims that have been
22      asserted, which we haven't identified for
23      objection, which employee claims could be
24      objected to for certain reasons such as
25      if there's Puerto Rican laws that would

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 138 of 236


                                                                 Page 137

1                                 MARK SHANKWEILER
2       prohibit the payment of certain vacation
3       licenses or Christmas bonuses or things
4       like that.
5                          So when we looked at the
6       actual claims, at least for the low
7       amount here, the $2.5 million, is we're
8       including the asserted amount until
9       further analysis can be done by the HR
10      department to determine whether that's
11      actually going to be a valid claim.                        But
12      that's the general nature of that.                       And
13      it's pretty -- doesn't really impact the
14      overall bucket of claim value in any
15      event.
16              Q          I'd like to switch topics
17      just a little bit.
18                         I'd like to discuss the
19      inverse condemnation and eminent domain
20      claims that the plan provides for.                       Are
21      you familiar with that estimation?
22              A          I am.
23              Q          Now, the disclosure
24      statement lists the estimated allowed
25      claim at $2.4 million.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 139 of 236


                                                                 Page 138

1                                 MARK SHANKWEILER
2               A          Okay.
3               Q          Does that sound right?
4               A          I believe that was included
5       in the section of the claims estimation
6       and the disclosure statement.                      It sounds
7       about right.
8               Q          Were you or was BRG involved
9       in that estimation?
10              A          Yes.
11              Q          How many claims comprise the
12      inverse condemnation, eminent domain
13      class of claims?
14              A          So the actual proofs of
15      claims that were filed that were
16      categorized as expropriation and inverse
17      condemnation claims were approximately 20
18      claims.
19              Q          What was the aggregate
20      asserted value of those claims, ballpark?
21              A          I think that would be about
22      the $20 million.
23              Q          So how was the
24      $2.4 million number reached?
25              A          So when we started our

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 140 of 236


                                                                 Page 139

1                                 MARK SHANKWEILER
2       analysis of these expropriation claims,
3       we worked with Diaz & Vazquez to get
4       insights as to the types of -- what the
5       claims are, what they're comprised of and
6       what the -- again, what are the
7       components of the claim, what Puerto Rico
8       Law would really view as a valid
9       expropriation claim and trying to
10      understand how to come up with a true
11      value of what these claims might be.
12              Q          Similar to the general
13      unsecured claims, did you come up with an
14      estimated low value and an estimated high
15      value?
16              A          I think what we did here is
17      we worked with Diaz & Vazquez, again to
18      understand the components of the claim as
19      an example.        Certain of the claims can be
20      divided into, let's call it, true takings
21      claim and then damages associated with
22      the takings claim.             In certain
23      circumstances, the claims themselves were
24      what I'll call -- this is a term I
25      learned -- was extrajudicial claims which

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 141 of 236


                                                                 Page 140

1                                 MARK SHANKWEILER
2       means that they weren't filed in the
3       expropriation court.               So the low value
4       here, based on -- based on our work with
5       Diaz & Vazquez, based on there looking at
6       the actual files and identifying whether
7       or not that was a true takings claim,
8       they -- that's how we came up with what
9       the -- that $2 million value was at the
10      time that we were evaluating that, what
11      we had isolated in those claims, in the
12      documents that Diaz & Vazquez looked at
13      for us.      That's what the true taking
14      claim portion was.
15                         Then for the other claims or
16      for up to the $20 million, that would
17      have been claims that were asserted in
18      their proof of claim that weren't
19      necessarily substantiated through a true
20      taking claim and were subject to dispute.
21              Q          The plan also provides for
22      the payment of federal claims?
23              A          It does.
24              Q          Was BRG involved in
25      estimating the amount of federal claims

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 142 of 236


                                                                 Page 141

1                                 MARK SHANKWEILER
2       asserted against PREPA?
3               A          BRG was involved in
4       evaluating the claims and speaking with
5       attorneys who are involved in reviewing
6       those claims and potentially litigating,
7       disputing those claims.
8               Q          Do you know what the
9       aggregate total asserted amount of
10      federal claims against PREPA is?
11              A          If I can refer to this, I
12      believe it was -- where is it?                      I think
13      it's around 16 million.                   I've just got to
14      look at it.        Oh.      It's not here because
15      it's not a general unsecured claim.                        My
16      recollection, if we go to the disclosure
17      statement, I think it was around 16 to
18      $17 million, is my recollection.
19              Q          And in the disclosure
20      statement, I'll just represent that the
21      estimated allowed claim is $16.8 million.
22              A          Very close.
23              Q          Now, what types of claims
24      are in the federal claims class?
25              A          So these are three proofs of

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 143 of 236


                                                                 Page 142

1                                 MARK SHANKWEILER
2       claim that were filed by the IRS.                      And
3       the IRS filed these claims related to
4       certain payments that they made on
5       certain bond series that they were
6       responsible for paying a portion of the
7       interest.       And I think it was Build
8       America bonds or something like that.                         I
9       can't remember the specific name of it.
10      But it represents payments that were made
11      by the IRS associated with certain bond
12      series.
13              Q          Are you aware of whether
14      these three proofs of claim by the IRS
15      are entitled to be paid in full?
16                         MS. STAFFORD:               Objection,
17             legal conclusion.
18              A          I don't know the answer to
19      whether or not they're entitled to be
20      paid in full.
21              Q          Fair enough.
22                         Do you know if any of these
23      federal claims are disputed?
24              A          My understanding is that
25      they are disputed, similar to -- just

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 144 of 236


                                                                 Page 143

1                                 MARK SHANKWEILER
2       like the similar claims that have been
3       filed in other Title III entities.
4               Q          So the $16.8 million, that's
5       the estimated allowed claim.
6                          Do you anticipate that that
7       is the amount that will ultimately be
8       allowed on account of these federal
9       claims?
10              A          I don't know what the
11      ultimate allowed amount will be.
12              Q          Are there any uncertainties
13      associated with these federal claims like
14      we have talked about with other classes
15      of claims?
16              A          I know what the asserted
17      amount was.        I think it's pretty
18      specific.       I know that there's a process
19      that is ongoing with -- and I don't
20      recall which law firm it is -- in
21      negotiating with the IRS to resolve this
22      claim.
23              Q          Just give me one moment.
24      And hopefully, I'll be almost done soon.
25                         Are you aware of who the

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 145 of 236


                                                                 Page 144

1                                 MARK SHANKWEILER
2       fuel line lenders are?
3               A          Generally, yes.
4               Q          Who are they?
5               A          Well, they're a group of
6       claimants who provided loans to PREPA for
7       the purchase of fuel.
8               Q          Do you know how they're
9       classified under the proposed plan of
10      adjustment?
11              A          I know they're not general
12      unsecured claims.            I don't recall whether
13      they're secured claims or priority
14      claims.      I just can't recall.                  So they're
15      either secured or priority, but I know
16      they're not general unsecured claims.
17              Q          Do you know why they're not
18      general unsecured claims?
19                         MS. STAFFORD:               Objection,
20             legal conclusion.
21              A          I know that there was a
22      negotiation and a settlement reached.                         I
23      don't know why specifically, they're not
24      determined to be unsecured claims.                       But I
25      know that -- well, I believe that they've

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 146 of 236


                                                                 Page 145

1                                 MARK SHANKWEILER
2       always asserted that they were a secured
3       claim.
4               Q          Did BRG ever perform an
5       estimation of the fuel line lenders'
6       claims?
7               A          I know we looked at the fuel
8       line lenders' claims and looked at what
9       their asserted claim was.                    But whether we
10      provided an estimation of that or not, I
11      think we looked at it and understand what
12      their claims were.             So I think their
13      asserted claims were based on the moneys
14      that they had actually advanced.
15              Q          Do you recall if the fuel
16      line lenders' claims was a current
17      expense claim?
18                         MS. STAFFORD:               Objection,
19             legal conclusion.
20              A          I believe they were one of
21      the only claimants that actually asserted
22      a current expense claim, if I remember
23      correctly.
24                         MR. KELLY:            Can we go off
25             the record?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 147 of 236


                                                                 Page 146

1                                 MARK SHANKWEILER
2                          THE VIDEOGRAPHER:               Off the
3              record at 12:54.            This marks the end
4              of Media Unit No. 2.
5                          (A lunch recess was taken.)
6                          THE VIDEOGRAPHER:               We are on
7              the record at 13:46.                This begins
8              Media Unit No. 3.             Please proceed.
9               Q          Mr. Shankweiler, before we
10      went off the record for lunch, we were
11      talking a little bit about the fuel line
12      lenders.      Do you recall that?
13              A          I do.
14              Q          I had asked if PREPA or the
15      board or Proskauer had ever asked you to
16      assess the fuel line lenders' claim.
17              A          Yes.      I recall that
18      question.
19              Q          You said that we looked at
20      it and understand what their claims were.
21                         What do you mean you looked
22      at the fuel line lenders' claims?
23              A          Well, I know that they
24      asserted a claim for approximately
25      $700 million which my understanding is

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 148 of 236


                                                                 Page 147

1                                 MARK SHANKWEILER
2       the principal amount of it.                        We looked at
3       the interest.          I believe that was
4       included.       And so we looked at the
5       documents and were able to confirm the
6       amount or to calculate the amount of the
7       claim that they had asserted based on
8       those documents.
9               Q          Were the fuel line lenders'
10      claims included in your estimation of the
11      general unsecured claims asserted against
12      PREPA?
13              A          I don't recall if they were
14      specifically included in general
15      unsecured claims.            I don't recall.              I
16      just know that they're not there now.                          So
17      they may have been at one time.                        But I
18      don't recall.
19              Q          Were the fuel line lenders'
20      claims ever included in a draft of
21      Deposition Exhibit 4 that's Exhibit O to
22      the disclosure statement?
23              A          I don't recall.
24              Q          Now, before we went off the
25      record, you said that the fuel line

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 149 of 236


                                                                 Page 148

1                                 MARK SHANKWEILER
2       lenders were the only parties to assert
3       current expense claims.
4               A          Based on my understanding
5       and our review.
6               Q          So you're saying that you're
7       not aware of any other creditors of PREPA
8       that have asserted they hold current
9       expense claims?
10              A          We reviewed the proofs of
11      claim that were filed.                 We reviewed the
12      supplemental disclosures or the
13      supplemental exhibits that were filed
14      along with the proof of claims.                     And we
15      didn't identify any other claimants that
16      had actually asserted a current expense
17      claim, other than the fuel line lenders.
18              Q          So to the best of your
19      knowledge, there have been no other
20      current expense claims asserted against
21      PREPA?
22              A          To the best of my knowledge.
23              Q          Has BRG undertaken any
24      analysis to determine if there will be
25      current expense claims asserted in the

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 150 of 236


                                                                 Page 149

1                                 MARK SHANKWEILER
2       future?
3                          MS. STAFFORD:               Objection,
4              legal conclusion.
5               A          We weren't asked to do that
6       analysis.
7               Q          And at the beginning of your
8       deposition, Mr. Despins explained that
9       you were also the board's 30(b)(6)
10      designee.       Do you recall that?
11              A          Yes.
12              Q          I just want to stop and note
13      for the record that the bondholder
14      parties didn't receive notice that you
15      had been designated as the board's
16      30(b)(6).
17                         But as the board's 30(b)(6),
18      are you aware of the board conducting any
19      analysis to determine whether additional
20      current expense claims will be asserted
21      against PREPA?
22              A          I'm not aware of any
23      analysis that has been conducted.
24              Q          Are you aware of any claims
25      against PREPA that have been asserted by

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 151 of 236


                                                                 Page 150

1                                 MARK SHANKWEILER
2       other governmental entities?
3               A          Yes.
4               Q          And let me specify.
5       Government entities of Puerto Rico.
6               A          I assume that's what you
7       meant, yes, is the answer.
8               Q          I was clarifying for my
9       mistake of not clarifying, but thank you.
10              A          I trusted you.
11              Q          Do you know the aggregate
12      amount of those claims?
13              A          So the aggregate amount of
14      the other governmental claims, they have
15      I believe -- if I can refer to --
16              Q          Yeah.       I'm not sure it's on
17      there.      But take a look.
18              A          It's probably not, no.                  It's
19      not.
20              Q          Just a ballpark is fine.
21              A          So I know that there were
22      six claims that were filed by
23      municipalities, which I considered a
24      government agency, only because it's a
25      municipality.          And my recollection is

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 152 of 236


                                                                 Page 151

1                                 MARK SHANKWEILER
2       that those claims that were filed, those
3       were CILT claims.            The CILT claims that
4       were asserted by these six were -- my
5       recollection is maybe in the $150 million
6       range, if not more.              But the other
7       governmental agency claim that was filed
8       against PREPA was filed by PRASA.                      And
9       that claim relates to a certain claims
10      for -- it's their water company.
11                         So there were certain claims
12      that were raised related to the amounts
13      that PREPA owed them under a water
14      contract, or to the best of my knowledge,
15      that's what it was related to.
16              Q          So to the best of your
17      knowledge, there's about 150 million in
18      CILT claims, plus the PRASA claim?
19              A          Yes.      That's the best of my
20      knowledge for the government claims.
21              Q          I won't hold you to any
22      numbers.
23              A          Thank you.
24              Q          Do you know if PREPA has
25      claims against any of these entities, the

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 153 of 236


                                                                 Page 152

1                                 MARK SHANKWEILER
2       CILT entities or PRASA?
3               A          My understanding is that on
4       PRASA claim, that there was -- there
5       was -- I don't know if it was a claim.
6       But there was a dispute with regard to
7       the level of claim that -- or whether
8       there could be potential of any offsets
9       to the claim that PRASA was asserting.
10              Q          You're not aware of any
11      similar offsets related to the CILT
12      claims?
13              A          As it relates to the CILT
14      claims, my understanding is that there
15      are -- essentially, it's really an offset
16      of obligations that PREPA would owe to
17      that municipality for taxes.                       And they
18      would -- it was in lieu of the taxes they
19      would provide them with electricity.                          And
20      so that's like an offset.                    It's a claim
21      against, you know...
22                         MR. KELLY:            Mr. Shankweiler,
23             I think that's it for me.                    Thank you
24             for your time.          I'll pass the
25             witness.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 154 of 236


                                                                     Page 153

1                                 MARK SHANKWEILER
2        EXAMINATION BY
3        MS. TOMIC:
4               Q          Good afternoon.                  It's Jane
5       Tomic from Kramer.             Hi, Mr. Shankweiler.
6       I just have a couple of follow-up
7       questions from earlier today.                        Mr. Kelly
8       was just talking about offsets.                        So I'll
9       start there.
10                         Are you aware of any other
11      categories of claims or specific claims
12      that you looked at that would potentially
13      be paid through offsets?
14                         MS. STAFFORD:               Objection,
15             form.
16              A          So other than the process is
17      a claim, which I believe was reduced, and
18      the CILT claims, which my understanding
19      is that the current CILT claims, those
20      all represent post-petition obligations
21      in that there are no existing or
22      remaining pre-petition obligations
23      related to the CILT claims.                        I'm not
24      aware of any other claims as I sit here
25      today that would be paid via offset.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 155 of 236


                                                                 Page 154

1                                 MARK SHANKWEILER
2               Q          So switching gears a little
3       bit, earlier this morning, one of the
4       first things that you were asked about by
5       Mr. Despins was the PPOA claims and
6       specifically, the lost revenue component
7       of those claims?
8               A          Yes.
9               Q          And there was a discussion
10      about the validity of those claims.                        And
11      I believe you gave two numbers.                     My
12      understanding of your testimony was that
13      these were numbers that discounted the
14      estimate based on the likelihood of
15      success for litigation of the lost
16      revenue claims; is that correct?
17              A          I think you said it better
18      than I did, but yes.
19              Q          So those two numbers I
20      believe were a 30 percent number and a 0
21      number.      And if we could pull up
22      Exhibit 4, page 3, it might help a little
23      bit.
24                         So I just wanted to go back
25      and clarify what you meant by these two

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 156 of 236


                                                                 Page 155

1                                 MARK SHANKWEILER
2       numbers to make sure that it was clear on
3       the record.
4                          So you said -- I believe you
5       said on the low end, you applied a zero
6       for these, the lost revenue component.
7       So does that mean that on this chart, the
8       estimated value low for line 1, that
9       reflects zero for the claims for the lost
10      revenue component?
11              A          The $65.6 million number in
12      the low estimate, I believe that's
13      correct.      That would include zero dollars
14      for any lost revenue components of the
15      claim.
16              Q          And then you also talked
17      about 30 percent and said that we
18      provided a high amount or a higher amount
19      of 30 percent and referred to it as a
20      cushion.      And I just wanted to clarify.
21                         Is that 30 percent reflected
22      in the estimated value high column or the
23      adjusted estimated value column?
24              A          So that would have been
25      included in our high estimate, the

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 157 of 236


                                                                 Page 156

1                                 MARK SHANKWEILER
2       30 percent there as a high estimate of
3       what that claim would potentially be --
4       what a valid claim would be worth.
5               Q          So that would have been
6       30 percent of the total of those lost
7       revenue claims --
8               A          Correct.
9               Q          -- was included?
10              A          Yes.
11              Q          So effectively, it was
12      discounted?        The lost revenue component
13      was discounted 70 percent; is that
14      accurate?
15              A          Correct, in the highest
16      amount.
17              Q          In the highest amount, yes.
18                         And then what was that
19      number or what was the number used in the
20      adjusted estimated value for the lost
21      revenue component claim?
22              A          In that case, it would be
23      the midpoint for that particular portion
24      of those claims.
25              Q          So in between 0 and

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 158 of 236


                                                                 Page 157

1                                 MARK SHANKWEILER
2       30 percent?
3               A          In between 0 and 30 percent.
4                          MS. STAFFORD:               I just want
5              to remind you to let her finish
6              asking the question before you start
7              answering.
8                          THE WITNESS:              Noted.
9               Q          And then for any of these
10      other categories of claims, so we have
11      the -- on the exhibit, we have other
12      categories of the general unsecured
13      claims, and they're numbered 1 through
14      12.
15                         And my question is, did you
16      apply any percent discount based on an
17      analysis of the validity of claims in a
18      similar way to what we just talked about
19      with the PPOA and lost revenues to any
20      other category of claim?
21                         MS. STAFFORD:               Objection,
22             form.
23              A          So if you look at line 4,
24      litigation with Vitol, there were
25      approximately 200 litigation claims.                        And

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 159 of 236


                                                                 Page 158

1                                 MARK SHANKWEILER
2       to the extent that we didn't provide a
3       specific value based on our review of the
4       values that were provided for those
5       claims by Diaz & Vazquez as they
6       evaluated them for either transfer to ADR
7       or for estimation of the claims or that
8       they simply hadn't gotten the files as
9       the time of this report to evaluate based
10      on our review -- based on our review, we
11      assigned a value, or we risk assessed
12      some of the litigation claims that hadn't
13      been specifically provided a value by
14      D&V.        We assigned a risk adjustment, so
15      that we would -- we reduced the claim by
16      90 percent to come up with a 10 percent
17      value for those remaining claims,
18      litigation claims.
19              Q          And how did you come up with
20      the 90 percent number?
21              A          There were a number of ways.
22      We looked at the types of litigation
23      claims.        We looked at what the
24      estimates -- what the ultimate settlement
25      amounts were based on the work that Diaz

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 160 of 236


                                                                 Page 159

1                                 MARK SHANKWEILER
2       & Vazquez had done for similar claims and
3       in certain -- for certain claims, just
4       understanding the nature of the claim and
5       wanting to ensure that there were --
6       there was going to be sufficient cushion
7       in the estimate to the extent that these
8       claims, which hadn't been resolved yet,
9       were actually provided some value.
10              Q          So to clarify, you reduced
11      the claim by 90 percent to come up with a
12      10 percent value for the remaining
13      litigation claims.
14                         When you're talking about
15      this reduction, are you talking about in
16      a specific column on this table where
17      that's reflected?            Was that across the
18      board in all three of these?
19              A          So, again, we have a list of
20      all the litigation claims.                     And we
21      identify those, which were actually --
22      those actually came up with, that
23      settlement values were provided that --
24      the settlement values were transferred to
25      ADR estimates which were provided based

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 161 of 236


                                                                 Page 160

1                                 MARK SHANKWEILER
2       on analysis performed by D&V and reviewed
3       by us.
4                          So to the extent that there
5       were any remaining claims, we assigned a
6       value to those, and I think at the end of
7       the day, there may have been 35 to 40
8       claims that hadn't at this point been
9       provided a value.            And so for those --
10      for those -- when I say hadn't been
11      provided a value, they hadn't been
12      reviewed and memos prepared by D&V.                        We
13      assigned a value for the adjusted
14      estimated value of 10 percent for
15      those -- that population of litigation
16      claims.
17              Q          Turning back just briefly to
18      the PPOA claims and the lost revenue
19      component, earlier today, you had
20      testified that in conversations with Diaz
21      & Vazquez, you were told that Puerto Rico
22      Law would not recognize the valid claim
23      for lost profits, and you also talked
24      about the PPOA contracts not permitting a
25      claim for lost profits in connection with

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 162 of 236


                                                                 Page 161

1                                 MARK SHANKWEILER
2       the decision to discount the estimate
3       based on the likelihood of success in
4       litigation for the lost revenue
5       component.
6                          Were the specific
7       percentages -- were there specific
8       percentages given to you -- I guess how
9       were those percentage -- more
10      specifically, how were those
11      percentages -- how did you come up with
12      those percentages?
13                         MS. STAFFORD:               Objection,
14             form.
15              A          So, again, understanding and
16      the guidance I was provided by both Diaz
17      & Vazquez, as well as Proskauer, related
18      to that category of the claim or that
19      component of the claim, we used -- we
20      looked at what we felt a reasonable value
21      would be, so that 30 percent was
22      judgmental, and in reviewing the level --
23      just based on -- based on the information
24      that we had, we felt that a 30 percent --
25      a 30 percent risk factor would be

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 163 of 236


                                                                 Page 162

1                                 MARK SHANKWEILER
2       appropriate based on the size of the
3       claims and based on our understanding
4       that these are not valid claims, either
5       contractually or in the court, in the
6       Puerto Rican courts, just to provide
7       sufficient cushion.
8               Q          And when you're saying we in
9       that answer, we made a judgment call, who
10      is the we you're referring to
11      specifically?
12              A          That was -- that was -- you
13      know, we came up with a value.                     And it
14      was including the conversations,
15      including my team and included
16      conversations with Proskauer.
17              Q          So was the actual percentage
18      something that BRG came up with based on
19      the information and conversations or was
20      that percentage given to BRG?
21                         MS. STAFFORD:               Objection,
22             form.
23              A          I think it was a consensus
24      as to -- you know, we came up with a --
25      we came up with an estimate that we

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 164 of 236


                                                                 Page 163

1                                 MARK SHANKWEILER
2       thought was reasonable based on our
3       conversations.
4               Q          So to clarify, when you're
5       saying we there, you're referring to?
6               A          BRG.
7               Q          Not just BRG or just BRG?
8               A          Well, I think that would
9       have been the group, I mean the group,
10      the consensus that came up with regarding
11      a 30 percent value based on what we had
12      discussed before, the likelihood of
13      success in asserting a lost profits
14      claim, but yet wanting to be conservative
15      enough to ensure that since these may or
16      may not still be contested and disputed
17      in the event that a court would find that
18      it would be a valid claim or potentially
19      a valid claim for lost profits, that we
20      would have sufficient reserve in the
21      claim estimate amount to account for that
22      uncertainty.
23              Q          And you mentioned wanting to
24      be conservative.
25                         So in your view, were those

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 165 of 236


                                                                 Page 164

1                                 MARK SHANKWEILER
2       percentages, the adjusted estimated
3       value -- sorry.
4                          In your view, was the
5       30 percent cushion that you described a
6       conservative cushion?
7               A          Without really -- I don't
8       know ultimately what a court would find
9       if these types of claims go into
10      litigation.        Whether it's conservative --
11      I don't know how to define conservative.
12      It's sort of like subjective; right?                        I
13      thought it was an appropriate number to
14      provide a reserve for any uncertainties
15      related to what could potentially happen
16      in court.
17              Q          Can you describe a little
18      bit about how why you thought it was an
19      appropriate number?
20              A          One of the cases that we
21      reviewed when it comes to the PPOA that
22      had lost revenue components was a KDC
23      case, KDC, which had -- which was a
24      master PPOA that was in arbitration.                        So
25      that informed our opinion.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 166 of 236


                                                                 Page 165

1                                 MARK SHANKWEILER
2                          And the result of that
3       arbitration award, they disallowed -- the
4       award that was allowed in the
5       arbitration, this disallowed any claim
6       related to the lost profits portion of
7       the claim that KDC had against PREPA.                         So
8       that's really -- that was the case that
9       we read.      And that case is actually filed
10      in -- against PREPA.
11                         And based on our discussions
12      with the attorneys at PREPA, we felt that
13      was an appropriate level, not too high,
14      not too low, but it felt that would be a
15      sufficient cushion to allow for potential
16      adverse rulings.
17              Q          In connection with the
18      claims estimation work BRG was doing, was
19      BRG asked to discount any claims back to
20      present value?
21              A          Could you repeat the
22      question, please?
23              Q          So in connection with the
24      claims estimation work BRG was doing, was
25      BRG asked to discount any claims back to

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 167 of 236


                                                                 Page 166

1                                 MARK SHANKWEILER
2       present value?           I could give you an
3       example of what I mean if it's not clear.
4               A          So I understand your
5       question.
6                          No.      We weren't asked to
7       present value any claims or present value
8       any of the claims.
9               Q          I'm going to ask a little
10      bit more specifically here too, just for
11      the record.
12                         So we were talking about
13      lost revenue, the lost revenue component
14      of the PPOA claims.               And it's my
15      understanding that those claims are
16      paid -- are like future payment claims.
17      Do you understand what I mean by that?
18                         MS. STAFFORD:                Objection to
19             form.
20              A          I do.
21              Q          And how would you describe
22      like a future payment claim, how I just
23      used it?
24                         MS. STAFFORD:                Objection,
25             form.

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 168 of 236


                                                                 Page 167

1                                 MARK SHANKWEILER
2               A          So when you -- when we
3       reviewed the proofs of claim that were
4       filed by the PPOA claimants, their lost
5       revenue portion of the claim oftentimes
6       included a schedule of what their
7       potential revenues would be as they go
8       out 20 or 25 years, whatever the initial
9       term of that contract would be.                     And then
10      my recollection is that oftentimes, in
11      certain circumstances, the claim that was
12      provided, I believe they may have
13      discounted it back to present value.
14              Q          So when you say they may
15      have discounted back to present value,
16      who is the they?
17              A          So by they, I meant the
18      claimant.
19              Q          The claimant.
20                         So on the actual proof of
21      claim that they submitted, that the
22      claimant submitted, you believe there may
23      have been present value discounts created
24      there?
25              A          My recollection is that

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 169 of 236


                                                                 Page 168

1                                 MARK SHANKWEILER
2       certain of the claims may have provided a
3       present value discount.
4               Q          And was that something that
5       was clearly evident from the proof of
6       claim, like it was stated on the proof of
7       claim that that was done?
8               A          I don't recall the specific
9       verbiage.       But if you were to analyze the
10      actual proof of claim and look at the
11      calculation of the lost profits, I
12      believe at least in one instance, there
13      was a calculation where they calculated a
14      present value of the future revenue
15      streams that they were expecting under
16      that contract.
17              Q          And did BRG conduct any
18      analysis to see how many of the lost
19      profit claims on the proof of claims
20      documents did that type of analysis?
21                         MS. STAFFORD:               Objection,
22             form.
23              A          I don't think we
24      specifically looked at that to like come
25      up with a number or what this number did.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 170 of 236


                                                                 Page 169

1                                 MARK SHANKWEILER
2       But in our review of the lost profits
3       component of the claim, my recollection
4       is that that is what they otherwise would
5       have employed, that technique or that
6       calculation.
7               Q          And if that calculation was
8       present on a proof of claim that was
9       submitted and BRG was analyzing, the
10      number that you then inputted into your
11      estimation for the lost revenue
12      component, did you use the value that was
13      discounted for present value or did you
14      use the claim before it was discounted
15      for present value?
16                         MS. STAFFORD:               Objection,
17             form.
18              A          So the amounts that were
19      asserted, we will have looked -- we
20      looked at the -- we would have looked at
21      or included in our analysis, the 0 to
22      30 percent of the lost profit claim that
23      they had asserted.
24              Q          So just to clarify to make
25      sure I'm understanding, so BRG didn't

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 171 of 236


                                                                 Page 170

1                                 MARK SHANKWEILER
2       conduct any analysis to calculate or to
3       discount a lost revenue claim component
4       of the PPOA claims back to present value;
5       is that correct?
6                          MS. STAFFORD:               Objection,
7              form.
8               A          That's correct.
9               Q          And you testified that some
10      of the proof of claims that were
11      submitted had -- or at least one of the
12      proof of claims that was submitted had
13      done an analysis where the claimant had
14      calculated the value of the lost revenue
15      component back to present value?
16              A          That's my recollection, that
17      the claimant would have included a
18      present value calculation.
19              Q          And then when BRG was
20      looking at the total amount for the lost
21      revenue component of claims in the -- in
22      its estimation, my question that I'm not
23      sure I understood the answer to earlier
24      was -- and it definitely was my fault for
25      not asking clearly -- is, would BRG have

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 172 of 236


                                                                  Page 171

1                                 MARK SHANKWEILER
2       or do you remember if BRG would have used
3       the proof of claims calculation that
4       discounted for present value in its -- in
5       BRG's estimation?
6                          MS. STAFFORD:               Objection,
7              form.
8               A          Yes.      We would have used the
9       discounted value, so long as that is a
10      component of the total asserted value,
11      yes.
12              Q          And you remember
13      specifically, there was just one proof of
14      claim, a discount of that nature that
15      discounted back to present value?
16                         MS. STAFFORD:               Objection to
17             form, asked and answered.
18              A          I believe so.               I mean I
19      think there may have been more.                       But I
20      just can't recall the exact.                       Going back,
21      you know, when we initially looked at
22      these, my recollection is that they did
23      oftentimes have those -- have those
24      discounted future cash flows in deriving
25      the number.        I just can't remember

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 173 of 236


                                                                 Page 172

1                                 MARK SHANKWEILER
2       specifically, you know, which ones.
3               Q          Do you believe that it was
4       reasonable to not discount the lost
5       revenue claims back to present value?
6                          MS. STAFFORD:               Objection,
7              form.
8               A          So yes.         In any claims
9       estimation as of the current day, you
10      would not be able to, you know, assume --
11      you would have to discount any -- you
12      would have to discount it back for
13      reasonable value of the claim.
14              Q          So you said an estimation of
15      the current day, you would not be able to
16      assume, you would have to discount it
17      back for reasonable value of the claim.
18                         Do you know why in this
19      case, you didn't or BRG didn't discount
20      for present value with respect to the
21      lost profit component of the PPOA claims?
22                         MS. STAFFORD:               Objection to
23             form.
24              A          So our -- there's no
25      specific reason.            I think, as I sit here

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 174 of 236


                                                                 Page 173

1                                 MARK SHANKWEILER
2       today, that the claims are -- our view is
3       that the, you know, claims based on our
4       advice that for the lost profit claims
5       are, you know, not valid claims.
6                          So to the extent that they
7       are valid claims, we assigned at the high
8       end, 30 percent as a cushion.                      We didn't
9       specifically go through and determine
10      whether or not, or we didn't specifically
11      go through and recalculate the lost
12      profits portion, applying what we felt a
13      reasonable discount factor should be.
14                         But what we did do is we
15      provided a range of claims that should --
16      depending on ultimately what the outcome
17      of any potential litigation would be
18      would capture a value that would provide
19      a sufficient cushion to establish a claim
20      value.
21              Q          And was that determination
22      that you just described where the
23      30 percent discount would capture any
24      present value discount a decision that
25      BRG made as part of its analysis and

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 175 of 236


                                                                 Page 174

1                                 MARK SHANKWEILER
2       estimation?
3                            MS. STAFFORD:             Objection,
4              form.
5               A            So I mean we came up with a
6       range that we thought was a reasonable
7       value of potential -- potential exposure
8       or a potential obligation -- potential
9       claim that might come up without -- and
10      we didn't really specifically consider
11      the present valuing of a -- of a claim
12      for lost profits for a project.                     That was
13      never even approved and got off the
14      ground or even developed.                    So I don't
15      know if I answered your question.
16              Q            That answered it.             Thank
17      you.        Sorry.    I'm just taking a look at
18      my notes briefly.
19                           Earlier, we were discussing
20      future claims.
21                           Are you aware of any other
22      claims besides the -- that you analyzed
23      in connection with the claims estimation
24      that are also future claims --
25                           MS. STAFFORD:             Objection to

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 176 of 236


                                                                 Page 175

1                                 MARK SHANKWEILER
2              form.
3               Q          -- as we were discussing the
4       term earlier?
5               A          Could you define future
6       claims again, make sure that I understand
7       your question?
8               Q          Yes.
9                          So with respect to, for
10      example, the lost profit claims, those
11      would have been paid out year to year in
12      the future.        So my question is either
13      other claims that you looked at that
14      wouldn't have.
15              A          Not that I'm aware of.
16              Q          Not that you're aware of.
17      Thank you.
18                         Switching gears a little
19      bit, one of the other components of the
20      PPOA claims that you discussed today was
21      the development portion of them.
22                         Do you know what I'm talking
23      about when I say that, the development
24      portion --
25                         MS. STAFFORD:               Objection to

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 177 of 236


                                                                 Page 176

1                                 MARK SHANKWEILER
2              form.
3               Q          -- component?
4               A          I do.
5               Q          And it was my understanding
6       from your testimony earlier that there
7       was no discount applied to that component
8       of the PPOA claims.              And by that
9       component, I mean the development
10      component.
11              A          That's correct.
12              Q          And you explained a little
13      bit earlier about why that was.                     So I'm
14      not going to ask you that again.
15                         But one follow-up question I
16      did have on that same topic is, were
17      you -- are you aware, do you have any
18      sense of how many of the development
19      claims -- did you conduct any
20      investigation into the validity of the
21      development claims?
22                         MS. STAFFORD:               Objection,
23             form.
24              A          Yes.
25              Q          As part of that

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 178 of 236


                                                                 Page 177

1                                 MARK SHANKWEILER
2       investigation, do you have any sense as
3       to how many of the power plants, subject
4       to the PPOA agreements, that are the
5       subject of these PPOA claims were never
6       developed at all or development was never
7       started?
8                          MS. STAFFORD:               Objection to
9              form.
10              A          So I understand based on the
11      PPOA claims that are included in this
12      estimate, development costs are part of
13      the overall process in negotiating,
14      coming up with plans, et cetera, to
15      propose to PREPA.            And so our
16      understanding is that as they go through
17      the development phase, that the PPOA
18      counterparties coordinate with PREPA in
19      coming up with what their designs are for
20      the project.
21                         And so there are development
22      costs that were incurred in conjunction
23      with that effort in order to get a PPOA
24      project approved.            And oftentimes -- my
25      understanding is that oftentimes, that

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 179 of 236


                                                                 Page 178

1                                 MARK SHANKWEILER
2       included getting reports from PPOA to
3       understand what the process is as it
4       relates to the development of a project,
5       as it gets towards a commercial operation
6       or starting a construction, to determine
7       whether or not it's shovel ready to start
8       the construction phase of a project.                        The
9       developing -- so the development costs
10      for these PPOA claims were likely
11      underway, otherwise they never would have
12      gotten off the ground.
13                         So there are costs that are
14      incurred.       The issue is that these are
15      not costs that they submit to PREPA to
16      have them reimburse them for the
17      development costs because that's part of
18      the responsibility of the PPOA
19      counterparty.          And they would earn those
20      development costs back once the project
21      was approved and they started earning
22      revenues under the PPOA.                   That's the way
23      it was explained to me.                  That's my
24      general understanding of the way these
25      projects are financed.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 180 of 236


                                                                 Page 179

1                                 MARK SHANKWEILER
2                          And so as it relates to --
3       as it relates to the development costs
4       itself, we had conversations with the
5       project management office, employees of
6       PREPA to determine whether or not the
7       development costs that they had included
8       made sense to them and could be validated
9       by them.
10                         And in many instances --
11      when I say in many instances, the answer
12      that we got from the project management
13      office when we reviewed these PPOA claims
14      was that they understood that in certain
15      circumstances that there were development
16      costs that were incurred because of the
17      number of years that they were going
18      through and exchanging plans and going
19      through the licensing or the regulatory
20      process in order to get approvals.
21                         And so that's -- you know,
22      each one of those -- each one of those
23      cases, each one of the claims that were
24      filed, we had these conversations with
25      PREPA's employees.             And so the

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 181 of 236


                                                                 Page 180

1                                 MARK SHANKWEILER
2       development costs that were included in
3       there -- while we couldn't verify the
4       actual amount of the development costs,
5       we did get the sense that development
6       costs were incurred in coming up with
7       plans and in securing licenses.
8                          MS. TOMIC:            I think I'm
9              almost done.         But if possible, could
10             we take a quick break off the record?
11             And I could touch base with attorneys
12             from Quinn and Cadwalader.
13                         MS. STAFFORD:               Yes,
14             absolutely.
15                         THE VIDEOGRAPHER:                  Off the
16             record at 14:34.
17                         (A short recess was taken.)
18                         THE VIDEOGRAPHER:                  We are on
19             the record at 14:46.
20              Q          I just have a couple of more
21      questions.        Then I will be done.
22                         So going back to another
23      topic that you testified about early on
24      in the day was objections, and I believe
25      you said that -- or you testified that to

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 182 of 236


                                                                 Page 181

1                                 MARK SHANKWEILER
2       your knowledge, there are no objections
3       to the PPOA claims that had been
4       submitted yet; is that correct?
5               A          That's my understanding,
6       yes.
7               Q          And have you conducted any
8       analysis how the estimation would change
9       if PPOA objections were submitted?
10                         MS. STAFFORD:               Objection to
11             form.
12              A          Could you repeat the
13      question?
14              Q          So from your -- I'll
15      rephrase it.
16                         From your earlier testimony,
17      it sounded like you were anticipating
18      there being PPOA objections filed; is
19      that fair?
20              A          Correct.
21              Q          And have you done any
22      analysis or has BRG done any analysis of
23      how the estimation that BRG -- the claims
24      estimation that BRG calculated would
25      change if those anticipated PPOA

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 183 of 236


                                                                 Page 182

1                                 MARK SHANKWEILER
2       objections were submitted?
3                          MS. STAFFORD:               Objection to
4              form.
5               A          So I think the asserted
6       claim would still be the asserted claim.
7       Once an objection is filed, the process
8       starts for the ability to adjudicate that
9       claim and come to some sort of a
10      resolution.        And so absent the process
11      taking place, whether it be in either
12      ADR, whether it be in a court or
13      whatever, you know, venue that it would
14      have to be resolved, we don't have any
15      real view of what the ultimate outcome of
16      that would be.
17                         So I don't believe I would
18      be able to determine without that
19      happening, what any adjustments would be
20      to the current claims, just because you
21      file an objection.             The party can respond
22      to that.       So I don't think we would make
23      any objections until -- or any revisions
24      to the claims estimates until that played
25      out.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 184 of 236


                                                                 Page 183

1                                 MARK SHANKWEILER
2               Q          And has BRG done any
3       analysis or had any discussions with the
4       board entities about the likelihood of
5       the anticipated PPOA objection success on
6       the merit?
7                          MS. STAFFORD:               Objection to
8              form.    I'm just going to caution you
9              not to reveal any privileged
10             information.
11              A          Not specifically, no.
12              Q          And then just finally,
13      earlier, I believe it was Exhibit 3, UCC
14      submitted the oversight board's expert
15      disclosures.
16                         Are you aware that in that
17      document, the board disclosed that you'll
18      be testifying at the confirmation
19      hearing?
20                         MS. STAFFORD:               Objection to
21             form.
22              A          So in Exhibit 3, am I aware
23      that I may testify at the confirmation
24      hearing?
25              Q          Yes.

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 185 of 236


                                                                 Page 184

1                                 MARK SHANKWEILER
2               A          So I believe I was aware
3       that I might be asked to testify at the
4       confirmation hearing, yes.
5               Q          And according to Exhibit 3,
6       the topics of your testimony or expected
7       testimony might include the -- you can
8       read them on page 9 --
9               A          Yes.
10              Q          -- the estimated total
11      amount of allowed general unsecured
12      claims against PREPA, the eminent domain
13      and inverse condemnation claims and the
14      estimated total amount of federal claims?
15              A          Yes.
16              Q          And is that consistent with
17      what topics you anticipate potentially
18      testifying about at the confirmation
19      hearing?
20              A          Yes.
21              Q          Are you aware of any other
22      topics that you might testify about at
23      the confirmation hearing, other than
24      those provided here on page 9 and 10 of
25      Exhibit 3?

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 186 of 236


                                                                  Page 185

1                                 MARK SHANKWEILER
2               A          I am not.
3                          MS. TOMIC:             I think those
4              are all of my questions.                     I'm not
5              sure if anyone else is doing any
6              questioning.         But that concludes the
7              questioning from Kramer Levin.
8                          MS. STAFFORD:                I have just
9              one question if no one else has
10             anything else.
11       EXAMINATION BY
12       MS. STAFFORD:
13              Q          So earlier today -- I just
14      want to make sure that we have one thing
15      clear on the record.
16                         So earlier today,
17      Mr. Despins asked you some questions
18      about the UTIER CBA and potential
19      rejection claims?
20              A          Yes.
21              Q          Have you been asked to
22      provide an estimation of the amount of a
23      rejection damages claim in the event that
24      the UTIER CBA is rejected?
25              A          No.

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53     Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 187 of 236


                                                                  Page 186

1
2                          MS. STAFFORD:               Thank you.
3              That's all.
4                          THE VIDEOGRAPHER:                  Anybody
5              on Zoom with questions?                     This
6              concludes today's testimony given by
7              Mark Shankweiler as stipulated by all
8              parties.      The total number of media
9              units used was three and will be
10             retained by Veritext Legal Solutions.
11                         Off the record at 14:53.
12             Thank you.
13                              (Time noted:                2:53 p.m.)
14
15                         ___________________
                             MARK SHANKWEILER
16
17
18       Subscribed and sworn to
19       before me on this _______day
20       of _______________________, 2023.
21
         __________________________________
22                        NOTARY PUBLIC
23
24
25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 188 of 236


                                                                 Page 187

1
2                                       I N D E X
3
4                               E X A M I N A T I O N
5        EXAMINATION
6        Mr. Despins                      6
         Mr. Kelly                       94
7        Ms. Tomic                      153
         Ms. Stafford                   185
 8
 9                                 E X H I B I T S
10
11      Exhibit                           Description                  Page
12      Exhibit 1                         Notice of                    10
                                          Deposition
13
        Exhibit 2                         List of witnesses            12
14
        Exhibit 3                         Disclosures                  21
15
        Exhibit 4                         Exhibit O                    47
16
        Exhibit 5                         Disclosure                   75
17                                        statement
18      Exhibit 6                         Disclosure                   78
                                          statement
19
20
                                          R E Q U E S T S
21
22            Page                                          Line
23            74                                            2
24            77                                            8
25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 189 of 236


                                                                 Page 188

1
2                            C E R T I F I C A T I O N
3
4
5                   I, ANTHONY GIARRO, a Shorthand
6       Reporter and a Notary Public, do hereby
7       certify that the foregoing witness, MARK
8       SHANKWEILER, was duly sworn on the date
9       indicated, and that the foregoing, to the
10      best of my ability, is a true and accurate
11      transcription of my stenographic notes.
12                  I further certify that I am not
13      employed by nor related to any party to
14      this action.
15
16
17                                         <%5259,Signature%>
                                         ____________________
18                                           ANTHONY GIARRO
19
20
21
22
23
24
25

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 190 of 236


                                                                  Page 189

1
2                           ERRATA SHEET
                VERITEXT/NEW YORK REPORTING, LLC
3                        1-800-727-6396
4        330 Old Country Road      7 Times Square
         Mineola, New York 11501   New York, New
5       York 10036
6        NAME OF CASE:  In re:   the Financial
        Oversight and Management Board for Puerto
7       Rico, as Representative of the Commonwealth
        of Puerto Rico, et al.
8        DATE OF DEPOSITION: May 22, 2023
         NAME OF DEPONENT:    Mark Shankweiler
9        PAGE LINE (S)  CHANGE         REASON
         ____|______|_______________|_____________
10
         ____|______|_______________|_____________
11
         ____|______|_______________|_____________
12
         ____|______|_______________|_____________
13
         ____|______|_______________|_____________
14
         ____|______|_______________|_____________
15
         ____|______|_______________|_____________
16
         ____|______|_______________|_____________
17
         ____|______|_______________|_____________
18
         ____|______|_______________|_____________
19
         ____|______|_______________|_____________
20
         ____|______|_______________|_____________
21
                               __________________
22                              MARK SHANKWEILER
23       SUBSCRIBED AND SWORN TO BEFORE ME
         THIS ____ DAY OF ___________, 20__.
24
         __________________  __________________
25        (NOTARY PUBLIC)   MY COMMISSION EXPIRES:

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 191 of 236

  [& - 21]                                                                 Page 1

           &             10:17 11:10         11:41 94:3,18             2
   & 2:3,9,14 3:11       12:18 14:7,20       11:42 94:21       2 10:18 12:12
     4:4,10 20:13        64:21 65:9          11th 12:8           12:14,18,23
     20:24 21:11         69:5 86:25          12 58:9 64:21       13:23 14:6,20
     23:22 34:7,13       87:19 115:17          64:24 65:9,12     14:23,24 69:9
     34:15,25 35:3       135:19 155:8          86:25 87:20       84:24 132:9
     36:19 37:13,14      157:13 187:12         157:14 187:13     140:9 146:4
     38:8 40:6         1-800-727-6...        120,000 31:3        187:13,23
     45:13,25 46:3       189:3               12:54 146:3       2.4 137:25
     48:4,21 50:4      1.1 30:25             13 58:9             138:24
     52:3,10,14        10 116:9,11           13.3. 50:21       2.5 137:7
     54:2 59:20          158:16 159:12       13:46 146:7       2.7 46:16
     62:17 69:16         160:14 184:24       14.8 136:19       2.779 47:16
     70:21 71:10         187:12              14.834 134:17     2.8 46:15
     73:9,21,22        10,000 89:22          14:34 180:16        115:19,21
     84:10,16,20       100 2:21              14:46 180:19      2.9 46:16
     85:5,12 89:20       115:25 116:9        14:53 186:11      20 95:19
     108:6 117:13        116:12              150 151:5,17        138:17,22
     123:25 124:14     100,000 31:3          153 187:7           140:16 167:8
     124:18 125:17     10019 4:11            16 141:13,17        189:23
     127:6 139:3,17    10036 1:21            16.8 141:21       200 2:10 3:5
     140:5,12 158:5      3:12 189:5            143:4             157:25
     159:2 160:21      10153 4:6             16th 76:7         2000 2:5
     161:17            10166 3:5             17 1:3,9 5:21     20006 2:5
                       10281 2:11              141:18          2008 62:13
           0
                       10:31 69:4            172 42:2            133:4
   0 55:10 57:20       10:57 69:8            185 187:7         2009 62:14
     58:16,19,23       11 1:20 5:23          19 7:13,19          133:4
     59:2 154:20         133:23              1974 90:17        2019 32:8 85:6
     156:25 157:3      11,000,245 62:2       1990s 18:12       2022 74:24
     169:21            11.2 132:17,20          95:14           2023 1:16 5:4
   02110 3:23          11501 189:4           1st 81:13 82:9      12:9 186:20
           1           1170 2:21                                 189:8
   1 3:22 5:12         11:31 93:24                             21 187:14
     9:23 10:2,16
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 192 of 236

  [22 - 94]                                                                Page 2

   22 1:16 76:7          187:14              4780 1:9           65.6 155:11
     133:24 189:8      30 9:9,19 12:5        4th 2:5                    7
   22,000 64:8           52:24 55:10                 5          7 3:12 11:9
   224 61:19,24          57:21 58:17,19
                                             5 61:9 64:2,3        189:4
     63:12 131:17        58:23 91:24
                                               75:10,12,14,16   70 3:17 156:13
   224,900,000           95:20 149:9,16
                                               75:19,22         700 146:25
     61:12               149:17 154:20
                                               103:18 129:16    711 2:16
   224.9 62:4            155:17,19,21
                                               129:23 130:16    74 187:23
     128:16,17           156:2,6 157:2
                                               187:16           75 187:16
     130:17 131:3        157:3 161:21
                                             5,000,673 60:22    767 4:5
     134:8               161:24,25
                                             5.9 33:10 99:8     77 187:24
   225 127:25            163:11 164:5
                                             50 29:9 89:17      77002 2:16
     131:7 132:10        169:22 173:8
                                               135:11,11,16     78 187:18
   22nd 5:4              173:23
                                             50,000 85:9                8
   23,000 133:24       300 35:16
                                             500 2:16 91:17
   245 78:11           30309 2:21                               8 14:25 187:24
                                               133:5,16
   25 167:8            3283 1:3 5:21                            800 22:9,14,20
                                             51 4:11
   26 75:18            330 189:4                                  23:7 32:23
                                             5259 188:17
   264 81:18           3305 7:15                                  33:6,16 35:2,7
                                             52nd 4:11
     125:6 126:20      35 160:7                                   37:8 38:19
                                             55 48:12
   264,000,379         3800 3:17                                  41:11,14 42:8
                                             550 91:17
     81:10                     4                                  42:25 44:10,17
                                             5th 4:5
   264379 82:18                                                   45:19,23 46:5
                       4 14:25 47:5,7                6
   27 32:12                                                       75:7,25 76:13
                         74:14 80:24
   28 32:12 85:9                             6 9:9,19 12:5      85 116:5
                         82:9,25 86:8,9
   2:53 186:13                                 77:23,25 78:4    89 96:5
                         87:17 101:17
   2s 14:18                                    78:9,22 91:24            9
                         101:18,19
           3                                   99:8 134:15
                         103:23 115:18                          9 22:2 131:17
                                               149:9,16,17
   3 13:2 21:23          125:4 129:15                             135:22,23
                                               187:6,18
     81:3 82:25          129:23 134:15                            136:2 184:8,24
                                             60 30:10 99:16
     84:25 88:3,19       147:21 154:22                          90 96:5 158:16
                                               99:18 100:6,23
     88:20 101:20        157:23 187:15                            158:20 159:11
                                             600 91:18
     146:8 154:22      40 95:20 160:7                           92 95:15
                                             60602 3:18
     183:13,22         47 187:15                                94 187:6
     184:5,25
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 193 of 236

  [99 - agency]                                                            Page 3

   99 118:2              143:8 163:21        ad 2:4               57:24 60:6
   9:06 1:16 5:4       accountants           add 79:3             144:10 158:14
   9th 81:14,17          20:14               addition 9:7       adjustments
           a           accounting              12:6               59:5 182:19
                         16:2                additional         administration
   a.m. 1:16 5:4
                       accurate 25:3           88:13,25 107:5     16:2
   aafaf 3:11
                         156:14 188:10         114:5,23,25      adopt 39:15
   ability 108:8
                       accurately 41:9         149:19           adr 24:3
     182:8 188:10
                       acronym 46:11         adjudicate           105:18,22
   able 18:21
                       acronyms                182:8              158:6 159:25
     30:25 34:10
                         31:19               adjust 23:23         182:12
     37:16,20 38:5
                       action 6:7              57:9,13,16       advanced
     38:6,9 71:4
                         41:23 188:14          110:11             145:14
     83:13 85:13
                       actions 34:8          adjusted 41:4,5    adversary
     119:24 120:16
                       actual 24:9             47:21 52:16,19     55:24
     121:11 147:5
                         25:17 62:10,15        55:8,14 56:15    adverse 165:16
     172:10,15
                         113:24 124:4          56:19 59:4,22    advice 45:15,17
     182:18
                         130:11 131:25         64:9 71:12         46:4 53:25
   above 9:25
                         137:6 138:14          79:19 80:22        72:12 73:19
     12:13 21:22
                         140:6 162:17          83:3,16 102:20     84:8 108:3,5
     47:4 75:15
                         167:20 168:10         103:22 104:2       173:4
     77:24 91:17
                         180:4                 104:16,18        advise 73:3
   absence 51:4
                       actually 8:23           106:7,8,11,15    advised 73:22
     51:13
                         12:17 13:6            106:21 107:17    advisor 123:20
   absent 182:10
                         27:14 31:10,11        108:21 109:20      127:17
   absolutely 23:8
                         31:13 61:7            113:20,21        advisors 20:4,9
     31:16 46:25
                         63:17 92:17           114:3 132:16       20:9,12,16,18
     180:14
                         98:12 105:14          135:20 155:23      100:15 109:8
   academic 15:23
                         111:23 113:18         156:20 160:13      132:22
   access 71:7
                         121:24 122:3          164:2            advocate 97:8
     98:22
                         125:13 137:11       adjusting          afternoon
   accordance
                         145:14,21             113:14             153:4
     7:18
                         148:16 159:9        adjustment         agency 150:24
   account 50:14
                         159:21,22             24:4 51:2,10       151:7
     89:9 92:10
                         165:9                 51:18 53:21
     93:3 108:13
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 194 of 236

  [aggregate - anthony]                                                    Page 4

   aggregate             137:24 141:21     132:14 133:18         183:3
     103:2,3 138:19      143:5,8,11        133:19 134:3        analyze 49:23
     141:9 150:11        165:4 184:11      135:16 136:16         168:9
     150:13            allowing 57:17      137:7,8 140:25      analyzed
   agree 5:11          alluded 100:2       141:9 143:7,11        174:22
   agreed 124:20       amended 7:14        143:17 147:2,6      analyzing
   agreement           amends 26:25        147:6 150:12          169:9
     31:23 85:19,22      27:7              150:13 155:18       angela 4:12
     87:22             america 142:8       155:18 156:16       ankura 127:14
   agreements          amount 15:6         156:17 163:21       announced
     49:7 177:4          17:9 19:22        170:20 180:4          75:6
   ahead 55:20           22:7,14 24:4,5    184:11,14           answer 8:15
     92:3 101:14         24:6 32:9,12      185:22                9:6 45:11
   akherring 4:13        32:15 33:2,24   amounted 64:7           55:17 64:17
   al 1:7 5:18           35:15 41:19     amounts 27:13           65:15 66:14
     189:7               45:7 46:13,17     42:13 52:16           67:15,17 68:2
   alex 3:7              47:13,15 51:2     76:20,24 88:14        78:19 84:6
   alexbongartz          51:11 52:23,23    102:5 105:16          92:2 111:10
     3:8                 58:2 60:25        151:12 158:25         120:16 123:12
   allentown             61:11,12,17,19    169:18                129:13 131:18
     15:22               62:4 65:21      analysis 43:23          133:5 142:18
   allergies 26:14       66:18 68:23       44:9 58:23            150:7 162:9
   allow 18:3,8          70:7 75:24        89:3 97:5,10          170:23 179:11
     19:5 53:9           81:8,9,10,17,18   104:24 105:8        answered
     107:4 165:15        81:20 82:4,11     105:10 119:5          66:10,22 67:4
   allowable             82:14,18 85:3     126:21 127:16         67:10,15 68:2
     16:19 17:4          86:23 87:18       135:8 136:19          68:5 71:5
   allowed 15:6          88:2,15,18        137:9 139:2           171:17 174:15
     17:5,8,18,24        90:3 91:14        148:24 149:6          174:16
     22:7 45:7           95:19 100:12      149:19,23           answering
     49:15 51:11         101:9 102:23      157:17 160:2          40:25 101:23
     57:11,12            102:24,25         168:18,20             157:7
     104:20,21           103:15 104:20     169:21 170:2        answers 43:6
     105:3 113:19        108:14 109:14     170:13 173:25       anthony 1:22
     131:2,7,16          131:2,17          181:8,22,22           6:3 188:5,18

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 195 of 236

  [anticipate - assessed]                                                  Page 5

   anticipate          approvals               45:2 117:24        57:14,15 61:11
     143:6 184:17        179:20                118:3,15           61:19,21 62:4
   anticipated         approved                130:13             62:16 68:23
     181:25 183:5        174:13 177:24       ascribes 41:12       79:16 81:9,18
   anticipating          178:21              ascribing 136:9      81:19 82:3,4
     181:17            approximate           ashley 3:19          82:11,13 98:11
   anybody 186:4         91:14               aside 27:6 54:4      98:15 99:6,12
   apologize 8:10      approximately         asked 8:14 35:9      99:17 103:15
     40:16 60:17         29:10 46:14           35:15 40:9         103:16,17
   appearance            92:21,22,23           47:11 64:19        108:14 111:19
     6:11                132:10 138:17         66:11,22 67:4      115:18 116:3
   appearances           146:24 157:25         67:10,15 68:2      127:25 130:17
     6:12              arbitration             71:6 85:5          130:23 134:16
   applicable            57:8 60:5,16          102:3 134:6        136:16,22
     11:13               60:19 61:5            146:14,15          137:8 138:20
   applied 88:7          63:5,6 113:17         149:5 154:4        140:17 141:2,9
     89:17 155:5         113:20 118:11         165:19,25          143:16 145:2,9
     176:7               118:16 119:7          166:6 171:17       145:13,21
   apply 59:24           119:11 123:3          184:3 185:17       146:24 147:7
     157:16              126:22 128:7,8        185:21             147:11 148:8
   applying              128:21 164:24       asking 13:19         148:16,20,25
     173:12              165:3,5               29:21 44:21        149:20,25
   approach            arbitrations            81:10 94:12        151:4 169:19
     39:18 40:3          114:15,19,21          157:6 170:25       169:23 171:10
     124:23            argue 132:13          assert 63:3          182:5,6
   approaching         arguments               108:8 121:11     asserting 54:9
     86:14               83:21                 134:5 148:2        82:22 152:9
   appropriate         arising 86:10         asserted 22:8        163:13
     59:7 108:12         87:20                 23:23 24:4       asserts 109:24
     110:5 162:2       article 16:14           29:11,23 30:18   assess 68:9,13
     164:13,19         ascribe 39:22           32:10,16,25        111:12 146:16
     165:13            ascribed 38:18          34:9 41:20       assessed 64:22
   approval              40:21 41:2            42:2 46:13         65:10 66:11,13
     128:12,13           42:20 43:3,20         47:14,15 49:11     66:15,19,23
                         44:5,15,18            49:24 52:6,17      67:7,11,19,19

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 196 of 236

  [assessed - based]                                                       Page 6

     67:22,23 68:15    attention 11:9        aweringa 3:19      91:15 138:20
     100:19 105:20       14:25                      b           150:20
     123:6 158:11      attorney 77:20                          bankruptcies
                                             b 9:9,19 12:5
   assessing 117:3       131:4,22                               95:16,24
                                              91:24 125:25
   assessment          attorneys 2:4,9                         bankruptcy
                                              149:9,16,17
     111:7 117:11        2:15,20 3:4,11                         16:4,14 18:2
                                              187:9
     123:21,24           3:16,21 4:4,10                         91:9 92:9,10
                                             bachelor 15:18
   assigned              10:23 72:7                             104:22
                                             back 14:16
     158:11,14           141:5 165:12                          banks 96:15
                                              19:24 35:20
     160:5,13 173:7      180:11                                bar 92:24
                                              38:14 44:12
   assigning 119:9     attributable                            bargaining
                                              56:22 63:14
   assist 85:7           115:22                                 85:18,22 87:22
                                              64:18 69:11
   assisting 124:3     audio 5:9                               base 180:11
                                              74:13,18 80:24
   associated 42:8     audited 126:18                          based 9:4 17:14
                                              84:22 116:2
     85:4 122:2        authority 1:14                           22:24 23:20
                                              125:3 126:4
     139:21 142:11     available 7:22                           24:5,14 27:8
                                              129:14 131:12
     143:13              18:15 119:13                           28:2,5,13,17
                                              154:24 160:17
   assume 8:5            132:24                                 40:6 41:5
                                              165:19,25
     37:3 150:6        avenue 3:5 4:5                           45:24 48:14,17
                                              167:13,15
     172:10,16         average 88:4                             48:19,22,23,25
                                              170:4,15
   assumed 52:20         89:4                                   49:15 51:3,12
                                              171:15,20
   assumptions         award 60:5,19                            52:13 57:5,7
                                              172:5,12,17
     15:5 22:5           60:22 61:2,4                           58:2,8 59:5,8
                                              178:20 180:22
     109:7               63:6 165:3,4                           59:11 60:24
                                             background
   assured 2:9,10      awards 60:16                             61:3 62:10
                                              15:15 70:6,25
   atlanta 2:21        aware 91:8                               63:16 66:5
                                              95:11
   attached 10:18        114:20 142:13                          68:22 73:9,11
                                             backtrack
   attempted             143:25 148:7                           73:12 77:2,7
                                              38:25
     63:10 130:3         149:18,22,24                           79:24 83:13,18
                                             backup 42:24
   attempting            152:10 153:10                          83:19 88:5
                                              43:25 44:9
     17:25 18:7          153:24 174:21                          89:18,23
                                              64:20 65:8
   attendance            175:15,16                              104:24 105:17
                                             bad 33:23
     7:24                176:17 183:16                          106:19 108:2
                                             badgering 68:4
   attending 7:20        183:22 184:2                           109:7 110:7,12
                                             ballpark 32:17
                         184:21                                 113:16,16
                                              32:18,25 89:11
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 197 of 236

  [based - brg]                                                            Page 7

     115:4 116:13        64:2 71:25          bill 4:19          bonds 90:19
     118:10 119:12       79:19 81:21         billion 32:12        95:7 142:8
     119:17 130:2        83:5 86:6             33:10 46:15      bongartz 3:7
     131:19 133:6        91:16 99:21           47:16 96:5,5       10:15,25 11:7
     133:10 136:20       101:16 108:11         99:8,8 103:18      12:21 13:9,21
     140:4,4,5           127:14,19             115:19,21          14:5,17 75:13
     145:13 147:7        138:4 141:12        bit 15:14 40:19    bonus 126:10
     148:4 154:14        144:25 145:20         95:10 98:7,17    bonuses 120:22
     157:16 158:3,9      147:3 150:15          99:5 100:10        135:2 137:3
     158:10,25           153:17 154:11         107:15 110:15    books 19:11,13
     159:25 161:3        154:20 155:4          116:25 117:15      19:21 27:13
     161:23,23           155:12 167:12         137:17 146:11      116:23
     162:2,3,18          167:22 168:12         154:3,23         borges 21:12
     163:2,11            171:18 172:3          164:18 166:10    boston 3:23
     165:11 173:3        180:24 182:17         175:19 176:13    bottom 11:17
     177:10              183:13 184:2        bk 1:3,9 5:21      bottoms 39:21
   basic 8:19          believed 79:14        blew 121:14          40:3
   basis 57:23         bell 31:18            board 1:5,12       boxes 85:9
     64:9 77:6           33:10 74:25           3:16 5:18 9:10   brady 4:7
     93:11 112:23        78:8 90:6             9:10,20 11:19    brain 32:19
     113:4 131:8       benefit 133:13          12:7 21:9 28:5   break 69:2
     132:9,11,12,14    benefits 63:8           56:8 74:21         93:16 180:10
   bear 7:6              129:4 130:6,8         146:15 149:18    brg 32:5 99:16
   beginning 69:9      best 104:19             159:18 183:4       100:15 117:8
     149:7               148:18,22             183:17 189:6       117:13 123:8
   begins 146:7          151:14,16,19        board's 21:17        123:19 138:8
   behalf 9:19           188:10                149:9,15,17        140:24 141:3
     21:21 93:3        bet 131:6               183:14             145:4 148:23
   belief 79:24        better 56:5           bob 4:19             162:18,20
   believe 18:21         154:17              bond 25:24           163:6,7,7
     29:5 30:15        big 72:8 95:21          142:5,11           165:18,19,24
     32:2,7,11           95:23 96:4          bondholder           165:25 168:17
     41:22 45:4          100:25                96:20 149:13       169:9,25
     48:7,11 49:13     bigger 101:5          bondholders          170:19,25
     52:24 56:11,12                            2:4                171:2 172:19

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 198 of 236

  [brg - charge]                                                           Page 8

     173:25 181:22       162:9               cash 171:24       cell 5:8
     181:23,24         called 47:18,21       categories        certain 20:17
     183:2               69:16 75:21           23:16 25:15       55:6 71:23
   brg's 171:5           84:10                 28:24 39:20       73:8 96:16
   briefly 47:10       calling 74:3            60:4 64:25        102:17 105:17
     160:17 174:18     cameron 2:17            65:9,12 86:25     106:14 109:22
   bring 13:20,22        94:25                 87:19 102:18      109:25 110:7
   broken 84:23        cameronkelly            104:11,25         113:4 126:2
   bucket 137:14         2:18                  110:19,22         130:8 134:25
   build 79:14         candid 43:5             134:22 136:18     136:24 137:2
     85:13 86:18       cap 11:13               153:11 157:10     139:19,22
     106:18 142:7      capture 173:18          157:12            142:4,5,11
   built 88:18           173:23              categorization      151:9,11 159:3
   bunch 134:21        captured 24:19          23:13,15,17       159:3 167:11
   business 15:25        42:12 89:2            24:25 25:3,6      168:2 179:14
           c             98:13 112:7           25:10           certified 1:23
                       capturing             categorizations   certify 188:7,12
   c 2:2 3:2 4:2
                         124:4                 26:7            cetera 98:24
     125:25 188:2,2
                       care 62:13,21         categorize          177:14
   cadwalader 2:9
                         63:8 79:13            25:13           challenging
     180:12
                         130:8               categorized         97:5
   calculate 121:4
                       carve 110:12            138:16          chance 47:9
     147:6 170:2
                       case 1:3,9 5:20       category 24:21    change 61:20
   calculated
                         14:9 18:3             25:8,12 40:5      62:12 78:12
     110:2 168:13
                         34:12,12,16,17        45:23 64:21       181:8,25 189:9
     170:14 181:24
                         36:17,22,23           75:21 102:12    changed 62:22
   calculating
                         37:4 60:5             102:13 106:5      104:10,11
     120:23
                         98:25 107:2           157:20 161:18   changes 105:25
   calculation
                         126:14 156:22       caution 79:6        133:8
     125:24 168:11
                         164:23 165:8,9        183:8           changing
     168:13 169:6,7
                         172:19 189:6        cba 86:2,2,11       128:11
     170:18 171:3
                       cases 18:12,17          86:25 87:22     characterizati...
   call 25:9 77:8
                         89:22 96:16           124:20,22         39:16
     121:9 125:23
                         164:20 179:23         128:14 185:18   charge 124:15
     126:10,11
                                               185:24
     139:20,24
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 199 of 236

  [chart - claims]                                                         Page 9

   chart 155:7           42:5,6,9,19,22        116:25 117:3,5      163:14,18,19
   chester 15:19         42:22 43:2,20         117:22 118:9        163:21 165:5,7
   chicago 3:18          43:21 44:5,19         118:17,19,20        166:22 167:3,5
   christmas             44:25 48:22           118:22,25           167:11,21
     120:22 126:10       49:25,25 50:14        119:3,10,23         168:6,7,10
     134:25 137:3        51:11,20,21,25        120:8,13,15,16      169:3,8,14,22
   cilt 151:3,3,18       52:5,8,12,16,18       120:18 121:9        170:3 171:14
     152:2,11,13         54:5,6 55:9,13        121:10,12           172:13,17
     153:18,19,23        57:8,14,15,22         123:2,7,10          173:19 174:9
   circumstance          57:23,24 58:7         125:11 127:22       174:11 182:6,6
     53:22               60:25 62:3,5,6        127:24 128:16       182:9 185:23
   circumstances         62:9,11,15,19         129:8 130:17      claimant 49:11
     48:25 106:14        63:2,12,13            130:25 131:8        51:12 82:22
     139:23 167:11       64:14,24 65:11        131:16,20           167:18,19,22
     179:15              66:3,11,13,17         132:2,2,9,15,25     170:13,17
   claim 17:8 19:3       66:19,25 67:5         134:3,8,8         claimants
     19:8,9,10,12,15     67:18 68:11           137:11,14,25        53:18 114:6
     19:18,25 20:5       70:8 71:21            139:7,9,18,21       144:6 145:21
     20:7,19 22:19       73:15,16 75:24        139:22 140:7        148:15 167:4
     23:12,14,25         76:24 81:4            140:14,18,20      claimed 57:17
     24:4,9,10,13        82:3,10 83:6          141:15,21         claims 11:14
     25:7,8,10,17,21     84:23 85:3            142:2,14 143:5      16:19 17:4,4
     25:22,24,25         86:15 88:2            143:22 145:3,9      17:18,24 18:4
     26:2,6,24 27:9      92:17,24 93:6         145:17,22           18:8,14,19,22
     27:10,16,18         98:24 100:17          146:16,24           20:17 22:8,25
     28:2,10,10,14       101:9 102:11          147:7 148:11        23:2,10,12,15
     31:4,6 33:23        102:12 105:9          148:17 151:7,9      23:18,19,23,25
     34:2,19,23          105:25 106:17         151:18 152:4,5      24:3,19,21
     35:15,17 36:7       106:18,22,24          152:7,9,20          25:2 26:19,23
     36:14,18,21         107:9 108:5,9         153:17 155:15       27:5,7,8,12,20
     37:7 38:24          108:12 109:6          156:3,4,21          27:23,24 28:5
     39:3,7,13,19,20     109:24 110:3          157:20 158:15       28:17,17,24
     39:22 40:21         111:18 112:16         159:4,11            29:4,11,13,19
     41:4,7,12,16,18     113:9,10 114:7        160:22,25           29:19,21,23
     41:23,25 42:4       115:5,18 116:3        161:18,19           30:12,14,16,17

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 200 of 236

  [claims - class]                                                         Page 10

     30:24 31:25         86:10,17,18,21        134:19,22           158:12,17,18
     32:6,10,16,24       87:2 88:5,6,8         135:3,5,6,7,9       158:23 159:2,3
     33:17,22 34:6       88:13,16,21,25        135:10,16,21        159:8,13,20
     35:10,11,14,20      89:4,6,21             136:2,5,10,16       160:5,8,16,18
     35:22 36:3,9        92:10,19 96:5         136:20,21,23        162:3,4 164:9
     36:13 38:15,17      97:15 98:2,5          137:6,20 138:5      165:18,19,24
     39:6,6,9,11,23      98:11,15,16           138:11,13,15        165:25 166:7,8
     40:4,5,8,8,10       99:7,11,13,17         138:17,18,20        166:14,15,16
     40:13,14,18,23      100:2,6,25            139:2,5,11,13       168:2,19,19
     41:3,6,10,22        101:5 102:3,4         139:19,23,25        170:4,10,12,21
     42:15 44:3,13       102:8,14,18           140:11,15,17        171:3 172:5,8
     44:14,16 45:8       103:4,7,10,10         140:22,25           172:21 173:2,3
     45:11,14,16,24      104:19,23,25          141:4,6,7,10,23     173:4,5,7,15
     46:11,14 47:14      105:11,13,13          141:24 142:3        174:20,22,23
     47:16 48:10,13      105:18,19             142:23 143:2,9      174:24 175:6
     48:14,19 49:5       106:20 107:5          143:13,15           175:10,13,20
     49:10,10,15         109:2,13 110:3        144:12,13,14        176:8,19,21
     52:16 55:22         110:7,10,15,18        144:16,18,24        177:5,11
     56:9,24 58:5,9      110:19,20,23          145:6,8,12,13       178:10 179:13
     59:9,14 63:24       111:2,13              145:16 146:20       179:23 181:3
     63:25 64:4          112:15,23,24          146:22 147:10       181:23 182:20
     65:16,18 66:6       113:5 114:14          147:11,15,20        182:24 184:12
     66:24 67:12,20      114:18 116:19         148:3,9,14,20       184:13,14
     68:7,14,16          118:6,12,13           148:25 149:20       185:19
     69:24 70:2,4,5      119:16 120:19         149:24 150:12     clarify 9:2
     70:11,12,14,17      120:23 121:4,7        150:14,22           43:12,17 74:20
     70:19,20,22,24      122:11 124:16         151:2,3,3,9,11      100:4 154:25
     71:16,23 72:2       124:19,21,24          151:18,20,25        155:20 159:10
     72:3,10,12,21       124:25 125:12         152:12,14           163:4 169:24
     72:25 73:9,23       125:15,17,19          153:11,11,18      clarifying
     74:10 75:7,22       126:2,3,5,6,8,9       153:19,23,24        106:6 150:8,9
     76:25 79:13,25      126:10,12,12          154:5,7,10,16     clarity 95:12
     81:23 82:6          126:14,15,24          155:9 156:7,24    class 32:17
     84:17,18,20         127:4 133:15          157:10,13,17        41:23 75:22
     85:7,15,15          133:21 134:13         157:25 158:5,7      138:13 141:24

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 201 of 236

  [classes - conclusion]                                                   Page 11

   classes 143:14      combination           commission            156:12,21
   classification        49:4 59:17            189:25              160:19 161:5
     27:9              come 23:7             committee 2:20        161:19 166:13
   classified 144:9      24:10 34:17,22        3:4,21 5:15 7:3     169:3,12 170:3
   clause 50:18,21       45:18 46:4            97:4                170:15,21
     51:4 53:15          48:3 59:6           common 74:8,9         171:10 172:21
   clear 8:25 9:20       79:18,22 89:5       commonwealth          176:3,7,9,10
     29:20 47:25         90:2 96:24            1:7 28:12         components
     65:4 66:16          99:25 100:5           189:7               48:10,18 51:19
     80:6,12 155:2       102:2 104:22        communicated          55:9 57:2 73:8
     166:3 185:15        108:21 118:14         82:17               73:25 102:15
   clearly 30:9          118:18,25           company 19:12         105:11 125:14
     77:19,20 168:5      120:5 121:13          20:3 120:12         126:2 133:14
     170:25              122:5,24 123:5        151:10              139:7,18
   client 77:20          124:24 132:24       company's             155:14 164:22
   close 103:18          133:16 139:10         20:4,9 116:23       175:19
     116:4,4 141:22      139:13 158:16       compared            comprise
   collaborative         158:19 159:11         32:22               138:11
     122:13,21           161:11 168:24       comparison          comprised
     124:23              174:9 182:9           63:18 133:12        139:5
   collective 85:18    comes 48:6            comparisons         concern 124:23
     85:22 87:21         113:23 164:21         62:21             concerned
     109:12            comfortable           compensating          36:12 65:22,23
   college 15:20         39:17 49:21           129:3               79:23
     15:22               68:16 83:11         complaints          concierge 4:19
   column 56:14          98:21                 134:24              10:8,20 11:5
     58:22,25 59:22    coming 17:3           completed 29:6        13:5,19,24
     60:13 78:15,16      58:24 106:20          112:9               14:13
     78:18 79:3          106:21 107:25       complex 72:10       concludes
     80:8,21,22          108:10 113:15         109:13 124:6        185:6 186:6
     103:23 155:22       114:2 119:11          126:7             conclusion
     155:23 159:16       123:16 177:14       component             17:11 84:3
   columns 47:18         177:19 180:6          52:18 53:6          90:12 99:25
     60:10             commercial              55:15 73:15         100:5 113:2
                         178:5                 154:6 155:6,10      142:17 144:20

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 202 of 236

  [conclusion - costs]                                                     Page 12

     145:19 149:4          165:17,23          continue 5:10      corp 2:9,10
   condemnation            174:23               78:12            corporation
     137:19 138:12       consensus            continued 82:5       4:5 72:8
     138:17 184:13         162:23 163:10      contract 50:2      correct 8:17
   conduct 168:17        consenting             51:14 52:4,7       22:21 46:9
     170:2 176:19          35:18                53:19 73:12        50:4,5 53:15
   conducted             conservative           86:20 88:12        54:22 55:4,25
     91:20 92:6            163:14,24            89:7 151:14        59:25 60:11
     149:23 181:7          164:6,10,11          167:9 168:16       61:3,13 64:25
   conducting            consider 70:18       contracts 48:20      76:10 83:25
     149:18                174:10               49:12,16 50:19     85:23 95:8
   conferred             considered             53:9 73:10         115:19 117:23
     23:21                 54:6 71:13           160:24             154:16 155:13
   confidential            91:4,7 150:23      contractual          156:8,15 170:5
     7:11,16             consistent             54:3               170:8 176:11
   confidentiality         19:11 25:15,16     contractually        181:4,20
     7:6                   76:22 184:16         162:5            correctly 98:12
   confirm 23:16         constant 60:20       contrast 26:24       101:23 145:23
     30:25 93:20         constituency         control 13:15      corretjer 20:25
     147:5                 96:20,21           conversations        37:19 71:22
   confirmation          construction           5:7 24:17          72:22
     7:14 183:18,23        178:6,8              48:25 52:10      cost 57:15
     184:4,18,23         consultation           57:5 73:18         111:8 112:24
   confirmed 39:6          48:20                77:5 111:20        113:5 114:14
   conflict 12:25        cont 3:2 4:2           160:20 162:14      114:18 116:18
   confused 12:19        contacted 42:5         162:16,19        costs 51:22
     13:12 40:19         contain 50:12          163:3 179:4,24     57:3,10,11
     58:20 81:13         contained 54:3       cool 87:8            110:21 111:10
   confusion 9:14        containing           coordinate           111:14,19
     81:2                  69:21                177:18             112:4,6,20
   conjunction           contested            coordinated          113:8,13,19,22
     24:7 100:15           163:16               45:12 85:11        113:25 114:11
     177:22              context 90:10        corey 4:7            114:24 115:4
   connection              92:15,16           corey.brady          115:12,22
     22:3 160:25                                4:7                116:5,6,22

                                 Veritext Legal Solutions
   212-267-6868                    www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 203 of 236

  [costs - depending]                                                      Page 13

     177:12,22          creditor 18:13               d            96:19 98:2
     178:9,13,15,17       19:22 96:19        d 187:2              100:16
     178:20 179:3,7     creditors 2:20       d&v 63:17          debtors 1:8
     179:16 180:2,4       3:4,22 5:16 7:3      84:11 111:4        96:16 97:6,7,9
     180:6                15:7 18:16           158:14 160:2       97:14,18 98:9
   counsel 5:14           91:10 96:3           160:12             98:16
     9:3 10:9 20:12       97:3,13 98:6       d.c. 2:5           decades 119:8
     20:21,22 21:8        98:18,23 148:7     damage 86:10         123:15
     21:9 24:8          current 90:6,14        86:21 88:20      december
     72:19,20 110:8       91:4,7 145:16      damages 35:16        74:19,24 76:7
   counterparties         145:22 148:3,8       51:25 57:4,21    decide 79:2
     177:18               148:16,20,25         82:2 84:25       decided 63:21
   counterparty           149:20 153:19        86:15 87:20        133:14
     178:19               172:9,15             110:23 139:21    decision 161:2
   country 189:4          182:20               185:23             173:24
   couple 153:6         currently 91:16      dash 61:15         defensible
     180:20               99:7 114:21        database 35:4        109:14
   course 21:20         cushion 41:16        date 10:3 12:15    define 56:16
     76:18 77:16          41:17 52:25          21:24 47:6         104:8,12,15
     101:12               53:5 55:10           56:10,12 75:17     128:6 164:11
   court 1:2 5:19         58:4 59:13,14        78:2 92:24         175:5
     6:2,14 17:17         63:23 64:3           188:8 189:8      defined 7:11
     17:21 18:2,2,3       65:25 66:2,5       dated 12:8           25:16
     18:8 19:5 31:8       79:21 88:7,24        81:13,14         definitely
     36:25,25             89:8,10,13,17      dates 74:18          170:24
     104:22 128:8         89:25 107:4        day 63:16 64:7     degree 15:21
     140:3 162:5          108:23,25            112:3 124:7        15:24
     163:17 164:8         133:20 134:3         160:7 172:9,15   degrees 15:16
     164:16 182:12        134:11 155:20        180:24 186:19      16:3
   courts 162:6           159:6 162:7          189:23           department
   cover 7:10             164:5,6 165:15     deal 18:19           122:23 137:10
     56:13 64:4           173:8,19             21:19 33:25      departments
   craddock 4:19        customer 25:25         74:12              122:5,15
   created 167:23       cwt.com 2:12         debtor 1:15        depending
                                               15:7 18:13         105:25 106:4

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 204 of 236

  [depending - different]                                                  Page 14

     173:16              13:11 26:10,15      determined          diaz 20:13,24
   depends 29:17         43:11,16 60:14        22:23 24:6          23:22 34:7,13
   depo 115:18           68:25 74:2,11         62:7 66:12          34:15,25 35:3
   deponent 189:8        75:11 77:8,13         68:11 106:9         36:19 37:13,14
   deposed 8:5,15        77:22 78:3            117:3 144:24        37:18 38:8
   deposition 1:18       87:7,12 93:14       determining           40:6 45:13,25
     5:13,22 7:21        93:19 94:4            19:3 79:12          46:3 48:4,21
     8:8 9:23 11:10      95:9 99:4             91:3                50:4 52:3,10
     12:12 16:18         103:20 110:17       developed             52:14 54:2
     87:18 147:21        149:8 154:5           48:13 87:25         59:20 62:17
     149:8 187:12        185:17 187:6          106:23 125:21       69:16 70:21
     189:8             detail 24:9,12          126:6,13,16         71:9 72:4 73:9
   depositions           28:7,13 55:23         174:14 177:6        73:21,22 84:10
     8:20                63:11 115:11        developing            84:16,20 85:5
   depository 7:12     detailed 119:5          178:9               85:11 89:20
     7:17,23           details 19:14         development           108:6 117:13
   derived 58:6        determination           51:22 57:3,10       123:25 124:14
     105:17              17:8,13,17            57:11,12,15         124:18 125:17
   deriving              22:13 34:18           77:18 111:19        127:6 139:3,17
     171:24              36:20 102:2           112:2,4,6,15,20     140:5,12 158:5
   describe 16:23        117:7 173:21          113:5,13,19,22      158:25 160:20
     164:17 166:21     determine 18:8          113:24 114:11       161:16
   described             18:15 19:9,15         114:14,18         dictates 90:18
     164:5 173:22        19:17 23:16           115:4,12,22       differ 106:12
   description           24:13 25:11,13        116:5,6,18          109:19
     187:11              37:6,12 44:25         175:21,23         difference
   designate 11:19       49:14,23 68:17        176:9,18,21         60:10 67:21,24
   designated            91:6 93:5             177:6,12,17,21      107:16 128:23
     115:6 149:15        119:25 120:2          178:4,9,17,20     differences
   designee              120:14 121:23         179:3,7,15          96:22
     149:10              122:16 137:10         180:2,4,5         different 43:6
   designs 177:19        148:24 149:19       developmental         81:9 98:8,18
   despins 3:6           173:9 178:6           110:20 111:8,9      106:5 122:15
     6:21 7:2,8 9:22     179:6 182:18          111:13 112:24       134:21
     12:3,11,20                                113:8 114:24

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 205 of 236

  [differentiation - earlier]                                              Page 15

   differentiation     discounted            disputing 141:7      89:4,12 124:5
     99:2                154:13 156:12       distraction        dollars 91:10
   differently           156:13 167:13         129:20 131:11      128:17 155:13
     96:18               167:15 169:13         132:8            domain 137:19
   direct 21:25          169:14 171:4,9      distribution         138:12 184:12
   disallowed 29:6       171:15,24             38:4 122:22      draft 147:20
     29:22,24 30:18    discounts             district 1:2,2     draw 11:9
     30:19 64:15         167:23                5:19,20 18:3       14:24
     165:3,5           discuss 22:4            36:25            drill 107:14
   disaster 13:14        70:5 137:18         divided 139:20     due 136:4
   disclosed           discussed 52:7        docket 7:15        duly 6:17 188:8
     183:17              72:2 110:18         document 10:2      duplicate 27:3
   disclosure            111:2 163:12          12:14 21:23      duplicates
     46:19 48:8          175:20                47:5 49:23         26:25 27:6
     50:7 53:11        discussing              75:16 77:25      duplicative
     56:23 74:16,21      174:19 175:3          80:9 183:17        110:6 135:6,9
     74:23 75:5        discussion 7:15       documentation        135:10
     120:21 126:17       48:9 50:8             64:11 117:4,9            e
     129:2 137:23        154:9                 117:12,17,19
                                                                e 2:2,2 3:2,2 4:2
     138:6 141:16      discussions             117:20
                                                                  4:2 6:16,16
     141:19 147:22       52:3,14 59:20       documents
                                                                  22:2 69:18,23
     187:16,18           63:16 105:7           10:12 20:2
                                                                  70:2,3,9,10,12
   disclosures           108:3 110:8           85:10 112:18
                                                                  70:16,21 71:9
     148:12 183:15       118:10 165:11         119:17 140:12
                                                                  71:21 74:4
     187:14              183:3                 147:5,8 168:20
                                                                  187:2,4,9,20,20
   discount            disposition           doing 13:7,8
                                                                  188:2
     157:16 161:2        107:9                 19:6 70:15
                                                                earlier 78:7
     165:19,25         dispute 56:2,3          81:22 97:9
                                                                  81:25 99:15
     168:3 170:3         56:4,4 140:20         113:12 122:17
                                                                  103:20 117:16
     171:14 172:4        152:6                 123:14 165:18
                                                                  124:13 153:7
     172:11,12,16      disputed                165:24 185:5
                                                                  154:3 160:19
     172:19 173:13       142:23,25           dollar 30:5
                                                                  170:23 174:19
     173:23,24           163:16                42:5,14,14
                                                                  175:4 176:6,13
     176:7             disputes 72:17          68:22 86:23
                                                                  181:16 183:13
                         72:18                 87:18 88:18
                                                                  185:13,16
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 206 of 236

  [early - estimates]                                                      Page 16

   early 18:11          employee 64:8           3:19,24 4:7,12   estimated
     85:6 180:23          118:21 120:3        essentially 38:5     11:12 15:6
   earn 112:8             133:25 134:13         56:25 57:20        19:4 22:6
     178:19               135:16,21             58:2,16 114:4      47:19,20,22
   earning 178:21         136:18,23             115:11 118:16      48:2,3 51:2,11
   easier 61:8          employees               125:20 131:9       56:15,19 58:7
   easy 38:11             24:17 38:7,10         131:10 132:2       59:3,4,23 64:9
   economic 15:16         62:23,25 63:20        152:15             71:11,11,12
   edit 14:15             111:22 119:6        establish 9:13       75:24 76:23
   eduardo 71:22          121:20 122:17         20:4,6 85:12       79:19 80:3,22
   education              123:13 124:3          173:19             86:24 102:20
     15:19                124:18 129:4        estate 98:3          103:22 104:2
   effect 31:8            133:3,6,17          estimate 17:3        104:16,18
     104:10               179:5,25              17:23 18:22        106:7,8,12,12
   effectively          energy 96:11            22:19 23:7         106:15 107:17
     156:11             enjoyed 62:11           30:8 32:24         108:21 109:17
   effort 177:23          132:3                 33:17 37:6,8       109:20,21
   efih 96:11           ensure 42:11            38:19 41:11,17     110:11 113:15
   either 50:23           59:13 63:22           42:8,25 44:10      114:3 122:12
     51:24 102:10         65:24 66:4            44:17 45:6,22      125:5 129:16
     108:3 110:6          79:20 98:12,14        64:3 66:2          129:23 132:16
     126:13 144:15        108:24 159:5          76:13,16 77:19     135:20 136:14
     158:6 162:4          163:15                79:15,15 82:4      137:24 139:14
     175:12 182:11      entire 9:9              82:10 83:12        139:14 141:21
   electric 1:14        entities 143:3          106:22,24          143:5 155:8,22
   electricity            150:2,5 151:25        107:16,22          155:23 156:20
     152:19               152:2 183:4           108:2,10,23        160:14 164:2
   emanuel 2:14         entitled 142:15         109:4 122:6        184:10,14
     95:2                 142:19                125:4 130:22     estimates 35:4
   emergency            entity 28:13,18         154:14 155:12      35:23 76:18,20
     121:13             equal 53:18             155:25 156:2       82:14 97:14
   eminent 137:19       equals 125:25           159:7 161:2        108:2 134:9
     138:12 184:12      errata 189:2            162:25 163:21      136:8 158:24
   employed             esq 2:6,12,17           177:12             159:25 182:24
     169:5 188:13         2:22 3:6,7,8,13

                                 Veritext Legal Solutions
   212-267-6868                    www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 207 of 236

  [estimating - expertise]                                                 Page 17

   estimating          evaluated               127:4,12            157:11 183:13
     16:19 32:23         37:11 39:7            139:19 166:3        183:22 184:5
     83:14 108:25        40:5 42:6 62:6        175:10              184:25 187:11
     123:9 126:24        99:18 158:6         examples 27:23        187:12,13,14
     136:2 140:25      evaluating              121:6               187:15,15,16
   estimation            29:14 36:12         exchanged             187:18
     16:18 17:2          45:14 63:19           69:23             exhibits 7:9
     18:14,20 23:2       70:14 72:9          exchanging            13:16 81:11
     45:19 46:5          85:7 125:18           179:18              148:13
     48:12 49:5          140:10 141:4        exhibit 9:23        existed 50:18
     56:24 58:4        evaluation 98:4         10:2,5,6,7,11     existing 153:21
     70:24 75:6        event 137:15            10:11,16,17,18    exists 59:23
     79:11 113:9,10      163:17 185:23         11:4,9 12:12      expect 115:8
     114:23 129:19     eventually              12:14,18,18,23    expectation
     129:22,22           117:18                12:23 13:2,13       23:24
     132:20 137:21     everyone's              13:20,22,23       expectations
     138:5,9 145:5       117:10                14:6,7,11,12,18     76:22
     145:10 147:10     evident 21:5            14:19,23,24       expected
     158:7 165:18        168:5                 21:23 46:19,20      109:14 184:6
     165:24 169:11     exact 95:18             47:5,7,8 56:14    expecting
     170:22 171:5        171:20                64:19 65:7          168:15
     172:9,14 174:2    examination             74:14,15 75:10    expense 90:14
     174:23 181:8        6:20 94:22            75:12,14,16,19      91:3,6,7
     181:23,24           153:2 185:11          77:23,25 78:4       145:17,22
     185:22              187:5                 78:7,21,22          148:3,9,16,20
   et 1:7 5:18         examined 6:19           79:4 80:10,24       148:25 149:20
     98:24 177:14      example 8:22            81:12 82:9,25     expenses 90:6
     189:7               26:6 28:9,11          86:7,8,8,9,24       90:18 91:4
   evaluate 18:22        30:22,24 31:4         87:16,17          experience 34:7
     19:8,13,24          33:22 40:7,9          101:11,14,16        123:15
     20:19 34:17         41:21 42:3            101:19 103:23     expert 16:11
     39:3,10 82:5        60:4 96:10,25         115:18 125:4        183:14
     98:2,20 124:19      97:2,4 105:18         129:15,23         expertise 18:6
     130:6 133:8         106:16 119:22         134:15 147:21       18:21 34:21,21
     158:9               120:18 122:7          147:21 154:22       45:5 49:14,22

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 208 of 236

  [experts - focus]                                                        Page 18

   experts 45:13         64:12 66:18            173:12              125:22 126:17
   expires 189:25        81:25 128:20        figure 33:9            126:19,24
   explain 56:20       factor 161:25         figuring 107:21        189:6
   explained             173:13              file 66:18          financially 6:7
     149:8 176:12      fair 39:14 56:6          182:21           find 33:14
     178:23              97:12 99:3          filed 5:18 25:7        35:23,25 65:10
   explicitly 50:13      104:3,4 105:24         28:21 29:8          86:9 163:17
   exposure 82:21        106:3 109:3            31:15 36:7          164:8
     174:7               110:21 120:24          39:3 41:12,16    fine 79:10 96:8
   expropriation         120:25 142:21          44:6,14 49:10       100:13 150:20
     70:14 138:16        181:19                 65:11 66:17      finish 157:5
     139:2,9 140:3     fall 110:18              74:21,23 76:6    firm 6:4 64:20
   extent 27:11,17     familiar 90:5            82:9 88:6           64:23,23 65:8
     36:6,13,17          129:5 137:21           92:17 93:12         65:11 66:12
     39:9 41:3,17      family 20:18             98:25 105:14        67:13 69:15
     43:9 51:23        far 28:25                118:9,13,13         71:24 72:4
     55:11 63:23         102:14 106:21          138:15 140:2        77:17 143:20
     65:18,21,23         116:17                 142:2,3 143:3    firms 21:15
     68:10 79:16       fault 128:14             148:11,13        first 6:17 8:8
     89:25 91:23         170:24                 150:22 151:2,7      12:4 14:19
     99:24 105:21      february 74:19           151:8 165:9         15:15 19:7
     108:15 109:23       80:16 81:14,17         167:4 179:24        34:11 36:8
     119:21 120:9      federal 140:22           181:18 182:7        37:2 47:24
     158:2 159:7         140:25 141:10       files 34:12,12         111:15,17
     160:4 173:6         141:24 142:23          34:16,17 140:6      117:2 154:4
   extrajudicial         143:8,13               158:8            fits 64:24 65:11
     139:25              184:14              filing 92:22,24     five 93:15
   extrapolated        fee 116:6             final 102:2         fix 11:6 13:3,6
     88:15             feel 8:25 49:21       finally 183:12         13:14 14:22
   extrapolating         121:18              finance 4:4            121:14
     89:3              felt 41:4,18             122:23           floor 2:5
            f            59:7 65:19          financed            flows 171:24
                         110:4,5 134:2          178:25           focus 29:21
   f 188:2
                         161:20,24           financial 1:5,11       40:10
   fact 42:18
                         165:12,14              3:16 5:17
     50:11 53:10
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 209 of 236

  [focusing - going]                                                       Page 19

   focusing 63:18        182:4 183:8,21      futures 96:11      given 54:23
   folder 10:7,14      formal 95:16                  g            64:10 109:8
     13:23             formula 122:10                             161:8 162:20
                                             gather 123:5
   folks 49:2          found 128:8                                186:6
                                             gears 90:4
     111:21            foundation                               gives 18:21
                                               154:2 175:18
   follow 81:15          78:24 80:19                            giving 17:22
                                             general 11:14
     153:6 176:15        86:13 87:4,10                          go 5:11 8:18
                                               11:18,24 22:7
   followed 23:6         88:23                                    14:16 15:14
                                               22:19 24:20
   follows 6:19        four 93:22                                 18:24 19:2,6
                                               28:24 32:16,20
   fomb 92:19          frame 133:4                                35:20 55:20
                                               46:17 75:21
   foot 128:14         framework                                  56:22 61:6,8
                                               76:24 99:11,12
   foregoing             15:11                                    64:18 92:3
                                               104:23 108:25
     188:7,9           frankel 2:3                                94:8 101:13
                                               137:12 139:12
   form 30:4 34:4      free 8:25                                  106:17 116:2
                                               141:15 144:11
     36:5 37:10        freeze 32:20                               118:5 119:24
                                               144:16,18
     38:21 39:25       frequent 38:11                             120:4,12,13
                                               147:11,14
     43:9 44:23        front 74:15                                121:25 123:4
                                               157:12 178:24
     45:21 46:8        fuel 4:10 144:2                            124:18 129:14
                                               184:11
     49:18 51:16         144:7 145:5,7                            131:25 141:16
                                             generally 55:18
     53:24 54:12,19      145:15 146:11                            145:24 154:24
                                               55:21 57:11,16
     55:2,20 60:8        146:16,22                                164:9 167:7
                                               71:3 76:21
     65:3,14 66:22       147:9,19,25                              173:9,11
                                               90:23 144:3
     68:21 90:12         148:17                                   177:16
                                             georgia 2:21
     97:21 103:13      full 57:17 61:17                         god 32:18
                                             getting 10:10
     104:14 107:24       130:16 142:15                          goes 105:2
                                               29:4 68:3
     109:10 129:11       142:20                                 going 5:3 8:22
                                               90:19 122:18
     136:12 153:15     further 52:9                               10:25 12:24
                                               178:2
     157:22 161:14       94:5 137:9                               19:24 30:7
                                             giarro 1:22 6:3
     162:22 166:19       188:12                                   38:14 39:20
                                               188:5,18
     166:25 168:22     future 149:2                               43:17 44:12
                                             give 13:15 28:7
     169:17 170:7        166:16,22                                46:15 75:9
                                               30:22 76:9
     171:7,17 172:7      168:14 171:24                            76:9 80:24,25
                                               89:12 116:8
     172:23 174:4        174:20,24                                86:16 89:11
                                               127:12 143:23
     175:2 176:2,23      175:5,12                                 93:21 115:17
                                               166:2
     177:9 181:11                                                 119:8 125:3

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 210 of 236

  [going - identify]                                                       Page 20

     137:11 159:6        178:12              head 8:22         higher 14:12
     166:9 171:20      group 2:4             health 62:12,21     33:5 41:19
     176:14 179:17       110:3 125:17          63:8 128:11       52:23 55:13
     179:18 180:22       125:19,20,22          130:8 133:13      88:14 91:18
     183:8               144:5 163:9,9       hear 20:20          100:11,23
   good 5:2 6:22       guarantee 2:15          63:14 77:22       108:15 155:18
     6:24 33:7           4:5 95:3            hearing 183:19    highest 25:20
     57:13 94:24       guaranty 2:9            183:24 184:4      156:15,17
     153:4               2:10                  184:19,23       highly 131:21
   gotshal 4:4         guess 76:5,8          held 1:19         history 24:15
   gotten 43:6           78:7 122:12         help 23:23        hoc 2:4
     99:16 158:8         125:16 161:8          43:18 124:15    hold 46:15
     178:12            guidance                154:22            89:11 148:8
   governed 83:24        161:16              herring 4:12        151:21
   government          guys 84:12            hey 70:15         hopefully
     150:5,24                  h               130:4             143:24
     151:20                                  hi 153:5          hoping 14:21
                       h 6:16 187:9
   governmental                              hiato 126:11      hours 115:10
                       half 29:10
     150:2,14 151:7                          high 47:20 48:3     119:25
                       halfway 30:10
   great 93:18                                 52:23 56:18     houston 2:16
                       handle 32:6
   grievance                                   58:20 59:3,6    hr 63:18 120:4
                         33:17,21
     70:12 81:23                               61:16,24 62:3     137:9
                       handled 72:22
     83:6 84:17                                71:12 79:15              i
                       handling 72:13
     85:15 86:15,18                            80:3,11 81:7
                       hanging 13:25                           identification
     102:12 103:9                              81:16,18 82:4
                       happen 164:15                             10:3 12:15
     118:9,13,20,25                            82:21 83:7,15
                       happened                                  21:24 47:6
     120:15,15                                 83:22 89:16
                         81:20                                   75:17 78:2
     121:3 123:7,10                            106:22 109:17
                       happening                               identified
     123:17 125:10                             109:21 110:11
                         10:21 182:19                            27:13 36:18
     125:12,14                                 125:5,10,25
                       happens 36:10                             40:13 41:24,25
   grievances 81:4                             130:15,20,22
                       hard 30:8                                 42:4 62:24
     81:16 83:24                               136:7 139:14
                       hastings 2:19                             111:18 115:3
     84:25 85:2                                155:18,22,25
                         3:3                                     135:12 136:22
   ground 31:15                                156:2 165:13
                       hats 9:8                                identify 25:8
     124:6 174:14                              173:7
                                                                 27:9 28:10
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 211 of 236

  [identify - invasion]                                                    Page 21

      34:11 51:23           138:4 147:4,10     industry 95:14     insufficient
      135:10 148:15         147:14,20          information          117:4,9,11
      159:21                155:25 156:9         7:11,16 24:15    insurer 95:7
   identifying              162:15 167:6         62:18 79:7       interaction
      140:6                 169:21 170:17        93:5 110:2         21:14
   ignore 35:24             177:11 178:2         114:5,23 115:2   interest 74:8,9
   iii 143:3                179:7 180:2          117:21 119:12      142:7 147:3
   illinois 3:18          includes 41:15         123:5 133:7      interested 6:8
   imagine 17:13            45:23 126:2          161:23 162:19      26:22
      30:9 84:7           including 20:12        183:10           interesting
      103:19                137:8 162:14       informed 59:19       80:14
   immaterial               162:15               105:7,8 164:25   internal 82:21
      68:8,18             incorporate          initial 25:9       internally
   immediately              35:3                 100:20 167:8       122:20
      96:25               incorporated         initially 23:10    international
   impact 137:13            24:20 86:21          41:23 42:13        3:22
   impacted 62:25           95:3                 113:14 171:21    interpose 9:5
      63:20               increase 66:3        input 34:24        interposes 9:3
   include 62:21            90:3                 45:25 69:15      interrupt 32:21
      70:4 105:6          incremental            71:13 84:17,18   interrupting
      110:10,23             63:7               inputs 48:23         8:13
      114:7 118:21        incurred 63:9          58:8             intricately
      126:7,8,9             177:22 178:14      inputted             124:2
      133:19 134:25         179:16 180:6         169:10           introduce
      135:2,3 155:13      indenture            insights 71:14       10:22 12:24
      184:7                 90:17                73:20 139:4      introduces
   included 19:14         independent          instance 37:2        14:14
      23:9 24:20            123:20,24            83:4 107:11      introducing
      38:18,24 40:4       indicated 42:19        120:20 121:22      10:23 14:2
      41:15 42:7            188:9                136:3 168:12     invalid 24:2
      82:3 88:2           individual           instances          invalidity
      90:16,17 93:7         86:17 89:22          179:10,11          109:6
      110:6 130:21          104:25 108:4       instructed         invasion
      133:23 134:22       individually           128:9              121:10
      135:5 136:15          68:9

                                  Veritext Legal Solutions
   212-267-6868                     www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 212 of 236

  [inverse - law]                                                          Page 22

   inverse 137:19      jtomic 2:7        59:7,18 63:4            20:16 148:19
     138:12,16         juan 71:2 124:7   66:2 76:6,18            148:22 151:14
     184:13            judgment          78:15,19 79:13          151:17,20
   investigation         59:11,15,17     79:14,22 82:12          181:2
     176:20 177:2        83:13,19 128:3  84:4,5,6 85:21        knows 91:25
   invoiced              162:9           86:4,4 90:16          kramer 2:3
     112:19 113:7      judgmental        90:21 91:13             94:14 153:5
   invoices 31:3         161:22          95:4,9,18               185:7
     93:4,7 115:9      june 32:8         96:14 97:5            kramerlevin....
   involve 7:10        justify 83:14     99:24 102:8             2:7
   involved 18:14        98:10           103:18 104:10         kroll 25:7,16
     18:18 34:9                k         104:21 106:22           42:5,18
     91:14 95:17                         108:13 116:8          kwhitner 2:23
                       k 2:5 6:16,16
     111:23 119:6                        117:25 118:22                 l
                       katz 4:10
     122:4,4 123:14                      120:10 124:17
                       kdc 164:22,23                           l 6:16
     124:2 125:18                        128:5 129:12
                         165:7                                 label 12:22
     126:23 127:3                        130:4 134:2
                       kelly 2:17                              labeled 10:16
     138:8 140:24                        141:8 142:18
                         94:12,23,25                             14:20
     141:3,5                             142:22 143:10
                         101:13 145:24                         labor 118:11
   irs 142:2,3,11                        143:16,18
                         152:22 153:7                            119:15 122:14
     142:14 143:21                       144:8,11,15,17
                         187:6                                 lack 64:10
   isolated 140:11                       144:21,23,25
                       kind 9:13 19:25                         language 51:8
   issue 44:12                           145:7 146:23
                         73:19 103:3                           large 24:19
     64:19 87:10                         147:16 150:11
                         110:18 134:19                           29:12 30:11
     178:14                              150:21 151:24
                       know 11:3 13:3                            124:5
   issues 14:2 16:5                      152:5,21
                         14:8 17:21                            larger 40:7
     88:9,12 135:4                       162:13,24
                         22:18 26:12                             102:3,15
   item 43:19,22                         164:8,11
                         27:7 29:8,9,11                        largest 39:19
     44:2 81:3,8                         171:21 172:2
                         29:17 30:10                             39:19 40:10
   items 82:15                           172:10,18
                         31:10,11 33:3                         late 85:6
           j                             173:3,5 174:15
                         33:13 36:10                           laura 3:24
                                         175:22 179:21
   jane 2:6 94:13        37:15 38:2                            law 21:15
                                         182:13
     153:4               45:2 46:18                              52:11 54:7
                                        knowledge
   job 96:17             49:24 50:25                             57:6 73:13
                                         9:12,15,18
     122:18              52:25 55:21                             83:25 139:8
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 213 of 236

  [law - looked]                                                           Page 23

     143:20 160:22     liberty 2:10          listen 130:4           164:17 166:9
   laws 136:25         license 126:8         lists 115:4            175:18 176:12
   lawyers 21:16          126:14 127:4          137:24           llc 189:2
     21:17                127:16 135:3       litigating 141:6    llp 1:20 2:3,9
   learned 139:25      licenses 137:3        litigation 21:20       2:14,19 3:3,11
   legal 6:4 16:7         180:7                 26:5 33:22          3:15,21 4:4
     17:11 21:20       licensing                34:6,8,19           5:23
     34:18,21 49:23       179:19                35:11,14,17      loans 144:6
     55:25 71:16       lieu 152:18              36:14 40:8,10    located 1:20
     84:3 90:12,15     likelihood               45:8,11,14,16    location 5:21
     90:22 108:6          130:25 131:15         45:24 52:22      long 171:9
     113:2 122:22         154:14 161:3          53:2 54:16,21    look 9:15,16
     131:22 142:17        163:12 183:4          54:24 55:7,11       40:21 41:6
     144:20 145:19     likely 178:10            55:16 56:5          47:10 65:8
     149:4 186:10      line 4:10 43:19          60:13 61:9          68:13 71:6
   legally 128:5          43:22 44:2            69:25 70:5,18       78:5 86:7
   lenders 4:10           61:6,9 81:5,16        72:10,13,14,19      97:13 106:17
     96:13 144:2          82:25 88:3,18         102:13,14           108:9 120:13
     145:5,8,16           115:16,17             103:9 105:19        121:25 133:12
     146:12,16,22         129:16,23             108:19 127:22       141:14 150:17
     147:9,19 148:2       130:16 134:15         129:15 154:15       157:23 168:10
     148:17               144:2 145:5,8         157:24,25           174:17
   letting 13:7           145:16 146:11         158:12,18,22     looked 23:14
   level 25:20,23         146:16,22             159:13,20           23:18 24:12
     39:12 52:25          147:9,19,25           160:15 161:4        27:7 39:12
     97:19 98:4           148:17 155:8          164:10 173:17       40:12,12,15,17
     120:2 152:7          157:23 187:22      little 40:19           40:22 41:2
     161:22 165:13        189:9                 91:18 95:10,12      44:25 47:3
   levin 2:3 94:14     lines 60:17              98:7,17 99:5        51:20 57:22,23
     185:7             lipton 4:10              100:10 103:21       68:11 83:14
   liability 27:22     liquidated               104:9 107:15        100:16 111:10
     28:6,14,18           36:15                 110:15 116:25       133:22 137:5
   liable 28:19        list 12:8 159:19         117:15 135:22       140:12 145:7,8
     63:7                 187:13                137:17 146:11       145:11 146:19
                                                154:2,22            146:21 147:2,4

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                     516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 214 of 236

  [looked - mark]                                                          Page 24

     153:12 158:22       172:4,21 173:4      luma's 115:14      management
     158:23 161:20       173:11 174:12       lunch 146:5,10      1:5,11 3:16
     168:24 169:19       175:10                      m           5:17 49:2
     169:20,20         lot 24:22 42:16                           111:21 179:5
                                             m 6:16 187:4
     171:21 175:13       97:9 105:11                             179:12 189:6
                                             made 15:5 22:6
   looking 63:18       louisiana 2:16                           managerial
                                               22:13 51:3,10
     73:20 76:23       low 47:19 48:2                            134:24
                                               53:22 92:9
     78:10,21 86:16      52:20 54:13,14                         manges 4:4
                                               93:2 108:20
     87:16 96:6          55:14 56:17                            manner 128:25
                                               117:8 142:4,10
     106:2 118:21        58:19 59:2,6                           march 12:8
                                               162:9 173:25
     118:23 133:10       61:12,24 71:11                          80:17 81:13
                                               179:8
     140:5 170:20        78:10 79:14,24                          82:9
                                             madison 3:17
   looks 10:13           80:3,11 83:7                           mark 1:18 5:13
                                             magnitude
     13:25 76:6          83:11,14,21                             6:1 7:1 8:1 9:1
                                               89:13 133:9
     136:3,6             89:16 106:13                            10:1 11:1,19
                                             mails 69:18,23
   loss 129:4            106:18,23                               12:1,17 13:1
                                               70:2,3,9,10,12
   lost 50:14            107:16,22                               14:1 15:1 16:1
                                               70:16,21 71:9
     51:22 52:2,6,8      108:2,10,23                             17:1 18:1 19:1
                                               71:21 74:4
     52:12,18 53:6       109:4,14                                20:1 21:1 22:1
                                             majority 39:8
     53:9,20 54:5,9      129:16,23                               23:1 24:1 25:1
                                               39:11 50:12
     55:9 57:3,19        130:14 136:7                            26:1 27:1 28:1
                                               51:5,6 53:12
     58:15 110:19        136:13,14,15                            29:1 30:1 31:1
                                               118:2
     111:3 119:23        137:6 139:14                            32:1 33:1 34:1
                                             make 9:13
     130:6 154:6,15      140:3 155:5,8                           35:1 36:1 37:1
                                               12:25 17:7,12
     155:6,9,14          155:12 165:14                           38:1 39:1 40:1
                                               35:12 36:19
     156:6,12,20       lower 79:23                               41:1 42:1 43:1
                                               41:8,8 42:21
     157:19 160:18       81:9                                    44:1 45:1 46:1
                                               47:25 53:2,4
     160:23,25         lstafford 3:24                            47:1 48:1 49:1
                                               65:6 75:11,14
     161:4 163:13      lts 1:3,9 5:21                            50:1 51:1 52:1
                                               98:10 107:11
     163:19 164:22     luc 3:6 7:2                               53:1 54:1 55:1
                                               115:15 124:20
     165:6 166:13      lucdespins 3:7                            56:1 57:1 58:1
                                               134:10 155:2
     166:13 167:4      luma 24:16                                59:1 60:1 61:1
                                               169:24 175:6
     168:11,18           37:17,21 38:4                           62:1 63:1 64:1
                                               182:22 185:14
     169:2,11,22         38:9,10 111:22                          65:1 66:1 67:1
                                             making 17:17
     170:3,14,20                                                 68:1 69:1 70:1

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 215 of 236

  [mark - middle]                                                          Page 25

     71:1 72:1 73:1     150:1 151:1          maximum           member 63:9
     74:1 75:1 76:1     152:1 153:1           82:17             121:11 128:23
     77:1 78:1 79:1     154:1 155:1          maza 3:8           133:25 134:4
     80:1 81:1 82:1     156:1 157:1          mean 16:24        members
     83:1 84:1 85:1     158:1 159:1           23:9 25:5         130:11
     86:1 87:1 88:1     160:1 161:1           36:23 37:13      memory 46:23
     89:1 90:1 91:1     162:1 163:1           45:12 54:20      memos 70:4
     92:1 93:1 94:1     164:1 165:1           59:15,18 76:5     71:17 74:5
     95:1 96:1 97:1     166:1 167:1           78:11 96:22       160:12
     98:1 99:1          168:1 169:1           102:22 103:7     mention 20:23
     100:1 101:1        170:1 171:1           112:10,22         21:2 120:21
     102:1 103:1        172:1 173:1           113:3,6,8        mentioned 20:8
     104:1 105:1        174:1 175:1           146:21 155:7      24:25 26:17
     106:1 107:1        176:1 177:1           163:9 166:3,17    28:16 54:15
     108:1 109:1        178:1 179:1           171:18 174:5      64:12 69:14
     110:1 111:1        180:1 181:1           176:9             99:15 100:14
     112:1 113:1        182:1 183:1          meaning 39:18      107:21 124:13
     114:1 115:1        184:1 185:1           51:5 53:14        163:23
     116:1 117:1        186:7,15 188:7       means 16:21       mentioning
     118:1 119:1        189:8,22              90:9,21,23        21:16
     120:1 121:1       marked 10:2            113:11,11        merit 183:6
     122:1 123:1        12:14 21:23           140:2            merits 26:24
     124:1 125:1        47:5 75:16           meant 17:16        28:21 70:6
     126:1 127:1        77:25                 38:12 150:7       71:15,20 72:2
     128:1 129:1       marking 69:4           154:25 167:17     72:12 73:4,8
     130:1 131:1       marks 69:8            measurement        73:23 84:18,19
     132:1 133:1        146:3                 29:18            met 6:25
     134:1 135:1       martinez 4:20         meat 24:22        microphone
     136:1 137:1       massachusetts         mechanical         8:11
     138:1 139:1        3:23                  120:24 121:4     microphones
     140:1 141:1       master 81:4            122:7 125:23      5:5
     142:1 143:1        164:24                125:24           middle 47:21
     144:1 145:1       matter 5:16           media 5:12         56:14 58:22,24
     146:1 147:1        63:13                 69:5,9 146:4,8    78:14,15,17
     148:1 149:1                              186:8             79:3 80:21

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 216 of 236

  [middle - new]                                                           Page 26

    103:23              140:16 141:13        morning 5:3          171:14
   midpoint 57:25       141:18,21              6:22,24 94:24    ne 2:21
    58:12,14 79:25      143:4 146:25           154:3            necessarily
    80:5,7,11 83:6      151:5,17             move 8:10            27:21 70:23
    83:8,17 104:3       155:11                 108:18             83:20 110:5,9
    104:5 107:3        millions 91:9         moving 42:16         112:4 114:8
    136:7 156:23       mind 12:16              74:13 85:17        121:16 124:4
   midpoints            96:24 97:17            102:18,21          140:19
    58:13 80:2         mineola 189:4           103:11           necessary
   million 22:9,14     minus 125:24          muhlenberg           80:15,16
    22:20 23:7         minute 93:15            15:21              126:16
    30:25 32:23        minutes 93:22         multiple 68:5      need 9:12 10:5
    33:6,16 35:2,7     mischaracteri...      municipal 2:10       37:24 79:3
    35:16 37:8          72:15                municipalities       90:2
    38:19 41:11,14     mischaracteri...        150:23           needed 114:22
    42:2,8,25           43:10 71:19          municipality         121:16
    44:10,17 45:19      73:6 99:20             150:25 152:17    needle 102:19
    45:23 46:5          102:7                music 15:19          102:22 103:11
    61:19 62:4         mischaracteri...      mute 5:8 26:11     needs 113:25
    63:12 75:7,25       43:14                muted 26:4         negotiating
    76:13 78:11        missing 80:9          myers 3:11           143:21 177:13
    91:17,17           mistake 150:9                 n          negotiation
    115:25 116:5,9     misunderstood                              144:22
                                             n 2:2 3:2 4:2
    116:9,12 125:6      55:3                                    neither 73:4
                                               6:16 187:2,4,4
    126:20 127:25      model 34:25                              never 118:14
                                               188:2
    128:16,17           35:5                                      174:13 177:5,6
                                             n.e. 2:21
    130:17 131:3,7     modifications                              178:11
                                             naftalis 2:3
    131:17 132:10       108:20                                  new 1:21,21,24
                                             name 5:25 6:25
    132:17,20          modified 42:6                              2:11,11 3:5,5
                                               94:25 142:9
    133:23 134:8       molner 3:13                                3:12,12 4:6,6
                                               189:6,8
    134:17 135:22      moment 143:23                              4:11,11 5:23
                                             national 4:4
    135:23 136:2       money 131:5                                5:23 6:18
                                             nature 34:11
    136:19 137:7       moneys 145:13                              128:25 189:2,4
                                               41:7 62:6,19
    137:25 138:22      monoline 95:7                              189:4,4
                                               108:7 111:25
    138:24 140:9
                                               137:12 159:4
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 217 of 236

  [nicely - office]                                                        Page 27

   nicely 26:16          156:19 158:20         28:2,5,25          166:24 168:21
   nicole 3:13           158:21 164:13         29:10 30:13,20     169:16 170:6
   night 66:8            164:19 168:25         31:5,24 56:9       171:6,16 172:6
   nmolner 3:14          168:25 169:10         135:13 136:24      172:22 174:3
   nodding 8:22          171:25 179:17       objecting 29:15      174:25 175:25
   non 28:12             186:8               objection 9:4,5      176:22 177:8
     126:22            numbered                17:10 30:3         181:10 182:3,7
   normal 21:20          157:13                31:11,15 34:3      182:21 183:5,7
   normally 13:18      numbers 13:13           36:4 37:9          183:20
   notary 1:24           14:6 61:7,8           38:20 39:24      objections 6:9
     6:17 186:22         78:11 81:2            43:8 44:22         11:18,25 12:2
     188:6 189:25        133:10,11             45:20 46:7         28:20 29:9
   note 5:5 11:23        151:22 154:11         49:17 51:15        93:12 105:13
     149:12              154:13,19             53:23 54:11,18     180:24 181:2,9
   noted 6:12 12:2       155:2                 54:25 55:19        181:18 182:2
     157:8 186:13      numerous 36:8           60:7 65:2,13       182:23
   noteholders           122:4                 66:21 67:3,9     obligation
     96:13,15          nw 2:5                  67:14,25 68:20     174:8
   notes 174:18                o               71:18 73:5       obligations
     188:11                                    78:23 80:18        152:16 153:20
                       o 46:20 47:8
   notice 9:24                                 84:2 86:12         153:22
                         56:14 64:19
     149:14 187:12                             87:3,24 88:22    obtain 62:18
                         65:7 74:15
   number 11:4                                 89:14 90:11        64:19
                         78:7,21 79:4
     14:12,14,15                               92:12 97:20      obtained 23:11
                         80:10 86:7,8
     18:17 20:5,11                             99:19 100:8        31:7 34:16
                         86:24 87:16
     22:23,24 29:12                            102:6,10           93:4
                         147:21 187:4
     29:18 30:11                               103:12 104:13    obvious 133:2
                         187:15 188:2
     52:22 60:20                               107:23 109:9     obviously 17:2
                       o'melveny 3:11
     62:24 63:19                               112:25 129:10      27:6 47:18
                       o'neill 21:11,14
     68:7 72:7 81:3                            135:13 136:11      92:2 97:8
                       object 27:10,15
     86:19,22 88:5                             136:23 142:16    occasions 69:14
                         64:14 91:23
     100:23 105:4                              144:19 145:18    offered 12:7
                         112:23 113:4
     134:23 138:24                             149:3 153:14     office 49:3
                       objected 23:25
     154:20,21                                 157:21 161:13      111:21 115:15
                         26:19,23 27:5
     155:11 156:19                             162:21 166:18      118:12,16
                         27:8,22,24
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 218 of 236

  [office - particular]                                                    Page 28

     119:7,11,15            172:2               72:19 91:24       154:22 184:8
     122:14 179:5         ongoing 77:16         121:17            184:24 187:11
     179:13                 102:17 114:15     outsourced          187:22 189:9
   offices 1:19             114:19,21           122:18           pager 43:24
     71:3 88:6              143:19            outsourcing        pages 85:9
     112:14 124:7         operating             121:9            paid 27:14,16
   official 2:20 3:4        31:22,23          outstanding         27:19 90:18
     3:21 5:15            operation             31:2 101:2,6      91:9 93:8
   offset 152:15            178:5               103:4,6           122:3,8,9,17
     152:20 153:25        opinion 34:19       overall 119:18      128:24 130:7
   offsets 152:8,11         132:6 164:25        137:14 177:13     142:15,20
     153:8,13             opposed 21:17       oversight 1:5       153:13,25
   oftentimes               61:15 96:19         1:11 3:16 5:17    166:16 175:11
     23:22 27:5           opposes 9:3           11:18 124:12     pandemic 38:5
     36:10 51:21          order 7:13,15         183:14 189:6     panel 113:21
     55:22 70:25            7:18,22,23,25     overstate 29:25     128:8
     108:14 112:7           8:3 18:14         overstated 29:5    paragraph
     112:12 121:8           20:19 23:22         29:22 30:6,14     7:13,19 22:2
     122:21 167:5           24:9 25:13          31:5             pardon 8:13
     167:10 171:23          31:10 34:21       overtime           park 3:5
     177:24,25              59:12 63:22         120:10,20        part 35:2,24
   oh 21:4 141:14           79:20 89:13       owe 152:16          56:13 72:8
   okay 12:3                98:20 120:5       owed 19:22          88:10 112:21
     13:21 32:18            122:24 177:23       35:16 151:13      124:14,15
     56:6 74:11             179:20            own 56:20           126:19 173:25
     85:20 87:7           ordered 128:18        82:20             176:25 177:12
     99:3 107:13          organization                p           178:17
     110:24 138:2           42:20                                partially 27:16
                                              p 2:2,2 3:2,2
   old 128:24             os 81:12                               participating
                                                4:2,2
     189:4                outcome 6:8                             7:20
                                              p.m. 186:13
   omm.com 3:14             108:17 173:16                        particular
                                              page 11:9
   once 38:8 112:8          182:15                                10:12 19:3
                                                14:25 22:2
     178:20 182:7         outs 110:12                             22:2 28:2
                                                33:3 48:12
   ones 124:6             outside 20:12                           34:23 37:7
                                                75:18,19 78:6
     126:7 127:15           20:21,22 72:7                         51:3,12 62:9
                                                87:17 101:20
                                 Veritext Legal Solutions
   212-267-6868                    www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 219 of 236

  [particular - population]                                                Page 29

    73:14 81:23          92:7,8,9 93:2         164:2            pieces 42:16
    106:24 107:2,9       142:4,10            perform 121:20     pivoted 35:10
    107:10 110:3       peachtree 2:21          123:20,23        place 2:15 3:22
    118:20 120:7       pending 31:12           145:4              5:10 182:11
    121:21 122:10        36:23 37:4          performed 91:2     plan 7:12,17,22
    123:2,7,16           72:13                 121:17,24          17:5,14 62:13
    136:16 156:23      pennsylvania            126:21 160:2       128:11,25
   particulars           15:20,22            period 62:13         132:4,5 133:8
    59:8               pennzoli 2:15         permissible          133:19 137:20
   parties 5:11        people 13:18            48:16,17           140:21 144:9
    7:19 125:21          59:18 93:20         permit 52:8        plans 62:22
    126:23 127:3       percent 30:10         permitted 52:5       63:19 177:14
    148:2 149:14         52:24 57:21         permitting           179:18 180:7
    186:8                58:17,23 64:2         160:24           plants 177:3
   party 6:6 8:12        64:3 89:17          person 22:12       played 182:24
    121:18 122:3         99:16,18 100:6        26:13            please 5:5,7
    126:5,13 127:9       100:23 116:11       personal 9:11        6:10,15 7:25
    127:11,13            118:2 135:19          9:15,17 132:6      8:25 39:15
    182:21 188:13        154:20 155:17       personally           55:4 69:10
   pass 152:24           155:19,21             18:25 26:18        94:3,21 146:8
   passing 66:7          156:2,6,13            28:4 45:6,9,10     165:22
   past 119:8            157:2,3,16            49:19,21 50:22   plenty 59:18
    123:14               158:16,16,20          92:2             plus 41:16
   paul 2:19 3:3         159:11,12           perspective          151:18
   paulhastings....      160:14 161:21         30:6 90:22       point 50:11
    2:23 3:7,8,9         161:24,25           petition 91:10       68:4 69:2
   pay 93:10             163:11 164:5          93:3,4 153:20      71:16 115:9
    128:18,25            169:22 173:8          153:22             160:8
   paying 128:22         173:23              phase 177:17       pointing 87:10
    142:6              percentage              178:8            points 67:24
   payment 24:15         116:16 135:15       phone 26:12          103:25
    137:2 140:22         161:9 162:17          94:10            pool 104:23
    166:16,22            162:20              phones 5:8         population
   payments            percentages           pick 5:6             160:15
    90:19 91:21          161:7,8,11,12

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 220 of 236

  [portion - present]                                                      Page 30

   portion 27:18          47:14,16 48:10     precise 35:13        128:4,9,18,22
    31:6 57:14,22         48:13,20,24          42:17 43:4         129:13 130:5
    112:16 126:22         49:6,12 51:3       precisely 104:9      132:3,15,22
    140:14 142:6          51:20 52:7,18      predict 17:25        134:13 141:2
    156:23 165:6          56:9,24 57:8       preliminary          141:10 144:6
    167:5 173:12          58:5,9 59:25         12:7               146:14 147:12
    175:21,24             70:17,20,22        prepa 2:4 3:17       148:7,21
   portions 49:12         71:23 72:3,21        20:11 21:18,21     149:21,25
   position 97:9          72:25 73:15,23       21:21 22:8         151:8,13,24
    129:7                 102:11 103:8         24:16 27:22        152:16 165:7
   possible 180:9         106:17,19            28:12,19 29:24     165:10,12
   post 9:22 91:9         110:15 112:9         30:19 31:2         177:15,18
    92:9 153:20           113:18 115:18        32:6,10 34:8       178:15 179:6
   postgraduate           154:5 157:19         34:10 37:16,21     184:12
    15:21,24              160:18,24            38:3 42:20       prepa's 20:16
   potential 11:13        164:21,24            44:6 49:3          21:8,16 24:7
    53:2 64:4             166:14 167:4         62:12,18,23        24:17 38:7
    65:21 85:14           170:4 172:21         63:7,25 71:25      63:17,17 71:3
    86:11 87:21           175:20 176:8         72:6,6 74:9        88:6 109:7
    122:25 123:2          177:4,5,11,17        85:6 89:20         118:11,16
    132:25 133:9          177:23 178:2         91:8,11 92:9       119:6,10,15
    133:20 152:8          178:10,18,22         93:5 95:7 96:6     124:7 125:21
    165:15 167:7          179:13 181:3,9       99:8,17 108:4      129:7 179:25
    173:17 174:7,7        181:18,25            110:2 111:22     prepared 78:20
    174:8,8 185:18        183:5                112:5,10,17,19     97:6 160:12
   potentially          ppoas 50:12            113:6 114:9      presence 51:4
    41:19 88:11           52:17 55:6           115:14 116:21      51:13
    133:16 141:6          71:9 111:4           117:14 119:13    present 4:18
    153:12 156:3        practice 18:11         121:12,20          165:20 166:2,7
    163:18 164:15       prasa 151:8,18         122:5,12,15        166:7 167:13
    184:17                152:2,4,9            123:13,19          167:15,23
   power 1:14           pre 38:5,6             124:3,9,13         168:3,14 169:8
    31:22 177:3           91:10 92:10          125:18 126:6       169:13,15
   ppoa 31:17             93:3,4 153:22        126:15,22          170:4,15,18
    35:15 46:10                                127:17,20          171:4,15 172:5

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 221 of 236

  [present - protective]                                                   Page 31

     172:20 173:24       83:2 94:3,21        profit 51:22         60:25 62:5,10
     174:11              146:8                 52:18 53:6,9       66:17 84:23
   presume 77:7        proceeding              53:20 54:5,9       92:17 108:4
   pretty 137:13         6:10                  55:9 57:4,19       109:24 111:18
     143:17            process 18:20           58:15 168:19       114:7 115:5
   previously            19:17,21 23:6         169:22 172:21      131:25 140:18
     43:15               23:9 29:4,13          173:4 175:10       148:14 167:20
   principal 147:2       29:14,25 32:6       profits 50:14        168:5,6,10,19
   principally           36:16 37:5,12         52:3,6,8,13        169:8 170:10
     37:18 38:7          40:2 42:11            110:20 111:3       170:12 171:3
     69:25               56:25 61:23           160:23,25          171:13
   prior 40:25           84:15,21 85:12        163:13,19        proofs 23:11,14
     74:17,22 90:19      92:20 102:9,16        165:6 168:11       92:24 93:6
   priority 25:23        105:18 111:7          169:2 173:12       98:24 105:9
     27:10 28:16         111:11,23             174:12             109:13 138:14
     144:13,15           112:21 113:9        progress 29:7        141:25 142:14
   private 5:7           113:11 114:3        prohibit 137:2       148:10 167:3
   privilege 9:4         114:24 116:17       prohibiting        proper 121:10
     74:8 77:21          118:8 119:9           50:13            properly 30:18
   privileged            120:12 122:13       prohibition        propose 177:15
     77:11,14 79:7       122:21 124:2,9        53:19            proposed 70:7
     183:9               143:18 153:16       project 49:2         70:8 144:9
   probably 9:12         177:13 178:3          111:21,25        proskauer 1:20
     14:9 29:23          179:20 182:7          174:12 177:20      3:15,21 5:22
     30:7 47:2           182:10                177:24 178:4,8     21:3,4 48:21
     61:14 93:16       produced 74:7           178:20 179:5       50:4,24 59:21
     95:19 100:2         77:12                 179:12             77:5,17 79:9
     116:7 150:18      produces 35:6         projects 178:25      108:5 111:5
   problem 14:18       product 77:20         promotional          117:14 146:15
     33:4              production              135:4              161:17 162:16
   problems 14:5         74:4 77:9           proof 19:8,9,10    proskauer.com
   procedures          professional            19:12,14,25        3:19,24
     7:14                1:22 127:18           25:17 34:2       protective 7:12
   proceed 14:11       professionals           36:18 39:7         7:17,21,23 8:2
     14:23 69:10         20:15                 49:9 55:22

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 222 of 236

  [provide - really]                                                       Page 32

   provide 15:3        provisions                   q          raised 151:12
     55:10 58:3          17:14 73:12         question 9:2,6    range 11:12
     59:12 63:11         124:21,22            22:16,22 32:14     20:6 49:5 55:8
     64:13 76:15         133:13               43:4,7 46:2        57:20 58:16
     83:18 89:24       public 1:24 4:4        47:10 51:9         76:17 79:12
     107:4 108:22        6:18 186:22          53:17 64:16        89:15,16,16
     117:21 134:3,9      188:6 189:25         65:5 68:5          151:6 173:15
     152:19 158:2      published              74:20 76:11        174:6
     162:6 164:14        16:13                87:15 92:5       ranged 96:2,14
     173:18 185:22     puerto 1:2,5,7         97:23 101:23     ranges 71:11
   provided 23:21        1:12,14 5:18         131:14 146:18      79:25
     24:16 34:13         5:20 36:23           157:6,15         rather 28:19
     51:18 52:19,23      52:11 54:5,7         165:22 166:5       39:21 46:22
     54:2 55:8 61:5      73:13 83:24          170:22 174:15    rationale 83:9
     64:2 65:25          95:21,24 96:4        175:7,12           83:10
     71:14 72:11         136:25 139:7         176:15 181:13    reach 63:10
     76:17,21 77:3       150:5 160:21         185:9              130:3
     84:16,23 85:8       162:6 189:6,7       questioning       reached 138:24
     88:24 105:12      pull 154:21            185:6,7            144:22
     117:18,19         purchase 31:22        questions 8:24    read 7:5 62:10
     118:4 119:10        144:7                9:11 71:5 94:5     165:9 184:8
     124:11,12,19      purposes 10:4          94:10,13,15      reading 55:22
     130:12 131:20       114:2 126:16         133:2 153:7      reads 22:3
     133:7 144:6         126:17,18,25         180:21 185:4     ready 178:7
     145:10 155:18     pursuant 17:5          185:17 186:5     real 21:14
     158:4,13 159:9      49:25 122:9         quick 180:10        182:15
     159:23,25         pursued 55:12         quinn 2:14        really 18:20
     160:9,11          put 30:8 34:25         95:2 180:12        21:13 26:22
     161:16 167:12       61:14 93:21         quinnemanue...      42:2 48:17
     168:2 173:15        131:5                2:18               58:5,6 62:9,14
     184:24            putting 26:15                             68:3 90:21
                                                     r
   provides 55:24        54:4 118:5                              93:21 108:22
     137:20 140:21                           r 2:2 3:2 4:2       115:6 116:6
   provision 50:13                            6:16,16 187:20     129:25 131:9
     51:13 54:4                               188:2              136:20 137:13

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 223 of 236

  [really - registered]                                                    Page 33

     139:8 152:15           70:9,21 71:8,9       94:18,21 106:7     155:19
     164:7 165:8            109:24 130:9         145:25 146:3,7   referring 20:10
     174:10               recent 82:8            146:10 147:25      55:17 60:15
   realtime 1:23          recess 69:6            149:13 155:3       78:16,18 92:8
   reason 14:7              93:25 94:19          166:11 180:10      127:6 129:22
     82:13 172:25           146:5 180:17         180:16,19          162:10 163:5
     189:9                recipe 13:14           185:15 186:11    refers 129:3
   reasonable             recognize            recorded 5:13      refine 100:11
     23:24 24:10            52:12 160:22         42:14 98:13      refining 76:19
     33:12 133:18         recollect 33:5       recording 5:9      reflect 19:22
     161:20 163:2         recollection         records 19:11        109:11
     172:4,13,17            72:21 76:4,12        19:13,21 27:13   reflected 41:9
     173:13 174:6           116:2,14             27:17 65:17        44:8 62:14
   reasonableness           141:16,18            116:21,23          82:24,24 87:19
     15:4 22:5              150:25 151:5         118:18,22,23       155:21 159:17
   reasons 27:25            167:10,25            120:4,14 122:2   reflecting
     55:7 136:24            169:3 170:16       reduce 83:3          82:10
   recalculate              171:22             reduced 81:8       reflects 109:4
     173:11               recommendat...         153:17 158:15      155:9
   recall 50:6,10           69:22                159:10           refresh 76:3,12
     51:10 75:4,8         reconcile 19:12      reduction          refused 64:12
     80:20 82:15            116:22               159:15           regard 53:5
     91:18 99:9           reconciled           reemployment         70:13 102:19
     143:20 144:12          113:25               126:9              108:16 119:2
     144:14 145:15        reconciliation       refer 61:8           120:17 152:6
     146:12,17              19:17 74:10          85:25 101:10     regarding 8:20
     147:13,15,18           92:20 98:14          141:11 150:15      11:20 16:14
     147:23 149:10          102:11,16          reference 50:6       73:23 163:10
     168:8 171:20           105:12 113:24        50:11            regardless 54:2
   receive 23:10          reconciling          referenced 50:7      82:21
     69:18 70:10,12         116:18             referred 9:25      register 23:11
     71:17,21 84:8        record 5:3,11          12:13 21:22        23:12 40:14
     109:25 149:14          6:13 11:23           45:7 47:4          41:10,15 42:15
   received 30:23           69:4,8 74:3          54:21 75:15      registered 1:22
     60:23 69:15            93:24 94:3,9         77:24 104:2

                                  Veritext Legal Solutions
   212-267-6868                     www.veritext.com                   516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 224 of 236

  [regulatory - revenue]                                                   Page 34

   regulatory            122:14              represent 6:4      response 8:21
     179:19            relative 96:6           7:2 95:2 97:18     11:17
   reimburse           relatively 24:18        109:22,23        responsibility
     178:16            relied 34:20            141:20 153:20      118:15 178:18
   rejected 86:3,5     rely 50:3 123:9       representative     responsible
     185:24              123:13                1:6,13 3:16        71:24 128:22
   rejection 73:12     remaining               189:7              142:6
     86:9,11,20          153:22 158:17       representing       restructuring
     87:2,6,21           159:12 160:5          71:24 96:2,12      16:4,15 18:11
     88:12,20 89:7     remember                96:14,15,16,18     95:14
     185:19,23           33:13 50:15           97:3,7,13 98:6   result 35:7
   relate 16:4           75:2 116:14           98:9,23            55:12 61:25
   related 6:6           142:9 145:22        represents           107:7 165:2
     27:21 28:11         171:2,12,25           119:5 125:13     resulted 24:3
     52:8 62:12,15     remind 157:5            126:20 132:3       128:13
     62:19 69:25       removing                142:10           results 113:16
     70:23,25 107:8      107:19              required 72:19     retain 124:13
     130:7 142:3       reorganization        requirement        retained 21:18
     151:12,15           17:6,15               7:7                32:5,5,7 72:6
     152:11 153:23     repeat 65:5           reserve 163:20       92:18 97:25
     161:17 164:15       87:14 92:4            164:14             121:12 127:20
     165:6 188:13        101:22 114:16       resolution           186:10
   relates 24:18         165:21 181:12         182:10           retains 72:7
     27:20 34:6        rephrase 22:15        resolve 124:16     retention
     45:10,15 52:2       96:3 97:23            143:21             124:14
     70:10 71:10,22      114:11 181:15       resolved           reveal 79:6
     73:7 81:22        report 158:9            102:10 108:19      183:9
     105:9 108:6       reporter 1:23           136:6 159:8      revenue 154:6
     113:12,18           1:23 6:3,14           182:14             154:16 155:6
     116:21 151:9        188:6               respect 15:5         155:10,14
     152:13 178:4      reporting               22:6 91:2,21       156:7,12,21
     179:2,3             126:18,25             92:7 111:7         160:18 161:4
   relation 77:18        189:2                 172:20 175:9       164:22 166:13
   relations           reports 77:2,4        respond 8:24         166:13 167:5
     118:11 119:15       77:9 178:2            182:21             168:14 169:11

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 225 of 236

  [revenue - seem]                                                         Page 35

     170:3,14,21         106:19 141:5        road 8:19           51:5
     172:5               161:22                189:4           scale 29:2,16
   revenues 112:7      revise 100:24         robert 5:25         30:2
     157:19 167:7      revisions             rocio 4:20        scanning
     178:22              182:23              role 95:25 96:9     103:19
   review 19:9         rican 73:13             96:11           schedule 167:6
     22:25 24:8          136:25 162:6        room 94:11        schreiber 2:12
     25:10 27:12       rico 1:2,5,7,12       rose 1:20 3:15    science 15:18
     28:3 39:2,21        1:14 5:18,20          3:21 5:22       scope 91:24
     41:5,24 48:14       36:23 52:11         rosen 4:10        scott 4:20
     48:19 49:16         54:5,7 83:24        rudis 4:19 5:25   screen 10:10
     57:7 60:24          95:21,24 96:4       ruled 31:13         14:21
     66:6 89:21,24       139:7 150:5         rules 8:19        second 12:10
     108:4 110:4         160:21 189:7,7      ruling 31:7         75:19
     115:23 118:17     rid 29:4              rulings 165:16    secondary
     118:17 124:9      right 21:10           runs 10:11          25:11,23 26:7
     130:2 148:5         32:13 46:17                  s        section 125:16
     158:3,10,10         51:6 58:18                              138:5
                                             s 2:2 3:2 4:2
     169:2               74:23 78:22                           secure 128:13
                                               6:16 187:9,20
   reviewed 23:15        80:6,12 100:17                        secured 25:19
                                               187:20 189:9
     38:16,23 44:24      101:18 104:6                            25:22 96:13
                                             salary 119:22
     49:6,9,12           109:18 117:18                           128:11 144:13
                                               120:2
     50:20 51:21         117:22 121:19                           144:15 145:2
                                             san 71:2 124:7
     58:10 62:5          122:19 123:10                         securing 180:7
                                             satisfied 24:14
     63:4 66:19          128:4 129:9                           see 11:11,16
                                               28:17 93:9,13
     67:2,6,18           135:23 138:3,7                          15:8 18:23
                                             savings 62:11
     89:23 97:10         164:12                                  22:10 42:25
                                               132:3
     111:17 148:10     ring 31:18                                46:23,23 47:17
                                             saw 51:20
     148:11 160:2        33:10 74:25                             55:23 56:17,17
                                             saying 13:18
     160:12 164:21       78:8 90:6                               56:18 67:21,23
                                               35:15 40:22
     167:3 179:13      rise 128:15                               75:18 81:4,17
                                               131:25 148:6
   reviewing           risk 105:20                               87:11 135:8
                                               162:8 163:5
     28:10 41:21         158:11,14                               168:18
                                             says 10:18
     65:7 69:24          161:25                                seem 60:9
                                               11:12,17 13:2
     92:16 105:19
                                               15:2 33:23
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 226 of 236

  [selected - silent]                                                      Page 36

   selected 10:15        23:1 24:1 25:1        117:1 118:1        188:8 189:8,22
   sense 35:13           26:1 27:1 28:1        119:1 120:1      shankweiler's
     101:4 102:4         29:1 30:1 31:1        121:1 122:1        77:17
     107:11 111:25       32:1 33:1 34:1        123:1 124:1      share 10:5,6,7
     130:24 131:15       35:1 36:1 37:1        125:1 126:1        10:11,11
     176:18 177:2        38:1 39:1 40:1        127:1 128:1      shared 77:4
     179:8 180:5         41:1 42:1 43:1        129:1 130:1      sheet 189:2
   sensitive 5:6         44:1 45:1 46:1        131:1 132:1      ships 66:7
   sent 70:2,3           47:1 48:1 49:1        133:1 134:1      shlomo 3:8
   sentence 22:3         50:1 51:1 52:1        135:1 136:1      shlomomaza
     22:10               53:1 54:1 55:1        137:1 138:1        3:9
   separate 72:5         56:1 57:1 58:1        139:1 140:1      short 7:5 69:2,6
   separately 72:6       59:1 60:1 61:1        141:1 142:1        93:25 94:19
   series 142:5,12       62:1 63:1 64:1        143:1 144:1        180:17
   service 121:21        65:1 66:1 67:1        145:1 146:1,9    shorthand
     121:24              68:1 69:1,13          147:1 148:1        188:5
   services 121:17       70:1 71:1 72:1        149:1 150:1      shovel 178:7
   set 15:11 35:14       73:1 74:1 75:1        151:1 152:1,22   show 12:9
   settlement 24:5       76:1 77:1 78:1        153:1,5 154:1      64:22
     24:6 70:7           79:1 80:1 81:1        155:1 156:1      showed 14:20
     105:16 119:2        82:1 83:1 84:1        157:1 158:1      showing 15:4
     144:22 158:24       85:1 86:1 87:1        159:1 160:1      shows 14:14
     159:23,24           88:1 89:1 90:1        161:1 162:1      side 8:12 52:20
   several 8:6           91:1 92:1 93:1        163:1 164:1        54:13,14 55:14
     69:14 71:4          94:1,6,25 95:1        165:1 166:1        58:19 97:11
     72:20               96:1 97:1 98:1        167:1 168:1        98:19 130:14
   shankweiler           99:1 100:1            169:1 170:1        130:15
     1:19 5:14 6:1       101:1 102:1           171:1 172:1      sign 7:21
     6:23 7:1 8:1        103:1 104:1           173:1 174:1      signature
     9:1 10:1 11:1,8     105:1 106:1           175:1 176:1        188:17
     11:19 12:1          107:1 108:1           177:1 178:1      signed 7:24
     13:1 14:1 15:1      109:1 110:1           179:1 180:1      significant
     15:3 16:1 17:1      111:1 112:1           181:1 182:1        36:11
     18:1 19:1 20:1      113:1 114:1           183:1 184:1      silent 53:20
     21:1 22:1,4         115:1 116:1           185:1 186:7,15

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 227 of 236

  [similar - starting]                                                     Page 37

   similar 51:18           58:21 60:12,14       162:11 166:10      88:22 89:14
     111:6,11              74:19,19 81:11       168:24 171:13      90:11 91:22
     120:11,11             164:3 174:17         172:2 173:9,10     92:11 93:18
     139:12 142:25       sort 26:7 79:12        174:10 183:11      94:8 97:20
     143:2 152:11          120:11,11          specifics 134:7      99:19 100:7
     157:18 159:2          123:20 125:8       specify 150:4        102:6 103:12
   simply 89:3             125:23,24          spectrum             104:13 107:23
     158:8                 130:10 134:24        109:17             109:9 112:25
   single 85:3             135:4 164:12       speech 7:8           129:10 136:11
   sit 153:24              182:9              spinning 10:12       142:16 144:19
     172:25              sorts 33:23          spoken 43:2          145:18 149:3
   situation             sought 33:24         square 1:21          153:14 157:4
     121:13              sound 46:17            3:12 5:23          157:21 161:13
   six 150:22              129:5,9 138:3        189:4              162:21 166:18
     151:4               sounded              stafford 3:24        166:24 168:21
   size 162:2              181:17               10:4 11:22         169:16 170:6
   skepticism            sounds 33:11           12:16 13:17        171:6,16 172:6
     97:15,19 98:4         120:23 138:6         17:10 21:7         172:22 174:3
   small 136:17          speak 38:10            26:3 30:3 34:3     174:25 175:25
   smaller 102:22        speaking 141:4         36:4 37:9          176:22 177:8
     102:24,25           specific 11:25         38:20 39:24        180:13 181:10
   solely 40:11            43:7 82:12           43:8,13 44:22      182:3 183:7,20
     53:5 117:12           84:5 89:12           45:20 46:7         185:8,12 186:2
   solutions 6:5           95:20 107:15         49:17 51:15        187:7
     186:10                111:20 119:9         53:23 54:11,18   stamp 10:17
   somebody                142:9 143:18         54:25 55:19      stand 31:21
     17:18 26:11           153:11 158:3         60:7,12 65:2     start 14:6 36:2
     42:19 97:11           159:16 161:6,7       65:13 66:21        60:18 92:19
     121:13,15             168:8 172:25         67:3,9,14,25       131:12 153:9
   soon 143:24           specifically           68:20 71:18        157:6 178:7
   sorry 20:20             34:5 68:12           73:5 74:6 75:9   started 40:2
     21:4 32:20,21         80:20 86:20          77:10,15 78:23     138:25 177:7
     37:23 38:2            91:19 144:23         79:5 80:18         178:21
     46:2 47:8             147:14 154:6         84:2 86:12       starting 39:19
     55:20 56:7            158:13 161:10        87:3,9,23          178:6

                                 Veritext Legal Solutions
   212-267-6868                    www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 228 of 236

  [starts - talk]                                                          Page 38

   starts 182:8        subjective            sullivan 2:14      switched 37:17
   state 1:24 6:10       164:12              superseded           132:4
     6:18 15:20        submit 178:15           26:25            switching 90:4
   stated 168:6        submitted             supplemental         154:2 175:18
   statement 7:5         167:21,22             148:12,13        sworn 6:17
     46:19 48:9          169:9 170:11        support 19:16        186:18 188:8
     50:7,15 53:11       170:12 181:4,9        23:18,20 62:7      189:23
     56:23 74:16,22      182:2 183:14          85:8 112:14,15   syncora 2:15
     74:23 75:5        subparagraph            115:7,8 117:5      95:3,4
     120:22 129:3        14:25                 118:3,7 130:10   systems 118:24
     137:24 138:6      subscribed              130:12,13                 t
     141:17,20           186:18 189:23         131:19 132:23
                                                                t 187:4,9,20
     147:22 187:17     subset 136:17           132:23 134:7
                                                                  188:2,2
     187:18            substance             supporting
                                                                table 97:11
   statements            63:11                 20:2 63:12
                                                                  101:20 125:4
     126:19            substantial             64:11 85:3
                                                                  159:16
   states 1:2 5:19       115:24              supports
                                                                taft 2:9
   stay 93:21          substantiate            115:11
                                                                take 5:10 23:5
   stenographic          114:6 118:24        sure 9:13 10:19
                                                                  69:2 83:8 89:9
     6:13 188:11       substantiated           12:20,25 22:17
                                                                  93:15 97:17
   step 126:3            140:19                23:8 30:21,23
                                                                  98:3 107:3
   stepping 84:22      success 154:15          35:12 37:21
                                                                  116:8 150:17
   stipulate 76:8        161:3 163:13          41:8,8 46:25
                                                                  180:10
   stipulated            183:5                 47:25 53:3,4
                                                                taken 5:14 14:8
     186:7             sufficient 19:15        56:22 65:6
                                                                  69:6 83:17
   stop 13:10            25:2 53:4 58:3        79:8 98:10
                                                                  93:25 94:19
     149:12              59:12,14 63:23        110:16 115:15
                                                                  146:5 180:17
   streams 168:15        65:24 66:4            124:10,20
                                                                takings 139:20
   street 2:5,10,16      79:21 108:24          127:23 134:10
                                                                  139:22 140:7
     2:21 3:17 4:11      134:2 159:6           150:16 155:2
                                                                talk 18:25
   stuff 85:9            162:7 163:20          169:25 170:23
                                                                  46:10 60:3
   subject 7:16          165:15 173:19         175:6 185:5,14
                                                                  80:23 110:14
     11:17,24 74:7     suggested 63:6        swear 6:15
                                                                  116:24 122:14
     114:14,18         suite 2:16 3:17       switch 137:16
                                                                  127:21 134:12
     140:20 177:3,5

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 229 of 236

  [talked - time]                                                          Page 39

   talked 53:10          90:5,14,15            186:12             132:7 133:22
     95:10 103:21        120:24,25           therewith 22:4       135:11,18
     117:15 143:14       122:13 139:24       thing 111:15,17      138:21 139:16
     155:16 157:18       167:9 175:4           185:14             141:12,17
     160:23            terms 16:18           things 19:7          142:7 143:17
   talking 9:17,18       27:2 56:20            33:24 37:2         145:11,12
     80:8 100:22         116:16 117:21         49:4 53:18         152:23 154:17
     103:14 125:15     tertiary 25:12          62:20 90:5         160:6 162:23
     146:11 153:8      testified 6:19          105:4,23           163:8 168:23
     159:14,15           16:10 43:15           108:13 111:16      171:19 172:25
     166:12 175:22       87:5 160:20           134:23 137:3       180:8 182:5,22
   talks 56:23           170:9 180:23          154:4              185:3
   tax 46:22             180:25              think 10:20        thinking 88:10
   taxes 152:17,18     testify 11:20           13:17 17:20      third 121:18
   team 23:3,6           183:23 184:3          28:23 30:5         122:3 125:21
     38:16 39:2,5        184:22                35:17 40:24        126:5,13,23
     44:4,15,21        testifying 87:8         43:5,13 46:20      127:3,9,11,13
     45:6,9 50:23        87:13 183:18          49:22 50:20      thought 8:11
     50:24 90:25         184:18                51:19 55:5         53:10 54:22
     162:15            testimony 15:3          57:7 58:4 63:5     163:2 164:13
   tech 4:19 10:8        15:12 17:23           64:6 74:14         164:18 174:6
     10:20 11:5          31:14 38:15,22        75:2 76:21       three 47:17
     13:5,24 14:13       43:10 49:7            79:25 81:23,24     51:19 57:2
   technician            71:19 73:6            82:8 83:12,20      60:10 71:25
     12:22 13:15         91:25 99:20,22        87:4 93:16         93:22 110:22
   technique             102:7 154:12          94:13 96:12        141:25 142:14
     169:5               176:6 181:16          97:22 99:22,23     159:18 186:9
   tell 26:21 61:23      184:6,7 186:6         100:9,10 106:3   time 5:8 6:11
     72:15 92:14       texas 2:16              109:11 110:25      13:8 14:11
   ten 29:2,6,16       thank 8:12 11:7         116:10 117:10      37:15 62:13
     30:2                21:5 69:12            120:20,25          76:13,16 77:3
   term 31:17            85:16 94:5,7          125:9 127:15       81:3 93:15
     33:19 53:12         150:9 151:23          129:2,12           94:6 133:4
     55:25 56:5          152:23 174:16         130:21 131:18      140:10 147:17
     57:13 58:11         175:17 186:2          131:20,24          152:24 158:9

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 230 of 236

  [time - understand]                                                      Page 40

      186:13              136:17 141:9       trusted 150:10             u
   times 1:20 3:12        156:6 170:20       try 24:23 56:16    u 187:20
      5:23 8:6 68:6       171:10 184:10      trying 10:22       ucc 183:13
      71:4 189:4          184:14 186:8         13:6 14:10       ucc's 101:14
   title 143:3          touch 180:11           33:4 43:12       ultimate 107:8
   today 7:10 8:6       touched 99:4           63:3 98:8          108:17 123:12
      16:17 17:23       towards 11:16          116:14 139:9       143:11 158:24
      153:7,25            178:5              turning 160:17       182:15
      160:19 173:2      training 16:8        twice 93:10        ultimately 19:5
      175:20 185:13     transcription        two 9:8 14:18        98:14 104:20
      185:16              188:11               51:24 53:18        104:21 112:8
   today's 186:6        transfer 38:6          60:16 67:24        123:11 131:2
   together               158:6                71:25 72:20,21     131:16 136:5
      103:11            transferred            72:23 76:19        143:7 164:8
   toggling 81:11         24:2 38:3,9          81:11,12 82:15     173:16
   told 79:10             39:9 105:22          92:22 110:19     uncertainties
      160:21              159:24               119:8 123:15       65:20 83:16
   tomic 2:6 94:14      transferring           124:8 154:11       107:5,7,8,20,20
      94:16 153:3,5       105:17               154:19,25          108:16 109:5
      180:8 185:3       transformer          type 20:9 31:4       125:8 136:4
      187:7               121:14               42:10 57:23        143:12 164:14
   took 79:13 83:5      translates             63:2 73:18       uncertainty
      107:3 120:3         133:24               101:8 105:25       163:22
      136:6             transmission           108:19 114:25    under 7:13
   top 11:10 39:18        38:3                 135:3 168:20       54:6 88:11,18
      89:17             treaties 16:14       types 27:24          111:3 124:22
   topic 11:10,20       tried 111:24           39:6 40:4          128:24,25
      18:7 176:16       true 25:14             73:17 102:4        144:9 151:13
      180:23              36:21 88:15          105:23 110:10      168:15 178:22
   topics 7:10            139:10,20            110:12 115:7     underlying
      137:16 184:6        140:7,13,19          126:11 133:20      105:10
      184:17,22           188:10               135:5 139:4      understand
   total 15:6 22:6      truly 116:15           141:23 158:22      16:24 17:24
      32:9,11,15        trust 76:8             164:9              19:19 27:2
      99:6,10 135:15                                              31:18 33:18
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 231 of 236

  [understand - valid]                                                     Page 41

    37:22 39:12         38:13 42:23          unpaid 120:20        127:22 128:3
    40:3 41:7           53:7,15 63:2,3         120:22             128:10,10,19
    43:19 47:24         90:24 92:25          unsecured 2:20       128:23 129:15
    50:23 52:9          170:23 179:14          3:4,22 5:15        130:4,11 133:3
    53:16 78:17        undertake               11:14 15:7         133:25 134:4
    95:6 113:17         111:6                  22:7,19 24:21      135:7
    133:9 139:10       undertaken              25:18,21 32:16   utier 70:11
    139:18 145:11       148:23                 32:20 75:7,22      80:23 81:4,16
    146:20 166:4       underway                76:25 97:3         82:2,16 83:6
    166:17 175:6        178:11                 99:7,11,13         84:22,24,25
    177:10 178:3       underwent               104:23 109:2       85:2,8,14,17,23
   understanding        111:11                 139:13 141:15      86:10,15 88:7
    16:20,25 19:25     undo 11:4               144:12,16,18       102:12 103:8
    34:15 48:15,18     unfortunately           144:24 147:11      116:25 118:4
    48:24 57:6          7:4 33:12              147:15 157:12      118:12 119:3
    61:4 72:17         union 26:2              184:11             120:16,18
    73:10,11,13         128:10               urquhart 2:14        121:11,20
    90:9,13,14,20      unit 5:12 69:5,9      use 16:17 80:25      122:16 124:16
    105:15,20           121:10 146:4,8         101:14 169:12      125:14,20
    115:16 118:2       united 1:2 5:19         169:14             185:18,24
    118:10 119:14      units 186:9           used 45:15                 v
    119:19,20          universe 32:24          58:11 156:19
                                                                vacation
    121:25 128:6        32:25 72:25            161:19 166:23
                                                                  119:23,23
    128:21 142:24      unknown 88:8            171:2,8 186:9
                                                                  126:8,14 127:4
    146:25 148:4       unliquidated          uses 53:11
                                                                  127:16 135:2
    152:3,14            33:18,19,25          using 37:12
                                                                  137:2
    153:18 154:12       35:10,19,20,22         55:25 82:13
                                                                vacations 120:3
    159:4 161:15        36:3,7,9,12,16         125:9
                                                                valentin 4:20
    162:3 166:15        38:15,17,24          usually 10:22
                                                                valid 19:18
    169:25 176:5        39:4 42:4,12         utice 60:4,13
                                                                  20:5 48:22
    177:16,25           42:22 44:13,13         60:15,17,18
                                                                  49:25 52:5,12
    178:24 181:5        44:15                  61:9,22 62:15
                                                                  54:6 63:25
   understood          unpack 24:23            62:23,24 63:9
                                                                  73:16 98:16
    9:21 15:13          37:24                  63:10 64:8
                                                                  110:9 111:3
    27:4 28:15                                 102:13 103:9
                                                                  120:15,17
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 232 of 236

  [valid - viability]                                                      Page 42

     124:21 132:12       71:12 78:10           156:20 158:3       48:4,4,21 50:4
     132:14 137:11       79:19,23 80:22        158:11,13,17       52:4,10,14
     139:8 156:4         83:19 85:14           159:9,12 160:6     54:2 59:20
     160:22 162:4        89:4 99:6,10          160:9,11,13,14     62:18 69:16,17
     163:18,19           100:20 102:20         161:20 162:13      70:22 71:10
     173:5,7             103:4,14,16,17        163:11 164:3       73:4,9,21,22
   validate 114:4        103:22 104:2          165:20 166:2,7     84:10,16,21
   validated 114:8       104:17,19             166:7 167:13       85:5,12 89:20
     179:8               105:21 106:8,8        167:15,23          108:6 117:13
   validity 23:17        106:12,13,16          168:3,14           123:25 124:14
     62:8 109:6          106:18,20             169:12,13,15       124:18 125:17
     111:13 154:10       107:17 108:12         170:4,14,15,18     127:7 139:3,17
     157:17 176:20       108:21 109:4          171:4,9,10,15      140:5,12 158:5
   valuation 45:10       109:14,17,20          172:5,13,17,20     159:2 160:21
   valuations            109:21,25             173:18,20,24       161:17
     70:11               110:12 113:15         174:7            vazquez's 35:4
   value 11:12           114:3,13,17         values 11:13         45:25
     18:15 23:2          117:22,23             41:15 68:14      venue 182:13
     29:19 34:22         118:3,6,14,14         78:12 85:4,10    verbal 8:21
     38:18,24 39:23      118:18,19,25          88:4 119:16      verbally 8:23
     40:21 41:2,12       119:2,4,9,12          124:5 158:4      verbiage 168:9
     42:5,8,12,15,21     120:5,7 122:25        159:23,24        verified 23:13
     43:3,20 44:5        123:6,9,9,16,21     valuing 86:17      verify 50:17,21
     44:16,18 45:3       124:25 125:5          174:11             180:3
     47:19,20,22         125:10,25           various 50:19      veritext 6:4
     48:2,3 56:15        127:25 129:16         58:8 103:25        10:6 186:10
     56:20 57:18         129:23 130:13         125:14             189:2
     58:7 59:3,4,7       130:16,20,22        vast 39:8          version 74:17
     59:23 64:9,22       131:8 132:16          117:25             74:22 75:5
     65:10,16,17         134:16 135:20       vazquez 20:13        78:7 80:10
     66:3,11,13,15       136:10,15             20:24 23:22        82:2
     66:20,23 67:7       137:14 138:20         34:7,13,15,25    versus 25:18,21
     67:11,19,20,22      139:11,14,15          36:19 37:13,14     82:11,14
     67:23 68:10,13      140:3,9 155:8         38:8 40:7        viability 108:7
     68:15 70:8          155:22,23             45:13 46:3         108:8

                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 233 of 236

  [video - yup]                                                            Page 43

   video 5:9,13         91:23 93:20          weil.com 4:7        158:25 165:18
   videographer         98:10 100:11         welcome 69:11       165:24
     4:19 5:2 6:2       100:24 107:14        went 37:7 39:5    worked 34:6
     8:9 69:3,7         110:14 116:24         42:11 49:4         62:17 115:10
     93:23 94:2,17      134:12 149:12         124:9 125:10       132:21 139:3
     94:20 146:2,6      157:4 185:14          129:18,21          139:17
     180:15,18         wanted 15:10           132:19 136:9     working 10:9
     186:4              53:2 65:23            146:10 147:24      37:14,18 40:6
   videotaped           66:4 73:21           weringa 3:19      worth 34:20
     1:18               79:18 95:11          west 3:17 4:11      129:8 156:4
   view 58:6 71:16      154:24 155:20         15:19                    x
     96:17 104:19      wanting 159:5         whispering 5:6
                                                               x 1:3,9,10,15
     105:3,3,14         163:14,23            whitner 2:22
                                                                 66:17 187:2,4
     109:12 112:5      washington 2:5        wickersham
                                                                 187:9
     112:11,13         water 151:10           2:9
     131:22 139:8       151:13               william 2:22              y
     163:25 164:4      waterfall 18:16       witness 6:15      yeah 23:3 33:8
     173:2 182:15      way 32:4 80:4          9:9,19 26:13       67:11 78:11
   viewed 42:13         83:23 86:14           79:8 94:7          96:7 131:18
     57:9               115:3 120:6           152:25 157:8       150:16
   views 59:19          130:5 157:18          188:7            year 92:21,23
     105:6,7,9          178:22,24            witnesses 12:8      175:11,11
   violation 8:2       ways 158:21            187:13           years 21:19
   vitol 157:24        we've 6:25            wlrk.com 4:13       76:19 92:22
   voluminous           18:12,19 28:25       word 125:9          95:19 167:8
     102:25             29:8,10 40:15        words 56:17         179:17
           w            43:5 71:6            work 8:23         york 1:21,21,24
                        88:24 99:25           19:16 20:3,18      2:11,11 3:5,5
   w 6:16
                        106:23                21:20 36:19        3:12,12 4:6,6
   wachtell 4:10
                       wearing 9:8            37:16,20 38:6      4:11,11 5:23
   want 10:24
                       week 71:4              70:13 72:9         5:24 6:18
     11:22 12:24
                        124:8                 77:16,19 78:13     189:2,4,4,5
     13:9,12 18:25
                       weekly 77:6            91:2,5,21 92:7   yup 46:12 60:2
     35:12,20 43:4
                       weil 4:4               98:21 115:14       130:18
     64:18 65:6
                                              120:10 140:4
     72:14 89:24
                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 234 of 236

  [zack - zoom]                                                            Page 44

           z
   zack 2:12
   zack.schreiber
     2:12
   zero 40:14
     41:24 42:5,14
     42:14,19,21
     52:21 54:9
     61:14,14,24
     118:3 129:8,16
     129:24 130:13
     155:5,9,13
   zoom 2:7,23
     3:9 4:8,13,19
     4:20,20 129:20
     131:11 186:5




                                Veritext Legal Solutions
   212-267-6868                   www.veritext.com                    516-608-2400
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 235 of 236


                       Federal Rules of Civil Procedure

                                       Rule 30



         (e) Review By the Witness; Changes.

         (1) Review; Statement of Changes. On request by the

         deponent or a party before the deposition is

         completed, the deponent must be allowed 30 days

         after being notified by the officer that the

         transcript or recording is available in which:

         (A) to review the transcript or recording; and

         (B) if there are changes in form or substance, to

         sign a statement listing the changes and the

         reasons for making them.

         (2) Changes Indicated in the Officer's Certificate.

         The officer must note in the certificate prescribed

         by Rule 30(f)(1) whether a review was requested

         and, if so, must attach any changes the deponent

         makes during the 30-day period.




         DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

         ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

         THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

         2019.     PLEASE REFER TO THE APPLICABLE FEDERAL RULES

         OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case:17-03283-LTS Doc#:24406-1 Filed:06/02/23 Entered:06/02/23 18:28:53    Desc:
           Exhibit 1 - Shankweiler Deposition Transcript Page 236 of 236
                    VERITEXT LEGAL SOLUTIONS
          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

     Veritext Legal Solutions represents that the
     foregoing transcript is a true, correct and complete
     transcript of the colloquies, questions and answers
     as submitted by the court reporter. Veritext Legal
     Solutions further represents that the attached
     exhibits, if any, are true, correct and complete
     documents as submitted by the court reporter and/or
     attorneys in relation to this deposition and that
     the documents were processed in accordance with
     our litigation support and production standards.

     Veritext Legal Solutions is committed to maintaining
     the confidentiality of client and witness information,
     in accordance with the regulations promulgated under
     the Health Insurance Portability and Accountability
     Act (HIPAA), as amended with respect to protected
     health information and the Gramm-Leach-Bliley Act, as
     amended, with respect to Personally Identifiable
     Information (PII). Physical transcripts and exhibits
     are managed under strict facility and personnel access
     controls. Electronic files of documents are stored
     in encrypted form and are transmitted in an encrypted
     fashion to authenticated parties who are permitted to
     access the material. Our data is hosted in a Tier 4
     SSAE 16 certified facility.

     Veritext Legal Solutions complies with all federal and
     State regulations with respect to the provision of
     court reporting services, and maintains its neutrality
     and independence regardless of relationship or the
     financial outcome of any litigation. Veritext requires
     adherence to the foregoing professional and ethical
     standards from all of its subcontractors in their
     independent contractor agreements.

     Inquiries about Veritext Legal Solutions'
     confidentiality and security policies and practices
     should be directed to Veritext's Client Services
     Associates indicated on the cover of this document or
     at www.veritext.com.
